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                                         UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION

   In re:
                                                                                         Chapter 11
   BREVARD EYE CENTER, INC.,                                                             Case No.: 6:17−bk−01828−KSJ

                                                                                         Jointly Administered with:

   BREVARD SURGERY CENTER, INC.,                                                         Case No.: 6:17−bk−01829− KSJ

   MEDICAL CITY EYE CENTER, P.A.,                                                        Case No.: 6:17−bk−01830− KSJ

   THMIH, INC.,                                                                          Case No.: 6:17−bk−01831− KSJ

         Debtors.
   ________________________________/

                            DEBTORS’ MOTION TO APPROVE SETTLEMENT
                         WITH SUMMITBRIDGE NATIONAL INVESTMENTS V LLC

              Jointly administered Debtors, BREVARD EYE CENTER, INC. (“BEC”), BREVARD

   SURGERY CENTER, INC. (“BSC”), MEDICAL CITY EYE CENTER, P.A. (“MCEC”), and

   THMIH, INC. (“THMIH”) (collectively, the “Debtors”), by and through their undersigned counsel,

   respectfully move pursuant to Federal Rule of Bankruptcy Procedure 9019 for entry of the proposed

   Order attached hereto as Exhibit “A”, which approves the Settlement Agreement attached hereto as

   Exhibit “B” (the “Settlement Agreement”) between the Debtors and SummitBridge National

   Investments V LLC (“SummitBridge”) (collectively, the Debtors and SummitBridge shall be referred

   to as “Parties,” and each individually, a “Party”). In support of the requested relief, the Debtors state

   as follows:

                                                         Jurisdiction and Venue

              1.        The Court has jurisdiction to consider this motion pursuant to 28 U.S.C. §§ 157 and

   1334. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. This motion is a core

   proceeding pursuant to 28 U.S.C. § 157(b).

                                                                  Background
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              2.        This Chapter 11 bankruptcy proceeding was commenced on March 21, 2017 (the

   “Petition Date”) with the filing of four voluntary Chapter 11 petitions. See ECF No. 1 in Case

   Numbers: 6:17-01828-KSJ (BEC); 6:17-01829-KSJ (BSC); 6:17-01830-KSJ (MCEC); and 6:17-

   01831-KSJ (THMIH). On March 24, 2017, the Court entered an Order authorizing the joint

   administration of the Debtors’ cases.

              3.        The Brevard Eye cases concern an ophthalmological surgery center and four separate

   optometry stores. All are owned by Dr. Rafael Trespalacios, a board certified highly skilled and well

   reputed ophthalmologic surgeon. Dr. Trespalacios is a corneal refractory specialist and handles the

   majority of corneal surgical procedures in Brevard County. On occasion he also handles emergency

   eye surgery at local hospitals.

              4.        In March of 2017, prior to the Petition Date, SummitBridge directed Wells Fargo Bank

   to transfer funds from the Debtor’s then operating accounts, in the total amount of $266,576.58 to

   SummitBridge pursuant to alleged Deposit Account Control Agreements (the “DACA Transfers”).

   At the time of the DACA Transfers, the funds that were transferred comprised most of the Debtors’

   cash.

              5.        On March 20, 2017, the day before the Petition Date, SummitBridge filed a Verified

   Complaint against the Debtors, Dr. Trespalacios, and former CEO Steven Black in the Circuit Court

   in and for Orange County, Florida (the “State Court”), styled SummitBridge National Investments V

   LLC v. Dr. Rafael Trespalacios, et al., Case No. 2017-CA-2483 (the “State Court Action”), seeking,

   inter alia, foreclosure of mortgages and security agreements against real and personal property of the

   Debtors and Dr. Trespalacios in Orange and Brevard Counties.

              6.        After the Petition Date, on May 24, 2017, the Debtors filed an adversary proceeding

   styled Brevard Eye Center, Inc., et al. v. SummitBridge National Investments V LLC, Adv. Pro. No.



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   6:17-ap-00070-KSJ (the “Avoidance Adversary Proceeding”), seeking, inter alia, avoidance of

   certain liens and claims held by SummitBridge, the avoidance of the DACA Transfers, and the return

   of certain property from SummitBridge.

              7.        On August 17, 2017, SummitBridge filed an Emergency Motion to Dismiss or Convert

   Cases seeking to dismiss or convert these Chapter 11 cases [ECF 240] (“SummitBridge’s First Motion

   to Dismiss/Convert”).

              8.        On October 19, 2017, the Debtors filed their initial Plan of Reorganization [ECF 343].

              9.        On November 14, 2017, after a three-day trial, Judge Roberta Colton denied without

   prejudice SummitBridge’s First Motion to Dismiss/Convert [ECF 373].

              10.       On December 19, 2017, after Judge Colton was assigned to sit in Tampa, this case was

   reassigned to Judge Karen Jennemann.

              11.       On December 28, 2017, SummitBridge filed a Renewed Motion to Dismiss or Convert

   Cases [ECF 403] (the “Second Motion to Dismiss or Convert”).

              12.       On February 26, 2018, SummitBridge filed a Motion for Derivative Standing to File

   and Pursue an Administrative Claim and To Enforce Leasehold and Other Rights on Behalf of the

   THMIH, Inc., or in the Alternative, for Appointment of Trustee for THMIH [ECF 462] (the “Rent

   Motion”).

              13.       On April 9, 2018, SummitBridge filed an adversary proceeding styled SummitBridge

   National Investments V LLC v. Brevard Eye Center, Inc., et al., Adv. Pro. No. 6:18-ap-00028-KSJ

   (the “Substantive Consolidation Adversary Proceeding”), seeking, inter alia, substantive

   consolidation of the Debtors.

              14.       At hearing on April 11, 2018, the Court directed the Debtors and SummitBridge to

   proceed with a second mediation before the Honorable Caryl E. Delano.



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              15.       SummitBridge and the Debtors have litigated numerous issues over a period of more

   than 14 months, there has been a three-day trial, and there have been about 20 hearings in this case.

   SummitBridge is the Debtors’ largest, and by far most significant, creditor. Pursuant to the direction

   and order of the Court, the Parties and Judge Delano have spent two full days mediating and

   negotiating in Tampa. Judge Delano has been extraordinarily generous with her time, and has placed

   significant pressure on all the parties to come to a global resolution on all issues.

              16.       The parties have arrived at a global Settlement Agreement, a Settlement Agreement

   that resolves all pending issues between the Debtors and SummitBridge, as well as Dr. Trespalacios,

   will avoid continued protracted and expensive adversary and contested litigation in this Court and the

   State Courts, and will likely avoid a contested confirmation hearing. This settlement is a result of

   substantial and difficult negotiations.

                                                            The Settlement Agreement

              17.       The Parties have agreed to the terms set forth in the Settlement Agreement, attached

   hereto as Exhibit “B.”1 Interested parties should review the Settlement Agreement and all attachments

   for complete settlement terms. The description of the Settlement Agreement in this Motion is

   being provided solely for the convenience of interested parties and for illustrative purposes only.

   Nothing contained in this Motion shall be construed as modifying or providing an interpretative

   aid with regard to the Settlement Agreement. To the extent of any inconsistencies between the

   terms of the Motion and the Settlement, the terms of the Settlement Agreement shall control.

   Accordingly, interested parties are directed to the Settlement Agreement attached as Exhibit B



   1
    The signature page of the Settlement Agreement contains a handwritten revision to the signature block of Aaronson
   Schantz Beiley P.A. (“Aaronson”) to clarify that Aaronson is executing the Settlement Agreement with respect to its
   agreement to Paragraph 9 of the Exit Financing Supplement, which is attached to the Settlement Agreement as Exhibit
   A. All parties have acknowledged and agreed, via email correspondence through counsel, that all signatures on the
   Settlement Agreement are authorized and valid with respect to the form of the Settlement Agreement that contains the
   handwritten revisions, which is the form attached hereto as Exhibit “B”.

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   and are strongly encouraged to carefully review it in its entirety for the terms of the Settlement

   Agreement. Notwithstanding the foregoing, certain of the terms of the Settlement Agreement are

   described below.

              18.       The Debtors will use best efforts to secure a Final Order2 approving the Settlement

   Agreement in the form of the Settlement Approval Order, and the Debtors and SummitBridge will

   not disparage or undermine, in any court, the Settlement Agreement, the Settlement or approval of

   the Settlement.

              19.       The Settlement Agreement shall become effective on the date the last of the following

   has occurred:

                        a.         it has been executed by all of the Parties;

                        b.         this Motion to Compromise has been filed;

                        c.         the Bankruptcy Court has entered a Settlement Approval Order; and

                        d.         the Settlement Approval Order has become a Final Order.

              20.       Confirmation of a plan is not a condition precedent to the effectiveness of the

   Settlement, or the entry of the Settlement Approval Order. The Settlement Agreement and the

   Settlement Approval Order shall be enforceable irrespective of whether a plan is confirmed in these

   Bankruptcy Cases.

              21.       SummitBridge's claims are allowed in the amount of $11,497,553.47 in each of the

   four bankruptcy cases of the Debtors (the “SummitBridge Allowed Claim”). SummitBridge holds a

   first priority lien and security interest on the Properties, subject only to the liens held on account of

   real estate taxes. SummitBridge also holds a first priority lien and security interest on all non-real

   estate property of the Debtors, including without limitations, accounts receivable, furnishing, fixtures



   2
       All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Settlement Agreement.

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   and equipment (the “Other SummitBridge Collateral”), subject only to certain of the property owned

   by the Debtors as of the Debtors Petition Date that is subject to equipment leasing or equipment

   financing agreements.

              22.       Upon the Effective Date of the Settlement Agreement, the parties will file stipulations

   for the dismissal with prejudice of the Avoidance Adversary Proceeding.

              23.       Upon the Effective Date of the Settlement Agreement, SummitBridge shall withdraw

   the Second Motion to Dismiss or Convert, dismiss the Substantive Consolidation Adversary

   Proceeding, and withdraw the Rent Motion.

              24.       Upon the Effective Date of the Settlement Agreement, the Operating Debtors shall

   jointly and severally enter into triple net leases with THMIH (requiring the payment by the tenant of

   all obligations of any sort (including insurance, real estate taxes, normal maintenance, etc., but

   excluding rent payments which shall commence on January 1, 2019)) in the form attached to the

   Settlement Agreement as Exhibit “C” (the “Leases”) with respect to the Brevard County Properties

   commencing on the Effective Date of the Settlement Agreement. The original executed Leases shall

   be delivered to SummitBridge. On and after the Effective Date of the Settlement Agreement, the

   Leases and rents to be paid thereunder are absolutely and unconditionally transferred and assigned to

   SummitBridge, and shall not be property of the Debtors or their bankruptcy estates. To the extent

   required by SummitBridge, all of Debtors shall absolutely and unconditionally guaranty the Leases.

   The lease for the Merritt Island Property shall only relate to the portion of the buildings that are

   currently being used by Debtors. The leases shall be for a five-year term, shall include COL increases

   yearly, and may be extended for one single 5-year term on notice of 180 days or more prior to

   expiration.

              25.       The Debtors may retain all rents paid by the existing third party tenant at the Merritt



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   Island Property in the amount of not more than $1,500.00 per month through the rent due for

   December 31, 2018 (but shall not be entitled to retain any pre-paid rent for any period after December

   31, 2018). Any rent paid after December 31, 2018 with respect to the Merritt Island Property and rent

   relating to use and occupancy of such property for any period after December 31, 2018, shall not be

   accepted by the Debtors (except for any unpaid rent due through December 31, 2018) and, along with

   any rights to collect such rent, shall be the property of SummitBridge.

              26.       Upon the Effective Date of the Settlement Agreement, the automatic stay is lifted,

   terminated and modified to permit SummitBridge to pursue its state law rights and remedies

   concerning the Properties, including without limitation, foreclosure of the Properties.

              27.       On or before the earlier of the entry of foreclosure judgment or September 30, 2018

   (without any possibility of extension), the Debtors will either (a) elect in writing (the “Orlando Lease

   Option”) to enter into a lease (the “Orlando Lease Option”) of the Orlando Property for $9,100.00

   (subject to the same terms and conditions of the Brevard Properties leases (the “Orlando Lease”));

   or provide SummitBridge (or its designee or assignee) with peaceful possession of the Orlando

   Property, and the Debtors shall no longer be responsible for maintenance expenses accruing with

   respect to the Orlando Property after the delivery of peaceful possession by the Debtors, including

   taxes, insurance, utilities, and maintenance. SummitBridge shall not be obligated with respect to, and

   the Debtors shall be responsible to pay (or to reimburse SummitBridge) for, all maintenance expenses

   relating to the Orlando Property for the period prior to the date that the Debtors deliver peaceful

   possession. Prior to the Effective Date of this Settlement Agreement and delivery of peaceful

   possession of the Orlando Property, the Debtors, or any trustee, shall continue to maintain the Orlando

   Property in a commercially reasonable fashion.

              28.       On the Effective Date of the Settlement Agreement, SummitBridge, THMIH and the



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   Operating Debtors shall enter into a Subordination Non-Disturbance and Attornment Agreement in

   the form attached to the Settlement Agreement as Exhibit “D” with respect to the Brevard County

   Properties which may be recorded in Brevard County property records by the Debtors, and with

   respect to the Orlando Property should the Debtors elect to lease the Orlando Property.

              29.       The Debtors hereby agree to consent to the foreclosure of the Properties upon terms

   requested by SummitBridge. Attached to the Settlement Agreement as Exhibit “E” are agreed

   foreclosure judgments that SummitBridge may file to facilitate the foreclosure on the properties on

   or after the Effective Date of the Settlement Agreement. The Debtors shall promptly execute and

   deliver to SummitBridge any and all documents necessary in the view of SummitBridge to complete

   the foreclosures contemplated by this paragraph. The foreclosure judgments shall reference the

   Settlement Agreement and shall not include the retention of jurisdiction to enter deficiency

   judgments.

              30.       Upon receipt of sale proceeds at the foreclosure of each of the Properties,

   SummitBridge’s proofs of claim filed in the Bankruptcy Cases shall be reduced to reflect the net

   proceeds it receives for the applicable property sold; provided however, that such sale proceeds

   received by SummitBridge shall not impact or otherwise be applied to any obligations under or with

   respect to the Exit Notes or reduce the amount of the SummitBridge Allowed Unsecured Claim

   (defined in paragraph 21(e) of the Settlement Agreement) except to the extent provided in paragraph

   21(g) of the Settlement Agreement, and provided, however, any subordinate lienholder shall retain

   its rights under state law, if any, to receive proceeds in connection with a foreclosure sale solely to

   the extent required by any subordination agreement and under applicable state law.

              31.       The pre-petition real estate taxes on the Properties (or any certificate evidencing such

   taxes) shall be paid by SummitBridge in connection with the applicable foreclosure of the Properties.



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   The post-petition real estate taxes on the Orlando Property, shall be paid by Debtors upon the delivery

   of peaceful possession of this Property pursuant to the Settlement Agreement. Debtors shall pay to

   SummitBridge an amount equal to the prorated 2018 real estate taxes less $6,501.00.

              32.       Notwithstanding anything to the contrary in the Settlement Agreement,

   SummitBridge's pre-petition notes and mortgages (attached to SummitBridge's proofs of claim filed

   in the Bankruptcy Cases) shall remain in place to allow for the foreclosure of the Properties by

   SummitBridge. Accordingly, SummitBridge shall be entitled to assert in the foreclosure actions the

   SummitBridge Allowed Claim plus any interest, fees and other amounts that may be owed under

   applicable law under such pre-petition notes, mortgages and other agreements that are not included

   in the SummitBridge Allowed Claim. For purposes of the foreclosures of the Properties,

   SummitBridge may utilize for purposes of credit bidding any or all of the SummitBridge Allowed

   Claim, provided, however, that the amount of the SummitBridge Allowed Claim will be reduced as

   set forth in this paragraph by the net amount that SummitBridge receives or credit bids, as applicable,

   in connection with such sales. There shall be no reduction in the SummitBridge Allowed Unsecured

   Claim or the Exit Notes on account of credit bids and net proceeds of the foreclosures on the Properties

   if they total less than $4,500,000. After the first $4,500,000 of net proceeds or credit bids, as

   applicable, there will be a reduction to the extent of the excess amount of the credit bids or the net

   proceeds to the SummitBridge Unsecured Claim until it has been fully satisfied and, thereafter, to the

   extent applicable, the balance under Exit Note B and, thereafter, to the extent of additional amounts,

   Exit Note A.

              33.       Except with respect to liens limited to newly acquired equipment under equipment

   leasing or equipment financing agreements, and liens that are subordinate in all respects to the liens

   of SummitBridge, until SummitBridge has been paid in full the amount provided for in any plan



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   confirmed in the Bankruptcy Cases, no liens or security interests, of any sort shall be granted with

   respect to any property of the Debtors or their bankruptcy estates without the consent of

   SummitBridge, which consent shall not be unreasonably withheld. As a condition to the granting of

   any such liens by the Debtors, the proposed lienholder shall execute a subordination/inter-creditor

   agreement in form and substance satisfactory to SummitBridge in its sole and absolute discretion.

              34.       For the period between the Effective Date of the Settlement Agreement until the

   effective date of a Plan in the Bankruptcy Cases, if Debtors have adequate capital to make such

   payments and Dr. Trespalacios is working full time for Debtors, Dr. Trespalacios may receive gross

   compensation from the Debtors of up to $20,000 per month. However, if Dr. Trespalacios is paid any

   compensation during the foregoing time period, Debtors shall simultaneously pay SummitBridge an

   adequate protection payment, to be applied to reduce the SummitBridge Allowed Unsecured Claim

   (defined in paragraph 21(e)) in these cases equal to one-half of the gross compensation paid to Dr.

   Trespalacios.

              35.       In connection with the State Court Action, Dr. Trespalacios will execute a consent

   judgment in the amount of $11,497,553.47 in the form attached to the Settlement Agreement as

   Exhibit “F”. The consent judgment will be held by SummitBridge and only submitted to the State

   Court for entry upon a breach or default under the Settlement Agreement after seven days written

   notice. Upon a motion filed within such seven day notice period, the Bankruptcy Court shall retain

   jurisdiction to determine whether a default has occurred and whether judgment should be entered.

              36.       Any plan confirmed in these Bankruptcy Cases (including the Plan) shall incorporate

   and be in all respects consistent with the following:

                        a.         For purposes of consideration of any issues in connection with confirmation of

   any plan in the Bankruptcy Cases (including issues under Sections 506 and 1129 of the Bankruptcy



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   Code), the Other SummitBridge Collateral has a value of no less than $1,000,000.

                        b.         Pursuant to any plan confirmed in the Bankruptcy Cases, SummitBridge shall

   receive payment in connection with its lien on the Other SummitBridge Collateral pursuant to two

   notes secured by the Other SummitBridge Collateral, referred to herein as “Exit Note A” and “Exit

   Note B” and attached to the Settlement Agreement as Exhibits “G” and “H”. Exit Note A and Exit

   Note B shall be executed and delivered by the Debtors to SummitBridge as a condition precedent to

   the effective date of any plan confirmed in the Bankruptcy Cases.

                        c.         To secure payment of Exit Note A and Exit Note B, the Debtors shall execute

   a security agreement (reflecting security interest on all property of the Debtors) (the “New Security

   Agreement” in the form attached to the Settlement Agreement as Exhibit “I”.

                        d.         On the effective date of a plan confirmed in the Bankruptcy Cases, as a

   condition to the effective date, Dr. Trespalacios shall absolutely and unconditionally guaranty Exit

   Note A and Exit Note B (and if SummitBridge provides the Exit Financing, the Exit Financing Note)

   by executing and delivering to SummitBridge a Guaranty Agreement in the form attached to the

   Settlement Agreement as Exhibit “J” (the “New Guaranty Agreement”).

                        e.         SummitBridge shall also have an allowed general unsecured claim in the

   amount of $6,000,000 (the “SummitBridge Allowed Unsecured Claim”). The treatment of the

   SummitBridge Allowed Unsecured Claim under any plan confirmed in the Bankruptcy Cases shall

   be the same as all other general unsecured claims; provided, however, that any distribution to

   SummitBridge as a general unsecured creditor shall be applied to whichever of the then outstanding

   Exit Notes bears the highest interest rate and shall be applied in accordance with the terms of the

   applicable note.

                        f.         The SummitBridge Allowed Unsecured Claim shall continue to be fully



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   enforceable and secured by the Properties until they have been foreclosed as contemplated by the

   Settlement Agreement.

                        g.         In connection with the foreclosures of the Properties, SummitBridge may

   utilize for purposes of credit bidding any or all of the SummitBridge Allowed Claim, provided,

   however, that the amount of the SummitBridge Allowed Claim will be reduced as set forth in this

   paragraph by the net amount that SummitBridge receives or credit bids, as applicable, in connection

   with such foreclosures. There shall be no reduction in the SummitBridge Allowed Unsecured Claim,

   Exit Note A or Exit Note B on account of credit bids and net proceeds of the foreclosures on the

   Properties if they total less than $4,500,000. After the first $4,500,000 of net proceeds or credit bids,

   as applicable, there will be a reduction to the extent of the excess amount of the credit bids or the net

   proceeds, as applicable, to the SummitBridge Allowed Unsecured Claim until it has been fully

   satisfied and, thereafter, to the extent applicable, the balance under Exit Note B and, thereafter, to the

   extent of any additional amounts, Exit Note A.

                        h.         If the Debtors elect to receive the $250,000 of exit financing offered by

   SummitBridge, as a condition to such financing, the treatment of the Claims of SummitBridge in

   connection with the plan in the Bankruptcy Cases shall be consistent in all respects with the Exit

   Financing Supplement attached to the Settlement Agreement as Exhibit “A”, which shall be

   incorporated in its entirety into the plan. Any such election shall be made at the time that the Debtors

   file the applicable plan and disclosure statement. If the Debtors elect to receive the Exit Financing,

   the plan shall provide that: “Nothing in this Plan is intended to be inconsistent with, or shall in any

   way be interpreted in a manner inconsistent with, the Settlement Agreement approved pursuant to the

   Settlement Approval Order, Docket No. ____ and the Exit Financing Supplement attached to the

   Settlement Agreement as Exhibit “A”, both of which are incorporated herein in their entirety. Nothing



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   contained in the Plan or the Confirmation Order shall be interpreted in a manner inconsistent with the

   Exit Financing Supplement.” The confirmation order with respect to any such plan shall also contain

   the foregoing language.

              37.       To the extent that there is voting to accept or reject a plan that incorporates the Exit

   Financing Supplement and the plan is consistent in all respects with Exit Financing Supplement and

   the Settlement Agreement, SummitBridge agrees: (a) to affirmatively support the plan by attending

   the Disclosure Hearing and the plan Confirmation hearing and affirmatively support the plan; (b)

   advocate for the overruling of any objections at the hearing that the Debtors also seek to have

   overruled; and (c) to vote each of its Claims to accept a plan by delivering its duly executed and

   completed ballot(s) accepting the plan on a timely basis following the commencement of solicitation

   and its actual receipt of the solicitation materials and ballot, (provided that the disclosure statement

   and the solicitation materials in each case are approved by the Bankruptcy Court as containing

   “adequate information” as such term is defined in section 1125 of the Bankruptcy Code).

              38.       SummitBridge shall have no obligation to provide the Exit Financing or to support the

   plan if (i) the effective date of such plan does not occur on or before January 1, 2019, (ii) either the

   plan or the Confirmation Order do not contain the language referred to in paragraph 22 of the

   Settlement Agreement, or (iii) the plan is inconsistent in any manner with the Settlement Agreement

   or the Exit Financing Supplement.

              39.       If a plan consistent with the Settlement Agreement is not confirmed with an effective

   date occurring on or prior to January 1, 2019, then the Bankruptcy Cases shall be dismissed. In the

   event of dismissal, SummitBridge shall not provide Exit Financing and the Debtors shall not execute

   the Exit Notes and associated security agreements. The order dismissing the Bankruptcy Cases shall

   provide for the bar on subsequent bankruptcy filings contained in paragraph “27” of the Settlement



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   Agreement.

              40.       The Settlement Agreement shall be binding upon the Debtor Parties and any

   subsequently appointed Chapter 11 or Chapter 7 trustee and shall be enforceable by SummitBridge

   against the Debtor Parties and their bankruptcy estates both during these Bankruptcy Cases and, if

   applicable, after conversion to Chapter 7 or dismissal of the Bankruptcy Cases.

              41.       If the Bankruptcy Cases are dismissed for any reason whatsoever, Debtors shall be

   prohibited from filing a new voluntary bankruptcy case for a period of two years from the date of

   dismissal, and in the event of any new voluntary bankruptcy filing by the Debtors during such two-

   year period, the new case or cases shall be dismissed, and SummitBridge shall have prospective relief

   from the automatic stay to pursue and enforce its rights and remedies.

              42.       The Settlement Agreement also provides for releases among the Parties and of Dr.

   Trespalacios as well as other provisions common to settlement agreements. The attachments to the

   Settlement Agreement, including, inter alia, the Exit Financing Supplement, also contain terms

   material to the settlement.

                                                              Relief Requested

              43.       The Debtors recommend approval of the Settlement Agreement because it is fair and

   reasonable, falls within the range of possible litigation outcomes, and is in the best interest of the

   estates because full settlement precludes any risks associated with continued litigation on several

   fronts. The Debtors, therefore, respectfully requests that the Court enter an order granting this Motion

   and approving the Settlement Agreement.

              44.       “Settlements are generally favored in bankruptcy proceedings, in that they provide for

   an often needed and efficient resolution of the bankruptcy case” In re Mavrode, 205 B.R. 716, 719

   (Bankr. D.N.J. 1997); see also In re Stein, 236 B.R. 34, 37 (D. Or. 1999) (“Pursuant to Bankruptcy



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   Rule 9019(a), compromises are favored in bankruptcy …”). The Supreme Court has held that

   compromises and settlements in bankruptcy should be approved if they are “fair and equitable.”

   Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424

   (1968).

              45.       Bankruptcy Rule 9019(a) provides: “On motion … and after notice and a hearing, the

   court may approve a compromise or settlement.”

              46.       “[A]pproval of a settlement in a bankruptcy proceeding is within the sound discretion

   of the Court, and will not be disturbed or modified on appeal unless approval or disapproval is an

   abuse of discretion.” In re Arrow Air, Inc., 85 B.R. 886, 891 (Bankr. S.D. Fla. 1988). The test is

   whether the proposed settlement “falls below the ‘lowest point in the range of reasonableness.’” Id.

   (internal citations omitted). See also In re Martin, 490 F.3d 1272, 1275 (11th Cir. 2007). If the

   settlement does not fall below the lowest point in the range of reasonableness, the Court should

   approve the settlement.

              47.       In order to evaluate whether to approve a settlement, the Court must consider the

   factors set forth by the Eleventh Circuit in In re Justice Oaks II, Ltd., 898 F.2d 1544, 1549 (11th Cir.

   1990):

                        a.         the probability of success in the litigation;

                        b.         the difficulties, if any, to be encountered in the matter of collection;

                        c.         the complexity of the litigation involved, and the expense, inconvenience and

   delay necessarily attending it; and

                        d.         the paramount interest of the creditors and a proper deference to their

   reasonable views in the premises.

              48.       Probability of Success. The Debtors and SummitBridge are involved in two separate



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   adversary proceedings and several pending contested matters set for trial on July 25-26. Additionally,

   the State Court Action against Dr. Trespalacios remains pending. The Parties are each confident in

   their respective positions in connection with Avoidance Adversary Proceeding, the Second Motion

   to Dismiss or Convert, the Rent Motion, the Substantive Consolidation Adversary Proceeding, and

   plan confirmation, but the nature of such complex litigation is such that the ultimate results of each

   separate matter are uncertain.

              49.       Collection Difficulty. Notwithstanding that SummitBridge may be collectible, it

   would likely appeal any significant ruling against it, making collectability a costly and uncertain

   prospect.

              50.       Complexity/Cost of Litigation. The several disputes the Parties propose to

   compromise and resolve by way of the Settlement Agreement present legal and factual issues of

   substantial complexity that, if litigated to their conclusion, would take weeks and possibly months of

   Court time, impose extensive litigation costs upon the Debtors’ bankruptcy estates and would delay

   administration of the case and confirmation of a plan. The cost savings achieved by the Parties’

   resolution weighs heavily in favor of settlement.

              51.       Interests of Creditors. Analysis of the foregoing components makes clear that

   approval of the Settlement Agreement is in the best interests of the Debtors’ estates and creditors. In

   particular, the Settlement Agreement provides an end to the costly and protracted litigation with

   SummitBridge and allows for exit financing to enable the Debtor to pay administrative creditors and

   fund operations.

              52.       Applying each of these factors to the circumstances of this case, the Settlement

   Agreement falls well above the lowest point in the range of reasonableness, and accordingly, should

   be approved. The Settlement Agreement is the product of judicially mediated negotiations between



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   the Parties, including the exchange of legal theories, documents, multiple settlement drafts, multiple

   meetings, an exhaustive amount of telephone calls, and countless correspondence. The Settlement

   Agreement resolves all of the pending disputes between the Parties without the need for continued

   protracted, costly, and uncertain litigation, and will likely provide for a consensual plan confirmation

   process.

                                                                  Conclusion

              53.       In sum, the Settlement Agreement avoids lengthy, burdensome, and expensive

   litigation and is a reasonable compromise of the claims asserted by and between SummitBridge and

   the Debtors. Accordingly, the Debtors assert that the Settlement Agreement satisfies all of the Justice

   Oaks II factors and request that the Settlement Agreement and the other relief requested in this Motion

   be approved in their entirety.

              WHEREFORE, the jointly administered Debtors, BREVARD EYE CENTER, INC.,

   BREVARD SURGERY CENTER, INC., MEDICAL CITY EYE CENTER, P.A., and THMIH, INC.,

   respectfully request entry of the proposed Order attached hereto as Exhibit “A” granting the instant

   Motion, approving the Settlement Agreement, and for other and further relief the Court deems just

   and proper.

                                                                              Respectfully submitted,

                                                                              Aaronson Schantz Beiley P.A.

                                                                              /s/ Geoffrey S. Aaronson
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                                                                              Ph: 786.594.3000
                                                                              Fax: 305.424.9336
                                                                              Attorneys for Debtors




                                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing will be furnished through
   the Court’s CM/ECF system on June 18, 2018 via email to all CM/ECF electronic notice parties as
   set forth on the electronic mail notice list below and via U.S. Mail to all parties on the attached service
   list.

        •     Geoffrey S Aaronson gaaronson@aspalaw.com
        •     Steven M Berman sberman@slk-law.com
        •     Samuel J Capuano scapuano@aspalaw.com
        •     Ryan E Davis rdavis@whww.com, thiggens@whww.com;thiggens@ecf.courtdrive.com
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        •     United States Trustee - ORL USTP.Region21.OR.ECF@usdoj.gov

                                                                              /s/ Geoffrey S. Aaronson
                                                                              Geoffrey S. Aaronson, Esq.




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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


In re:

BREVARD EYE CENTER, INC.                             Case No. 6:17-bk-01828-RAC
                                                     Chapter 11

                                                     Jointly Administered With

BREVARD SURGERY CENTER, INC.,                        Case No.: 6:17-bk-01829-RAC

MEDICAL CITY EYE CENTER, P.A.,                       Case No.: 6:17-bk-01830-RAC

THMIH, INC.,                                         Case No.: 6:17-bk-01831-RAC

      Debtors.
_____________________________________________/

           ORDER (I) APPROVING SETTLEMENT PURSUANT TO
   BANKRUPTCY RULE 9019, (II) MODIFYING THE AUTOMATIC STAY, AND (III)
                      GRANTING RELATED RELIEF

          Upon the motion, dated June 18, 2018, of the jointly administered Debtors, BREVARD

EYE CENTER, INC. (“BEC”), BREVARD SURGERY CENTER, INC. (“BSC”), MEDICAL

CITY EYE CENTER, P.A. (“MCEC”), AND THMIH, INC. (“THMIH”) (collectively, the

“Debtors”), for entry of an order pursuant to sections 105(a), 363(b) and 362(d) of title 11 of the

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United States Code (the “Bankruptcy Code”) and Rules 4001(a) and 9019(a) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) (A) approving the Settlement1 set forth in the

Settlement Agreement, substantially in the form attached to the Motion, by and among (i) Brevard

Eye Center, Inc., Brevard Surgery Center, Inc., Medical City Eye Center, P.A., and THMIH, Inc.

(the “Debtors”), and (ii) SummitBridge National Investments V LLC (“SummitBridge”), creditor

and party in interest (collectively, the “Parties”); and (B) modifying the automatic stay as to the

Properties (the (“Settlement Motion”); and

           Upon consideration of the Settlement Motion, any objections thereto, briefs and arguments

of counsel, and due and proper notice of the Motion having been provided to all parties in interest,

and it appearing that the notice of the Motion is sufficient, adequate, and timely under the

circumstances of this case and that no other or further notices need be provided; and a reasonable

opportunity to object or be heard regarding the motion having been given to all such parties; and

a full and fair opportunity having been afforded to litigate all issues raised in all objections, or

which might have been raised, and all objections having been fully and fairly litigated;

IT IS HEREBY ORDERED THAT:

           1.       The Motion is granted in all respects.

           2.       The Settlement described in the Motion and Settlement Agreement is authorized

and approved pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure.

           3.       The Debtors are authorized to enter into the Settlement Agreement, and take all

actions reasonably necessary to consummate the Settlement Agreement and perform all obligations

contemplated therein.




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    Capitalized terms in this Order shall have the meaning given to such terms in the Settlement Agreement.

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          4.       To the extent it applies, the automatic stay imposed by section 362(a) of the

Bankruptcy Code is modified to permit the enforcement and consummation of the Settlement

Agreement in all respects.

          5.       The automatic stay imposed by Section 362(a) is hereby immediately lifted,

modified, and terminated to allow SummitBridge to exercise any or all of its rights and remedies

under applicable law concerning the Properties, including, but not limited to, completion of

foreclosure sales and issuances of certificates of title.

          6.       All leases and purchases of property that are being entered into in connection with

the Settlement Agreement are being entered into and consummated by the parties thereto in good

faith within the meaning of Section 363(m) of the Bankruptcy Code and, accordingly, the

Settlement Agreement and the parties thereto shall be afforded the protections of Section 363(m)

of the Bankruptcy Code.

          9.       In the event that the Bankruptcy Cases are dismissed, the Debtors are barred from

filing new voluntary bankruptcy cases for a period of two years after the date of dismissal.

          7.       The Court shall retain jurisdiction to (i) enforce and implement the terms and

provisions of the Agreement and resolve disputes thereunder, and (ii) implement and enforce the

provisions of this Order.

          8.       All objections to the Motion or the relief requested therein that have not been

withdrawn, waived, or settled, and all reservations of rights included therein, are overruled on the

merits.

          9.       This Order shall be effective and enforceable immediately upon entry and shall

constitute a final order within the meaning of 28 U.S.C. § 158(a). To the extent applicable, the

stays under Bankruptcy Rules 4001(a)(3) and 6004(h) are hereby waived. The Settlement Motion



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provides reasonable notice of the provisions of the Settlement Agreement and opportunity for a

hearing, and therefore, the procedural requirements of Bankruptcy Rule 4001(d), to the extent not

satisfied, are hereby waived.

                                                           ###
Submitted by:

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Jonathan M. Sykes, Esq.
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Attorneys for Creditor, SummitBridge National Investments V LLC


Attorney Sykes is directed to serve a copy of this Order on all interested
parties and to file a proof of service within three days of entry of the Order.




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                               SETTLEMENT AGREEMENT

         This Settlement Agreement (the “Settlement Agreement”) is entered into on June 18,
 2018, by and among (i) Brevard Eye Center, Inc. ("BEC"), Brevard Surgery Center, Inc.
 ("BSC"), Medical City Eye Center, P.A. ("MEC" and together with BEC and BSC, the
 "Operating Debtors"), and THMIH, Inc. (“THMIH”, and together with the Operating Debtors,
 collectively, the "Debtors"), and Dr. Rafael Trespalacios ("Dr. Trespalacios”, and together with
 the Debtors and each of their bankruptcy estates, the "Debtor Parties"), on the one hand, and
 SummitBridge National Investments V LLC ("SummitBridge").

                                            Recitals

         A.     WHEREAS, on March 20, 2017, SummitBridge filed a Verified Complaint
 against the Debtor Parties and Steven Black in the Circuit Court in and for Orange County,
 Florida (the “State Court”), styled SummitBridge National Investments V LLC v. Dr. Rafael
 Trespalacios, et al., case no. 2017-CA-2483 (the “State Court Action”), seeking, among other
 things, foreclosure of mortgages and security agreements against real and personal property of
 the Debtor Parties in Orange and Brevard Counties;

         B.      WHEREAS, on March 21, 2017 (“Debtors Petition Date”), the Debtors filed
 voluntary bankruptcy cases under chapter 11 of the Bankruptcy Code in the Bankruptcy Court
 for the Middle District of Florida (the “Bankruptcy Court”), which are being jointly
 administered under the lead case In re Brevard Eye Center, Inc., case no. 6:17-bk-01828-KSJ
 (collectively, the "Bankruptcy Cases");

        C.    WHEREAS, on May 24, 2017, the Debtors filed the adversary proceeding in the
 Bankruptcy Cases, which is styled Brevard Eye Center, Inc., et al. v. SummitBridge National
 Investments V LLC, adv. pro. no. 6:17-ap-00070-KSJ (the “Avoidance Adversary
 Proceeding”), seeking, among other things, avoidance of certain liens and claims held by
 SummitBridge and the return of certain property from SummitBridge;

        D.     WHEREAS, on August 17, 2017, SummitBridge filed in the Bankruptcy Cases
 the Emergency Motion to Dismiss or Convert Cases seeking to dismiss or convert these Chapter
 11 cases (“SummitBridge’s First Motion to Dismiss/Convert”) [ECF 240];

         E.    WHEREAS, on October 19, 2017, the Debtors filed in the Bankruptcy Cases a
 Plan of Reorganization [ECF 343];

        F.    WHEREAS, on November 14, 2017, Judge Roberta Colton denied without
 prejudice SummitBridge’s First Motion to Dismiss/Convert [ECF 373];

         G.    WHEREAS, on December 28, 2017, SummitBridge filed in the Bankruptcy Cases
 the Renewed Motion to Dismiss or Convert Cases at docket entry 403 in the Bankruptcy Case
 (the "Second Motion to Dismiss or Convert");




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        H.      WHEREAS, on February 26, 2018, SummitBridge filed in the Bankruptcy Cases
 the Motion for Derivative Standing to File and Pursue an Administrative Claim and To Enforce
 Leasehold and Other Rights on Behalf of the THMIH, Inc., or in the Alternative, for Appointment
 of Trustee for THMIH (the "Rent Motion"), at docket entry 462 in the Bankruptcy Case;

        I.     WHEREAS, on April 9, 2018, SummitBridge filed the adversary proceeding in
 the Bankruptcy Cases, which is styled SummitBridge National Investments V LLC v. Brevard
 Eye Center, Inc., et al., adv. pro. no. 6:18-ap-00028-KSJ (the “Substantive Consolidation
 Adversary Proceeding”), seeking, among other things, substantive consolidation of the Debtors;

         J.     WHEREAS, the Debtors intend to reorganize pursuant to confirmation of an
 amended joint chapter 11 plan of reorganization to be filed in the Bankruptcy Cases (prior to and
 after confirmation, any chapter 11 plan concerning the Debtors or their bankruptcy estates, the
 “Plan” or the “Plan of Reorganization”);.

       K.        WHEREAS, the Parties have engaged in judicial mediation in an attempt to
resolve all claims among them;

        L.      WHEREAS, the Parties hereto have engaged in extensive negotiations with the
assistance of counsel and the mediator, and have concluded that the execution and performance
by them of this Settlement Agreement will avoid protracted and expensive litigation, and
acknowledge that they are receiving a substantial and valuable benefit if the settlements contained
herein are consummated; and

         NOW, THEREFORE, for good and valuable consideration, including but not limited to
 the releases and other consideration provided for herein, the receipt and sufficiency of which are
 hereby acknowledged, it is agreed as follows:

         1.        Recitals. The recitals set forth above constitute an integral part of this Settlement
 Agreement, evidencing the intent of the Parties in executing this Settlement Agreement, and
 describing the circumstances surrounding its execution. This Settlement is an effort to resolve,
 inter alia, all the matters set forth in the recitals.

       2.      Definitions. In addition to the defined terms above and hereafter in this Settlement
 Agreement, the following capitalized terms used in this Settlement Agreement shall have the
 meanings specified below:

              a.        “Bankruptcy Code” shall mean title 11 of the United States Code, 11
U.S.C. §101, et seq.

                b.     “Brevard County Properties” shall mean the real property that constitutes
property of any or all of the bankruptcy estates of the Debtor Parties located in Melbourne and
Merritt Island, Florida. The Brevard County Properties include the real property located at 250
North Courtenay Parkway, Merritt Island, Florida 32953 (the “Merritt Island Property”), and
the real property located at 665 S. Apollo Boulevard, Melbourne, Florida 32901 (the
“Melbourne Property”).


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                c.     “Claims” means any and all manner of claims, demands, rights, actions,
potential actions, causes of action, liabilities, duties, damages, losses, surcharges, equities of the
case, diminutions in value, obligations, judgments, decrees, matters, issues, suits and
controversies of any kind or nature whatsoever, whether known or unknown, contingent or
absolute, liquidated or not liquidated, accrued or accrued, suspected or unsuspected, disclosed or
undisclosed, apparent or not apparent, foreseen or unforeseen, matured or not matured, which
now exist, or heretofore or previously existed, or may hereafter exist, including, but not limited
to, any claims arising under federal, state or foreign law, common law, bankruptcy law, statute,
rule or regulation, or agreement, whether individual, class, direct, derivative, representative, on
behalf of others, legal, equitable, regulatory, governmental or of any other type or in any other
capacity.

               d.     “Effective Date of this Settlement Agreement” shall mean the date on
which the last “Condition Precedent” of paragraph 5 of this Settlement Agreement has occurred.

             e.     "Exit Financing" shall have the meaning given to such term in the Exit
Financing Supplement attached hereto as Exhibit "A".

             f.   "Exit Notes" shall have the meaning given to such term in the Exit
Financing Supplement attached hereto as Exhibit "A".

                g.     “Final Order” means an order as to which the time to appeal has expired
and there is no stay pending appeal of the order.

                h.     "Orlando Property" shall mean the real property that constitutes property
of any or all of the bankruptcy estates of the Debtors located in Orlando, Florida. The Orlando
Property includes the real property located at 214 East Marks Street, Orlando, Florida 32803.

                  i.    “Parties” means the Debtor Parties and SummitBridge.

                  j.    ”Properties" shall mean the Brevard County Properties and the Orlando
Property.

              k.     “Settlement” shall mean the terms of this Settlement Agreement and the
Exit Financing Supplement, which is incorporated herein by reference.

                l.      “Settlement Approval Order” means the order substantially in the form
attached hereto as Exhibit B, to be entered by the Bankruptcy Court, which, inter alia, (i) approves
this Settlement Agreement and the transactions contemplated hereby, (ii) lifts, modifies and
terminates the automatic stay immediately as to the Properties, (iii) bars the filing of a new
voluntary bankruptcy case by the Debtors for a period of two years after dismissal of the
Bankruptcy Cases pursuant to paragraph 9 thereof, and (iv) authorizes the use, sale and lease of
the estate property pursuant to Section 363 of the Bankruptcy Code consistent with this Settlement
Agreement and contains the protections afforded by Section 363(m) of the Bankruptcy Code.



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                  m.    "Exit Financing Supplement" shall mean the document attached hereto as
Exhibit "A".

        3.       Rule of Construction. Reference to the "Debtors", "SummitBridge" or any other
 individual or entity shall include its/their predecessors, successors and or assigns, and with regard
 to the Debtors, any such reference, shall include their bankruptcy estates, and the Debtors as
 reorganized pursuant to a chapter 11 plan on and after the Effective Date.

         4.      Settlement Approval Order. On or before June 18, 2018, the Debtors shall file
with the Bankruptcy Court a motion pursuant to Rule 9019 of the Federal Rules of Bankruptcy
Procedure for approval of this Settlement Agreement and entry of the Settlement Approval Order
(the "Motion to Compromise") in form and substance satisfactory to SummitBridge. The Debtors
will use best efforts to secure a Final Order approving this Settlement Agreement in the form of
the Settlement Approval Order (notwithstanding the filing of any objections to approval of the
Settlement Agreement on any ground whatsoever), and the Debtors and SummitBridge will not
disparage or undermine, in any court, this Settlement Agreement, the Settlement or approval of
the Settlement. This Settlement Agreement shall be null and void and of no force and effect
unless it is signed by all of the Parties on or before June 18, 2018 and the Motion to Compromise
is filed on or before June 18, 2018.

         5.      Conditions Precedent. This Settlement Agreement shall become effective on the
date the last of the following has occurred:

                  (a)   This Settlement Agreement is executed by all of the Parties on or before
June 18, 2018;

                  (b)   The Motion to Compromise is filed on or before June 18, 2018;

               (c)      The Bankruptcy Court enters the Settlement Approval Order on or before
July 31, 2018; and

                  (d)   The Settlement Approval Order has become a Final Order.

Confirmation of a plan in the Bankruptcy Cases is not a condition precedent to the
effectiveness of the Settlement, or the entry of the Settlement Approval Order. This
Settlement Agreement and the Settlement Approval Order shall be enforceable irrespective
of whether a plan is confirmed in these Bankruptcy Cases.

        6.     Allowance of SummitBridge's Senior Secured Claims in The Bankruptcy Cases.
SummitBridge's claims are allowed in the amount of $11,497,553.47 in each of the four bankruptcy
cases of the Debtors (the "SummitBridge Allowed Claim"). SummitBridge holds a first priority
lien and security interest on the Properties, subject only to the liens held on account of real estate
taxes. SummitBridge also holds a first priority lien and security interest on all non-real estate
property of the Debtors, including without limitations, accounts receivable, furnishing, fixtures
and equipment (the “Other SummitBridge Collateral”), subject only to certain of the property



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owned by the Debtors as of the Debtors Petition Date that is subject to equipment leasing or
equipment financing agreements.

       7.    Dismissal of the Avoidance Adversary Proceeding. Upon the Effective Date of this
Settlement Agreement, the parties will file stipulations for the dismissal with prejudice of the
Avoidance Adversary Proceeding.

        8.     Withdrawal of the Second Motion to Dismiss or Convert, Dismissal of the
Substantive Consolidation Adversary Proceeding and Withdrawal of the Rent Motion. Upon the
Effective Date of this Settlement Agreement, SummitBridge shall withdraw the Second Motion to
Dismiss or Convert, dismiss the Substantive Consolidation Adversary Proceeding, and withdraw
the Rent Motion.

        9.      Triple Net Leases. Upon the Effective Date of this Settlement Agreement, the
Operating Debtors shall jointly and severally enter into triple net leases with THMIH requiring the
payment by the tenant of all obligations of any sort (including insurance, real estate taxes, normal
maintenance, etc.) in the form attached hereto as Exhibit "C" (the “Leases”) with respect to the
Brevard County Properties commencing on the Effective Date of this Settlement Agreement.
Exhibit “C” is the form of the Lease for the Melbourne Property, and the form of the Lease for the
Merritt Island Property will be in the same form as Exhibit “C,” except that it will be modified to
the extent necessary to reference the location of the Merritt Island Property instead of the
Melbourne Property. For purposes of this Settlement Agreement, the Leases shall include the
Orlando Lease if the Orlando Lease Option is exercised. The original executed Leases shall be
delivered to SummitBridge. On and after the Effective Date of this Settlement Agreement, the
Leases and rents to be paid thereunder are absolutely and unconditionally transferred and assigned
to SummitBridge, and shall not be property of the Debtors or their bankruptcy estates. To the extent
required by SummitBridge, all of Debtors shall absolutely and unconditionally guaranty the
Leases. The lease for the Merritt Island Property shall only relate to the portion of the building
that are currently being used by Debtors (approximately 4,786 square feet on the first floor). The
Leases shall be for a five-year term, shall include COL increases yearly, and may be extended for
one single 5-year term on notice of 180 days or more prior to expiration. Absent the express
written consent of SummitBridge, the Leases shall not be assigned or sublet by any of the parties
thereto, which consent will not be unreasonably withheld. For avoidance of doubt, any assignment
or sublease proposed by a party for a use in any manner concerning marijuana, or for use other
than the current use (namely, ophthalmology and eye care), will not be permitted. The Debtors
shall not amend or modify the Leases in any respect without prior written consent of
SummitBridge.

        10.     Merritt Island Third Party Rent. The Debtors may retain all rents paid by the
existing third party tenant at the Merritt Island Property in the amount of not more than $1,500.00
per month though the rent due for December 31, 2018 (but shall not be entitled to retain any pre-
paid rent for any period after December 31, 2018). Any rent paid after December 31, 2018 with
respect to the Merritt Island Property (except for any unpaid rent due through December 31, 2018
relating to any period of occupancy prior thereto) and rent relating to use and occupancy of such
property for any period after December 31, 2018, shall not be accepted by the Debtors and, along
with any rights to collect such rent, shall be the property of SummitBridge.


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       11.    Lifting of the Automatic Stay Upon the Effective Date of the Settlement
Agreement. Upon the Effective Date of this Settlement Agreement, the automatic stay is lifted,
terminated and modified to permit SummitBridge to pursue its state law rights and remedies
concerning the Properties, including without limitation, foreclosure of the Properties.

        12. The Orlando Property. On or before the earlier of the entry of foreclosure judgment
 or September 30, 2018 (without any possibility of extension), the Debtors will either (a) elect in
 writing (the “Orlando Lease Option”) to enter into a lease (the “Orlando Lease Option”) of the
 Orlando Property for $9,100.00 (subject to the same terms and conditions of the Brevard
 Properties leases (the “Orlando Lease”)); or provide SummitBridge (or its designee or assignee)
 with peaceful possession of the Orlando Property, and the Debtors shall no longer be responsible
 for maintenance expenses accruing with respect to the Orlando Property after the delivery of
 peaceful possession by the Debtors, including taxes, insurance, utilities, and maintenance.
 SummitBridge shall not be obligated with respect to, and the Debtors shall be responsible to pay
 (or to reimburse SummitBridge) for, all maintenance expenses relating to the Orlando Property
 for the period prior to the date that the Debtors deliver peaceful possession. Prior to the Effective
 Date of this Settlement Agreement and delivery of peaceful possession of the Orlando Property,
 the Debtors, or any trustee, shall continue to maintain the Orlando Property in a commercially
 reasonable fashion.

        13.      Foreclosures Shall be Subject to the Leases. On the Effective Date of this
Settlement Agreement, SummitBridge, THMIH and the Operating Debtors shall enter into a
Subordination Non-Disturbance and Attornment Agreement (the “SNDA”) in the form attached
hereto as Exhibit “D” with respect to the Brevard County Properties which may be recorded in
Brevard County property records by the Debtors, and, if the Orlando Lease Option is timely
exercised, with respect to the Orlando Property, in substantially the same form attached hereto as
Exhibit “D” (the “Orlando SNDA”) which may be recorded in the Orange County property
records by the Debtors. The SNDA, Orlando SNDA, the Leases, and the Orlando Lease shall be
subject to, and subordinate to, any existing liens on the Properties that are currently subordinate in
lien priority to liens of SummitBridge on the Properties and will not impact the rights of any such
subordinate lienholders. The Debtors understand that a lienholder currently subordinate to
SummitBridge with respect to the Properties may have the right to foreclose out either in the State
Court Action or otherwise (and effectively eliminate) the Leases and the Orlando Lease, and
terminate the Debtors’ right to use and occupancy of the Properties, but despite that possibility and
the possibility that the Debtors may not be able to continue to use any of the Properties, including
the Orlando Property, after entry of the Settlement Approval Order and the timely exercise of the
Orlando Lease Option, the Debtors will use best efforts to secure a Final Order approving this
Settlement Agreement in the form of the Settlement Approval Order (notwithstanding the filing of
any objections to approval of the Settlement Agreement on any ground whatsoever, including but
not limited to an objection by a subordinate lienholder on the Orlando Property), and the Debtors
and SummitBridge will not disparage or undermine, in any court, this Settlement Agreement, the
Settlement or approval of the Settlement.

       14.     Consent to Foreclosure. The Debtors hereby agree to consent to the foreclosure
 and sale of the Properties in the State Court Action upon terms requested by SummitBridge.


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 Attached hereto as Exhibit "E" is a proposed draft of a stipulation and consent to foreclosure with
 a proposed draft of a stipulated consent foreclosure judgment that SummitBridge may file and
 submit in the State Court Action to facilitate the foreclosure of the Properties on or after the
 Effective Date of this Settlement Agreement. The Debtors shall promptly execute and deliver to
 SummitBridge any and all documents necessary in the view of SummitBridge to complete the
 foreclosure and sale of the Properties contemplated by this paragraph, including, but not limited
 to, a stipulation and consent to foreclosure judgment with a proposed stipulated and consent
 foreclosure judgment in substantially the same form as the drafts attached hereto as Exhibit “E.”
 The Debtors further stipulate and consent to, and hereby waive, with prejudice, any defenses,
 objections or challenges to, any other action, and the execution and delivery of any other
 document or pleading, necessary in the view of SummitBridge to complete foreclosure and sale
 of the Properties, including, but not limited to, the filing and recordation of a notice of lis pendens
 against the Properties, an amended complaint adding additional parties or lienholders, the
 amendment or modification of the proposed drafts attached hereto as Exhibit “E,” the credit
 bidding of any or all of the SummitBridge Allowed Claim, the transfer of the State Court Action
 or the commencement of a new foreclosure action in the Circuit Court in and for Brevard County,
 Florida, any actions required by a title insurance company to fully insure the transfer of title by
 foreclosure, and any actions required by a court of law to foreclose and sell the Properties. The
 foreclosure judgments shall reference this Settlement Agreement and shall not include the
 retention of jurisdiction to enter deficiency judgments.

       15.     SummitBridge's Entitlement to Sale Proceeds. Upon receipt of sale proceeds on
 account of the foreclosure sale of each of the Properties, SummitBridge’s proofs of claim filed in
 the Bankruptcy Cases shall be reduced to reflect the net proceeds it receives for the applicable
 property sold; provided however, that such sale proceeds received by SummitBridge shall not
 impact or otherwise be applied to any obligations under or with respect to the Exit Notes or reduce
 the amount of the SummitBridge Allowed Unsecured Claim (defined in paragraph 21(e) hereof)
 except to the extent provided in paragraph 21(g) of this Settlement Agreement, and provided,
 however, any subordinate lienholder shall retain its rights under state law, if any, to receive
 proceeds in connection with a foreclosure sale solely to the extent required by any subordination
 agreement and under applicable state law.

        16.     Real Estate Taxes. The payment of pre-petition real estate taxes on the Properties
(or any certificate evidencing such taxes) shall be the responsibility of the purchaser of the
Properties at the foreclosure sale of the Properties. The post-petition real estate taxes on the
Brevard County Properties shall be paid by Debtors on the effective date of a Plan. The post-
petition real estate taxes on the Orlando Property shall be paid by Debtors upon the delivery of
peaceful possession of the Orlando Property pursuant to this Settlement Agreement in an amount
equal to the prorated 2018 real estate taxes through the date of delivery of peaceful possession,
less $6,501.00.

        17.     Continuing Enforceability of SummitBridge's Pre-Petition Loan Documents.
Notwithstanding anything to the contrary in the Settlement Agreement, SummitBridge's pre-
petition notes and mortgages (attached to SummitBridge's proofs of claim filed in the Bankruptcy
Cases) shall remain in place to allow for the foreclosure of the Properties by SummitBridge.
Accordingly, SummitBridge shall be entitled to assert in the foreclosure actions any or all of the


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SummitBridge Allowed Claim plus any interest, fees and other amounts that may be owed under
applicable law under such pre-petition notes, mortgages and other agreements that are not included
in the SummitBridge Allowed Claim. SummitBridge may utilize for purposes of credit bidding at
the foreclosure sales of the Properties any or all of the SummitBridge Allowed Claim, provided,
however, that the amount of the SummitBridge Allowed Claim will be reduced as set forth in this
paragraph by the net amount that SummitBridge receives or credit bids, as applicable, in
connection with such sales. There shall be no reduction in the SummitBridge Allowed Unsecured
Claim or the Exit Notes on account of credit bids and net proceeds of the foreclosures on the
Properties if they total less than $4,500,000. After the first $4,500,000 of net proceeds or credit
bids, as applicable, there will be a reduction to the extent of the excess amount of the credit bids
or the net proceeds to the SummitBridge Allowed Unsecured Claim until it has been fully satisfied
and, thereafter, to the extent of additional amounts, the balance under Exit Note B and, thereafter,
to the extent of additional amounts, the balance under Exit Note A.

        18.      Prohibition on Liens. Except with respect to liens limited to newly acquired
equipment under equipment leasing or equipment financing agreements, and liens that are
subordinate in all respects to the liens of SummitBridge, until SummitBridge has been paid in full
the amount provided for in any plan confirmed in the Bankruptcy Cases, no liens or security
interests, of any sort shall be granted with respect to any property of the Debtors or their bankruptcy
estates without the consent of SummitBridge, which consent shall not be unreasonably withheld.
As a condition to the granting of any such liens by the Debtors, the proposed lienholder shall
execute a subordination/inter-creditor agreement in form and substance satisfactory to
SummitBridge in its sole and absolute discretion.

        19.    Compensation of Dr. Trespalacios and Adequate Protection Payments to
SummitBridge Between the Effective Date of the Settlement Agreement and the Effective Date of
a Plan in the Bankruptcy Cases. For the period between the Effective Date of this Settlement
Agreement until the effective date of a Plan in the Bankruptcy Cases, if Debtors have adequate
capital to make such payments and Dr. Trespalacios is working full time for Debtors, Dr.
Trespalacios may receive gross compensation from the Debtors of up to $20,000 per month.
However, if Dr. Trespalacios is paid any compensation during the foregoing time period, Debtors
shall simultaneously pay SummitBridge an adequate protection payment, to be applied to reduce
the SummitBridge Allowed Unsecured Claim (defined in paragraph 21(e)) in these cases equal to
one-half of the gross compensation paid to Dr. Trespalacios.

        20.    Consent Judgment Against Dr. Trespalacios in the State Court Action. In
connection with the State Court Action, Dr. Trespalacios will execute a stipulation and consent to
judgment in the amount of $11,497,553.47 in substantially the same form as the proposed draft
stipulation and consent with proposed draft judgment attached hereto as Exhibit "F". The
stipulation and consent judgment will be held by SummitBridge and only filed and submitted in
the State Court Action for entry upon a breach or default under this Settlement Agreement after
seven days written notice. Upon a motion filed within such seven day notice period, the
Bankruptcy Court shall retain jurisdiction to determine whether a breach or default has occurred
and whether judgment should be entered.




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        21.    Treatment of SummitBridge's Claims in These Cases Under Any Plan. Any plan
confirmed in these Bankruptcy Cases (including the Plan) shall incorporate and be in all respects
consistent with the following:

                (a) For purposes of consideration of any issues in connection with confirmation of
any plan in the Bankruptcy Cases (including issues under Sections 506 and 1129 of the Bankruptcy
Code), the Other SummitBridge Collateral has a value of no less than $1,000,000.

               (b) Pursuant to any plan confirmed in the Bankruptcy Cases, SummitBridge shall
receive payment in connection with its lien on the Other SummitBridge Collateral pursuant to two
notes secured by the Other SummitBridge Collateral, referred to herein as “Exit Note A” and “Exit
Note B" and attached hereto as Exhibits "G" and "H". Exit Note A and Exit Note B shall be
executed and delivered by the Debtors to SummitBridge as a condition precedent to the effective
date of any plan confirmed in the Bankruptcy Cases.

              (c) To secure payment of Exit Note A and Exit Note B, the Debtors shall execute
a security agreement (reflecting security interest on all property of the Debtors) (the "New
Security Agreement" in the form attached hereto as Exhibit "I".

                (d) On the effective date of a plan confirmed in the Bankruptcy Cases, as a
condition to the effective date, Dr. Trespalacios shall absolutely and unconditionally guaranty Exit
Note A and Exit Note B (and if SummitBridge provides the Exit Financing, the Exit Financing
Note) by executing and delivering to SummitBridge a Guaranty Agreement in the form attached
hereto as Exhibit "J" (the "New Guaranty Agreement").

               (e) SummitBridge shall also have an allowed general unsecured claim in the
amount of $6,000,000 (the “SummitBridge Allowed Unsecured Claim”). The treatment of the
SummitBridge Allowed Unsecured Claim under any plan confirmed in the Bankruptcy Cases shall
be the same as all other general unsecured claims; provided, however, that any distribution to
SummitBridge as a general unsecured creditor shall be applied to whichever of the then
outstanding Exit Notes bears the highest interest rate and shall be applied in accordance with the
terms of the applicable note.

              (f) The SummitBridge Allowed Unsecured Claim shall continue to be fully
enforceable and secured by the Properties until they have been foreclosed as contemplated by this
Settlement Agreement.

                (g) In connection with the foreclosures of the Properties, SummitBridge may
utilize for purposes of credit bidding any or all of the SummitBridge Allowed Claim, provided,
however, that the amount of the SummitBridge Allowed Claim will be reduced as set forth in this
paragraph by the net amount that SummitBridge receives or credit bids, as applicable, in
connection with such foreclosures. There shall be no reduction in the SummitBridge Allowed
Unsecured Claim, Exit Note A or Exit Note B on account of credit bids and net proceeds of the
foreclosures on the Properties if they total less than $4,500,000. After the first $4,500,000 of net
proceeds or credit bids, as applicable, there will be a reduction to the extent of the excess amount
of the credit bids or the net proceeds, as applicable, to the SummitBridge Allowed Unsecured


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Claim until it has been fully satisfied and, thereafter, to the extent of any additional amounts, the
balance under Exit Note B and, thereafter, to the extent of any additional amounts, the balance
under Exit Note A.

        22.     Exit Financing Election Pursuant to Exit Financing Supplement. If the Debtors
elect to receive the $250,000 of exit financing offered by SummitBridge, as a condition to such
financing, the treatment of the Claims of SummitBridge in connection with the plan in the
Bankruptcy Cases shall be consistent in all respects with the Exit Financing Supplement attached
hereto as Exhibit "A", which shall be incorporated in its entirety into the plan. Any such election
shall be made at the time that the Debtors file the applicable plan and disclosure statement. If the
Debtors elect to receive the Exit Financing, the plan shall provide that:

              Nothing in this Plan is intended to be inconsistent with, or shall in any way be interpreted
              in a manner inconsistent with, the Settlement Agreement approved pursuant to the
              Settlement Approval Order, Docket No. ____ and the Exit Financing Supplement attached
              to the Settlement Agreement as Exhibit "A", both of which are incorporated herein in their
              entirety. Nothing contained in the Plan or the Confirmation Order shall be interpreted in
              a manner inconsistent with the Exit Financing Supplement.

The confirmation order with respect to any such plan shall also contain the foregoing language.

        23.     To the extent that there is voting to accept or reject a plan that incorporates the Exit
Financing Supplement and the plan is consistent in all respects with Exit Financing Supplement
and this Settlement Agreement, SummitBridge agrees: (a) to affirmatively support the plan by
attending the Disclosure Hearing and the plan Confirmation hearing and affirmatively support the
plan; (b) advocate for the overruling of any objections at the hearing that the Debtors also seek to
have overruled; and (c) to vote each of its Claims to accept a plan by delivering its duly executed
and completed ballot(s) accepting the plan on a timely basis following the commencement of
solicitation and its actual receipt of the solicitation materials and ballot, (provided that the
disclosure statement and the solicitation materials in each case are approved by the Bankruptcy
Court as containing "adequate information" as such term is defined in section 1125 of the
Bankruptcy Code).

        24.       SummitBridge shall have no obligation to provide the Exit Financing or to support
the plan if (i) the effective date of such plan does not occur on or before January 1, 2019, (ii) either
the plan or the Confirmation Order do not contain the language referred to in paragraph 22 of this
Settlement Agreement, or (iii) the plan is inconsistent in any manner with this Settlement
Agreement or the Exit Financing Supplement.

        25.   Dismissal If the Effective Date of a Plan Does Not Occur Prior to January 1, 2019.
If a plan consistent with this Settlement Agreement is not confirmed with an effective date
occurring on or prior to January 1, 2019, then the Bankruptcy Cases shall be dismissed. In the
event of dismissal, SummitBridge shall not provide Exit Financing and the Debtors shall not
execute the Exit Notes and associated security agreements. The order dismissing the Bankruptcy
Cases shall provide for the bar on subsequent bankruptcy filings contained in paragraph “27”
hereof.


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        26.    Binding Nature of the Settlement Agreement on the Debtors' Estates. This
Settlement Agreement shall be binding upon the Debtor Parties and any subsequently appointed
Chapter 11 or Chapter 7 trustee and shall be enforceable by SummitBridge against the Debtor
Parties and their bankruptcy estates both during these Bankruptcy Cases and, if applicable, after
conversion to Chapter 7 or dismissal of the Bankruptcy Cases.

       27.      Bar on Subsequent Bankruptcy Filings. If the Bankruptcy Cases are dismissed for
any reason whatsoever, Debtors shall be prohibited from filing a new voluntary bankruptcy case
for a period of two years from the date of dismissal, and in the event of any new voluntary
bankruptcy filing by the Debtors during such two-year period, the new case or cases shall be
dismissed, and SummitBridge shall have prospective relief from the automatic stay to pursue and
enforce its rights and remedies.

        28.     Release of SummitBridge. Upon the Effective Date of this Settlement Agreement,
on behalf of the Debtor Parties, the Debtor Parties hereby unconditionally, absolutely and
irrevocably release and discharge SummitBridge of all Claims, manners of action, causes of action,
suits, debts, accounts, promises, warranties, damages and consequential damages, demands,
agreements, costs, expenses, claims or demands whatsoever, of any kind or nature whether known
or unknown, liquidated or unliquidated, disputed or undisputed, contingent, inchoate or matured,
in law or in equity which the Debtor Parties now have or ever had against SummitBridge upon or
by reason of any manner, cause or thing whatsoever on or at any time prior to the date of this
Settlement Agreement, including, but not limited, Claims concerning, arising out of, or relating to
the facts, circumstances, events, transactions or transfers alleged or which could have been alleged
in the Avoidance Adversary Proceeding, it being the intention of the Debtor Parties to reserve
nothing whatsoever hereunder, and each of them, their peace and freedom from each and every of
the released claims of whatever character and description; provided, however, (1) nothing in this
paragraph shall be deemed or construed to be a release, waiver or discharge of the terms and
conditions of this Settlement Agreement; and (2) the foregoing shall only release SummitBridge
and does not release any other persons or entities.

       29.     Release of Dr. Trespalacios. Upon the later to occur of (i) the conclusion of the
foreclosures of the Properties contemplated by this Settlement Agreement, and (ii) the delivery of
the New Guaranty, Dr. Trespalacios shall receive a release from SummitBridge in the form
attached hereto as Exhibit "K", if and only if, he has cooperated with SummitBridge in promptly
concluding the foreclosure sales of the Properties. Notwithstanding the foregoing, any such release
shall not release any obligations under the Exit Notes (which will be guaranteed by Dr.
Trespalacios pursuant to the New Guaranty).

        30.     Release of the Debtors. Upon the Effective Date of this Settlement Agreement,
SummitBridge hereby unconditionally, absolutely and irrevocably releases and discharges each
of the Debtors, jointly and severally, of all Claims, manners of action, causes of action, suits, debts,
accounts, promises, warranties, damages and consequential damages, demands, agreements, costs,
expenses, claims or demands whatsoever, of any kind or nature whether known or unknown,
liquidated or unliquidated, disputed or undisputed, contingent, inchoate or matured, in law or in
equity which SummitBridge now has or ever had against Debtors cumulatively and individually,
upon or by reason of any manner, cause or thing whatsoever on or at any time prior to the date of

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this Settlement Agreement, including, but not limited to Claims concerning, arising out of, or
relating to the facts, circumstances, events, transactions or transfers alleged or which could have
been alleged in the Avoidance Adversary Proceeding, the Second Motion to Dismiss or Convert,
the Rent Motion, the Substantive Consolidation Adversary Proceeding, it being the intention of
SummitBridge to reserve nothing whatsoever hereunder, and each of them, their peace and
freedom from each and every of the released claims of whatever character and description;
provided, however, (1) nothing in this paragraph shall be deemed or construed to be a release,
waiver or discharge of the terms and conditions of this Settlement Agreement; (2) nothing in this
paragraph shall be deemed or construed to be a release, waiver or discharge of the SummitBridge
Allowed Claims to the extent necessary (a) to foreclose on the Properties, (b) to receive
distributions under any plan confirmed in the Bankruptcy Cases, (c) to obtain and enforce the Exit
Notes, (d) to obtain distributions on account of the SummitBridge Allowed Unsecured Claim, and
(e) to collect on account of any and all claims in the event of conversion or dismissal of the
Bankruptcy Cases, and (3) this paragraph shall only release the Debtors and does not release any
other persons or entities. For avoidance of doubt, nothing contained in this Release and this
Settlement Agreement shall in any way release, waive, discharge, limit or impair the right and the
ability of SummitBridge to enforce its rights on account of the Claims described in each of the
proofs of claim, the Bankruptcy Cases or the State Court Action, to foreclose on the Properties or
to complete foreclosures on the Properties.

        31.      Further Assurances. Each of the Parties shall execute and deliver to the other all
such agreements, instruments and other documents as may reasonably be requested to cause liens
to attach or become perfected, to foreclose on the Properties or otherwise transfer title to the
Properties, or to accomplish whatever may be contemplated pursuant to this Settlement
Agreement. Further, the Parties hereby agree to do and perform all acts, to make, execute and
deliver all instruments and documents necessary to consummate the transactions contemplated by
this Settlement Agreement.

          32.     General Representations and Warranties.

                (a)    Authority. Each of the undersigned covenants and warrants that he or she
has the power and authority to execute this Settlement Agreement on behalf of the Party on whose
behalf this Settlement Agreement is so executed.

              (b)      Advice of Counsel. Each of the Parties acknowledges and warrants that it
has consulted with its attorneys regarding the terms of this Settlement Agreement, and that they
have been completely read and are fully understood and voluntarily accepted for the purpose of
making a full and final compromise, settlement and waiver of any and all claims as set forth
herein.

        33.    Due Diligence. Each of the Parties has investigated the matters set forth in this
Settlement Agreement, and all other matters pertaining to this Settlement Agreement. Each of the
Parties represents and warrants that they have not relied upon any promises, agreements,
representations, statements or warranties in entering into this Settlement Agreement that are not
otherwise expressly provided for in this Settlement Agreement.



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         34.    No Admission of Liability. Nothing contained in this Settlement Agreement shall
be deemed as an admission of any liability or lack of merit in any claim, by any party of any matter,
claim or defense previously in dispute. Each Party is aware that it may hereafter discover claims or
facts in addition to or different from those it now knows or believes to be true. Nevertheless, it is
the intention of the Parties to fully, finally and forever settle and resolve any and all controversies
among themselves to the extent provided herein, and all claims relative thereto, that do now exist
or heretofore have existed between them. In furtherance of such intention, the releases given herein
shall be and remain in effect as a full and complete release of all such matters to the extent provided
herein, notwithstanding the discovery or existence of any additional or different claims or facts
relative thereto.

       35.     Costs. The Parties shall bear their respective attorneys’ fees and costs in
connection with this Settlement Agreement and the Bankruptcy Cases.

        36.     Successors and Assigns. This Settlement Agreement shall be binding upon, and
inure to the benefit of all of the Parties and their respective predecessors, successors and assigns.

        37.      Interpretation. No provision of this Settlement Agreement will be interpreted in
favor of, or against, any of the parties hereto by reason of the extent to which any such party or its
counsel participated in the drafting thereof or by reason of the extent to which any such provision
is inconsistent with any prior draft hereof or thereof.

        38.     Third Party Beneficiaries. This Settlement Agreement is for the sole benefit of the
parties hereto and their respective predecessors, successors and permitted assigns. Nothing herein
shall give or be construed to give any person or entity, other than the parties hereto and their
respective predecessors, successors and permitted assigns, any legal or equitable rights hereunder.

       39.       Integration. This Settlement Agreement represents the full and complete
agreement between the Parties. Any representations, warranties, promises, or conditions, whether
written or oral, not specifically incorporated into this Settlement Agreement, or in any other
agreements, instruments, certificates or documents delivered as required or contemplated under
this Settlement Agreement, shall not be binding upon the Parties. All other discussions,
negotiations, term sheets and writings have been and are merged into this Settlement Agreement.

        40.     Writing Required. Neither this Settlement Agreement nor any term or provision
hereof may be changed, waived, discharged, or terminated except by an instrument in writing duly
signed by the Party against which enforcement of the change, waiver, discharge, or termination is
sought.

       41.       Governing Law and Consent to Jurisdiction. This Settlement Agreement and all
other documents required or contemplated hereby shall be governed by and construed in
accordance with the laws of the State of Florida applicable to contracts made and to be performed
wholly within the State of Florida but irrespective of its choice of law rules. As specific
inducement for the Parties to enter into this Settlement Agreement, each of the Parties hereby
consents to the exclusive jurisdiction of the Bankruptcy Court for resolution of all disputes arising



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under this Settlement Agreement, and waives any objection it may have to the laying of venue in
any such court and any claim that such suit has been brought in an inconvenient forum.

         42.     Notice to Parties. All notices given pursuant to this Settlement Agreement shall
be delivered by first class mail, hand delivery, or email to the Parties at the following addresses
(or, if applicable, the most current address available for such Party):

                  If to the Debtors:

                           Dr. Rafael Trespalacios
                           665 Apollo Boulevard
                           Melbourne, FL 32901

                  With a copy to:

                          Geoffrey S. Aaronson
                          Aaronson Schantz Beiley P.A.
                          One Biscayne Tower, Suite 3400
                          Miami, FL 33131
                          garronson@aspalaw.com

                  If to Dr. Trespalacios:

                           Dr. Rafael Trespalacios
                          4448 Reseda Way
                           Rockledge, FL 32955

                  With a copy to:

                          Roy S. Robert
                          Gray Robinson
                          301 East Pine Street
                          Suite 1400
                          Orlando, FL 32801
                          roy.kobert@gray-robinson.com

                          and:

                          Geoffrey S. Aaronson
                          Aaronson Schantz Beiley P.A.
                          One Biscayne Tower, Suite 3400
                          Miami, FL 33131
                          garronson@aspalaw.com


                  If to SummitBridge:


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                          SummitBridge National Investments V LLC
                          c/o Summit Investment Management LLC
                          Attn: Senior Asset Manager
                          1700 Lincoln St., Suite 2150
                          Denver, CO 80203

                  With a copy to:

                          Richard A. Robinson, Esquire
                          Burr & Forman LLP
                          1201 N. Market Street
                          Suite 1407
                          Wilmington, DE 19801
                          rrobinson@burr.com


        43.     Headings. Paragraph headings contained in this Settlement Agreement are
inserted for convenience of reference only, shall not be deemed to be a part of the Agreement, and
shall not define or affect the meaning, construction, or scope of any of the provisions of this
Settlement Agreement.

       44.      Counterparts. This Settlement Agreement may be signed in two or more original
counterparts, each of which shall for all purposes be considered an original of this Settlement
Agreement. Facsimile signatures shall be treated in all manner and respects as an original
signature.

                                     [Signature Pages Follow]




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                                 EXIT FINANCING SUPPLEMENT

          1.       Plan Effective Date. The Plan Effective Date shall be on or before January 1, 2019.

        2.     Valuation of SummitBridge's Claims in These Cases Under Any Plan. For
purposes of consideration of any issues in connection with confirmation of the Plan (including
issues under Sections 506 and 1129 of the Bankruptcy Code):

                a.      SummitBridge’s secured claim on the Properties (Orlando, Melbourne and
Merritt Island) shall be $11,497,553.47 jointly and severally;

                   b.      SummitBridge’s secured claim on all Other SummitBridge Collateral shall
be $1,000,000;

                   c.     SummitBridge’s unsecured claim shall be $6,000,000.00.

          3.       Treatment of SummitBridge’s Secured Claim on the Properties.

                 a.      Upon the Effective Date of the SummitBridge Settlement Agreement, the
automatic stay of Section 362 of the Bankruptcy Code shall be lifted and modified to allow
SummitBridge to exercise its rights and remedies with respect to the Properties including, without
limitation, its rights to foreclose on the Properties.

        4.      Treatment of SummitBridge’s Secured Claim on all Other SummitBridge
Collateral. SummitBridge shall receive payment in connection with its lien on all non-real estate
collateral pursuant to two notes, referred to herein as “Exit Note A” and “Exit Note B" attached
hereto as Exhibits "1" and "2". Exit Note A and Exit Note B shall be executed and delivered by
the Debtors to SummitBridge as a condition precedent to the Plan Effective Date.

       5.       Treatment of SummitBridge’s Unsecured Claim. The treatment of SummitBridge's
general unsecured claims under the Plan shall be the same as provided to all other general
unsecured claims; provided, however, that any distribution to SummitBridge as a general
unsecured creditor shall be applied to whichever of the then outstanding Exit Notes bears the
highest interest rate and shall be applied in accordance with the terms of the applicable note.


       6.      Exit Financing. On the Plan Effective Date, SummitBridge will make a new loan
to Debtors in the amount not to exceed $250,000 (the “Exit Financing”) and SummitBridge will
receive a note from the Debtors in the amount of $250,000 in the form attached hereto as Exhibit
“3” (the “Exit Financing Note", together with Exit Note A and Exit Note B, the “Exit Notes”).
The Parties agree that $125,000 of the proceeds of the Exit Financing may be used to pay
administrative expense claims as may be awarded by the Court, and at least $125,000 of the
proceeds of the Exit Financing shall be used to fund the Debtors’ operations.

       7.     Security Agreement with Respect to the Exit Notes. To secure payments of the
Exit Notes, Debtors shall execute and deliver to SummitBridge a security agreement (reflecting a



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security interest on all property of Debtors) (the "New Security Agreement", and together with
Exit Note A and Exit Note B) in the form attached hereto as Exhibit "4".

        8.      Continuing Enforceability of SummitBridge's Pre-Petition Loan Documents.
Notwithstanding anything to the contrary in the Settlement Agreement or this Exit Financing
Supplement, SummitBridge's pre-petition notes and mortgages (attached to SummitBridge's
proofs of claim filed in the Bankruptcy Cases) shall remain in place to allow for the foreclosure of
the Properties by SummitBridge. Accordingly, SummitBridge shall be entitled to assert in the
foreclosure actions any or all of the SummitBridge Allowed Claim plus any interest, fees and other
amounts that may be owed under applicable law under such pre-petition notes, mortgages and
other agreements that are not included in the SummitBridge Allowed Claim. SummitBridge may
utilize for purposes of credit bidding at the foreclosure sales of the Properties any or all of the
SummitBridge Allowed Claim, provided, however, that the amount of the SummitBridge
Allowed Claim will be reduced as set forth in this paragraph by the net amount that SummitBridge
receives or credit bids, as applicable, in connection with such sales. There shall be no reduction in
the SummitBridge Allowed Unsecured Claim or the Exit Notes on account of credit bids and net
proceeds of the foreclosures on the Properties if they total less than $4,500,000. After the first
$4,500,000 of net proceeds or credit bids, as applicable, there will be a reduction to the extent of
the excess amount of the credit bids or the net proceeds to the SummitBridge Allowed Unsecured
Claim until it has been fully satisfied and, thereafter, to the extent of additional amounts, the
balance under Exit Note B and, thereafter, to the extent of additional amounts, the balance under
Exit Note A.

        9.     Subordination of Administrative Expense Claims to Claims of SummitBridge. To
the extent that Debtors’ counsel or any third party (other than current, ordinary course
administrative expense claims) hold unpaid administrative expense claims on the Plan Effective
Date, as a condition precedent to the occurrence of the Plan Effective Date, counsel for Debtors,
Aaronson Schantz Beiley P.A., and any such other third party administrative creditors shall either,
as applicable (i) file a certification that their administrative expense claims have been satisfied
prior to the Plan Effective Date, or (ii) execute a subordination/inter-creditor agreement, in the
form attached hereto as Exhibit "5".

        10.     Prohibition on Liens For the Benefit of Administrative Creditors After the Plan
Effective Date. Pursuant to the Plan, no administrative expense claimants shall obtain, or hold,
liens or security interests, of any sort to secure their claims and such creditors shall be general
unsecured creditors of the Debtors on and after the Plan Effective Date (except to the extent of
unpaid real estate taxes).

       11.      Absolute and Unconditional Guaranty of Dr. Trespalacios and New Equity Holders.
Except to the extent permitted below, Dr. Trespalacios shall retain one hundred percent of the
equity in the Debtors from the Plan Effective Date until payment in full of the Exit Notes.
Notwithstanding the foregoing, any new equity holder shall only be permitted to obtain equity in
the Debtors upon the consent of SummitBridge, which consent shall not be unreasonably withheld.
Under no circumstances shall holders of administrative expense claims be entitled to equity on
account of, directly or indirectly, any administrative expense claim incurred prior to December 31,
2018. SummitBridge understands that new equity may be necessary to obtain funds required to


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be distributed under the Plan and otherwise. On the Plan Effective Date, as a condition to the Plan
Effective Date, Dr. Trespalacios shall absolutely and unconditionally guaranty the Exit Notes by
executing and delivering to SummitBridge a Guaranty Agreement in the form attached hereto as
Exhibit "6" (the "New Guaranty Agreement"). If any other equity holders of the Debtors are
permitted (in accordance with the terms hereof) at any time prior to satisfaction of the Exit Notes,
as a condition to their obtaining such equity, SummitBridge shall also require them (or their
individual owners if the new equity holder is an entity) to execute and deliver to SummitBridge a
personal guarantee of the Exit Notes, in the same form as Exhibit "6".

        12.     Limitations on Compensation After the Plan Effective Date. The gross
compensation of Dr. Trespalacios by the Debtors is capped at $20,000 per month with a bar to any
other distributions or dividends until full payment of the Exit Notes, and the Debtors shall not
employ or pay any family members of Dr. Trespalacios or incur management compensation (of
any sort) above caps jointly agreed upon by SummitBridge and the Debtors. Notwithstanding the
foregoing, the Plan shall provide that after the Plan Effective Date, if the Debtors are not in default
on any of the terms of the Plan, the Exit Notes or the Settlement Agreement, and they have
adequate capital to continue operations and make the payments required by the Plan and the Exit
Notes, the Debtors may pay Dr. Trespalacios up to an additional $30,000 per month (for total gross
compensation of up to $50,000 per month), if, and only if, the Debtors simultaneously make a
payment to SummitBridge of twenty-five percent (25%) of the gross amount of such additional
compensation being paid to Dr. Trespalacios. Any such payments to SummitBridge shall be
applied to whichever of the then outstanding Exit Notes bears the highest interest rate and shall be
applied in accordance with the terms of the applicable note.

        13.      Prohibition on Liens. Except with respect to liens limited to newly acquired
equipment under equipment leasing or equipment financing agreements, and liens that are
subordinate in all respects to the liens of SummitBridge, until SummitBridge has been paid in full
the amount provided for in any plan confirmed in the Bankruptcy Cases, no liens or security
interests, of any sort shall be granted with respect to any property of the Debtors or their bankruptcy
estates. As a condition to the granting of any such liens by the Debtors, the proposed lienholder
shall execute a subordination/inter-creditor agreement in form and substance satisfactory to
SummitBridge.

        14.     Prohibition on Payments Under the Plan When the Exit Notes or Settlement
Agreement Are in Default. Except with regard to the rights and claims of SummitBridge, there is
an absolute bar against the payment of any claims incurred prior to the Plan Effective Date of any
sort (including administrative expense, priority or unsecured claims) at any time when Debtors are
in breach or default under the Exit Notes or any of the obligations described in the Settlement
Agreement or the Plan.

       15.      Injunction Against Subsequent Bankruptcy Filing. An injunction is hereby
imposed to prohibit the filing of a new voluntary bankruptcy case by the Debtors for a period of
two years after the Plan Effective Date, and prospective stay relief in the new bankruptcy cases is
hereby provided for SummitBridge in the event that Debtors violate the two-year injunction.




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        16.    Full Cooperation in Connection with Sales of the Properties. The Debtors will fully
cooperate in all respects in consummating the foreclosure and sale of the Properties, to the extent
not already completed, in any lawful manner requested by SummitBridge.

       17.    Confirmation of the Plan. Entry of the Settlement Approval Order is a condition
precedent to Confirmation of the Plan.

        18.     SummitBridge's Entitlement to Sale Proceeds. Upon receipt of sale proceeds at the
foreclosure of each of the sales of the Properties, SummitBridge shall retain the proceeds and the
SummitBridge Allowed Claim shall be reduced to reflect the net proceeds it receives or credit bids
for the applicable property sold in accordance with paragraph 8 of this Exit Financing Supplement;
provided, however, any subordinate lienholder shall retain its rights under state law, if any, to
receive proceeds in connection with a foreclosure sale solely to the extent required by any
subordination agreement and under applicable state law.

        19.    Cooperation. In consideration of the mutual benefits of this Exit Financing
Supplement, the parties agree to fully cooperate with each other. Accordingly, SummitBridge
agrees to (a) vote for the Plan in all respects and in all classes to which it may have a claim; (b)
appear at confirmation hearing and support the Plan and endorse the Plan; (c) advocate for the
overruling of any objections at the hearing that the Debtors also seek to have overruled; and (d)
refrain from advising, or supporting any opposition to the Plan.

       20.    Definitions. Except as expressly set forth herein, capitalized terms shall have the
same meaning that has been given to such terms in the Settlement Agreement. For purposes this
Exit Financing Supplement only, the following capitalized terms shall have the following
meanings:

               a.     "Plan" means a Chapter 11 Plan that is consistent with, and satisfies all of
the conditions contained in paragraph 21 of the Settlement Agreement and this Exit Financing
Supplement;

                b.     "Plan Effective Date" shall mean the effective date of the plan described
in paragraph 22 of the Settlement Agreement and this Exit Financing Supplement, which shall
not, absent the express written consent of SummitBridge, occur after January 1, 2019.




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                                         PROMISSORY NOTE

$600,000.00                                 Effective as of _______ ___, 201__ (the “Effective Date”)

        FOR VALUE RECEIVED, BREVARD EYE CENTER, INC., a Florida corporation;
BREVARD SURGERY CENTER, INC., a Florida corporation; MEDICAL CITY EYE CENTER,
P.A., a Florida corporation; and THMIH, INC., a Florida corporation (collectively, the “Borrowers,”
and each individually, a “Borrower”), promise to pay to the order of SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns (the
“Lender”), the principal sum of SIX HUNDRED THOUSAND and No/100ths Dollars
($600,000.00), together with interest as hereinafter stated.

      1.      Definitions. As used in this Note, the following terms shall have the respective
meaning indicated:

          a.       “Exit Note B” shall mean that certain promissory note executed by the Borrowers in
                   favor of Lender on or about even date herewith in the amount of $400,000.00.

          b.       “Exit Financing Note” shall mean that certain promissory note executed by the
                   Borrowers in favor of Lender on or about even date herewith in the amount of
                   $250,000.00.

          c.       “Interest Rate Floor” shall mean Five and One Half Percent (5.50%) per annum.

          d.       “Prime Rate” shall mean the U.S. “Prime Rate” published in the Wall Street Journal
                   from time to time. If such prime rate shall cease to be published or is published
                   infrequently or sporadically, then the Prime Rate shall be (i) the rate of interest per
                   annum established from time to time by Lender and designated as its base or prime
                   rate, which may not necessarily be the lowest interest rate charged by Lender and is
                   set by Lender in its sole discretion, or (ii) if Lender does not publish or announce a
                   base or prime rate, or does so infrequently or sporadically, then the Prime Rate shall
                   be determined by reference to another base rate, prime rate or similar lending rate
                   index, generally accepted on a national basis, as selected by Lender in its sole and
                   absolute discretion. Each change in such fluctuating interest rate shall take effect
                   simultaneously with the corresponding change in the Prime Rate.

          e.       “Property” shall mean the property encumbered by and subject to the lien of the
                   Security Agreement.

          f.       “Security Agreement” shall mean that certain Amended and Restated Security
                   Agreement executed by the Borrowers in favor of Lender on or about even date
                   herewith, which encumbers certain property of the Borrowers described therein. The
                   Security Agreement shall secure this Note.


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          g.       “Settlement Agreement” shall mean that certain Settlement Agreement executed by
                   the Borrowers and Lender on ___________ ___, 2018, pursuant to which the
                   Borrowers and Lender agreed, inter alia, to enter into the Security Agreement and
                   this Note.

        2.       Payments. Principal and interest shall be due and payable in lawful money of the
United States of America at the principal office of Lender in ______________, or at such other place
or places as it or the holders hereof may from time to time hereafter designate in writing, as follows:

                a.      Interest Rate. Interest shall accrue on the outstanding principal balance of this
Note at a floating rate equal to the Prime Rate plus One Percent (1.00%) per annum (the “Interest
Rate”). Interest shall be calculated on the basis of a 360 day year, for the actual number of days
elapsed; provided, however, that in no event shall the Interest Rate be lower than the Interest Rate
Floor.

              b.      Monthly Payments. Commencing on January 1, 2019 and continuing on the
1st day of each month thereafter through the Maturity Date, the Borrowers shall pay monthly
payments of principal based on the outstanding principal balance of this Note on January 1, 2019,
amortized on a ten year amortization period, plus accrued interest hereunder at the Interest Rate.

              c.      Maturity Date. Notwithstanding anything to the contrary herein, the entire
outstanding principal balance, together with any accrued interest, shall be due and payable on
January 1, 2024 (the “Maturity Date”).

                d.      Allocation. All payments made upon this Note shall be applied in any order
Lender determines, in its sole discretion, to the following: (1) to accrued but unpaid interest, (2) to
unpaid principal, (3) to reduce charges owed by the Borrowers that are neither principal nor interest,
and (4) any partial prepayments of principal will be applied to installments due in the inverse order
of their maturity and no such partial prepayment of principal will have the effect of postponing,
satisfying, reducing or otherwise affecting any scheduled installment before the Note is paid in full.

        3.      Late Charge. All installments of interest or payments of principal provided for in this
Note shall be paid promptly when due and, if not paid within seven (7) calendar days after the due
date thereof, shall be subject to a late charge in an amount equal to five percent (5%) of the payment
due and shall be paid to Lender in addition to and at the time of payment of the delinquent
installment or payment.

       4.      Prepayment. The Borrowers shall have the right to prepay the principal balance of
this Note, in whole or in part, without penalty at any time, upon payment of all interest accrued to
date and other sums then due and payable pursuant to the provisions of this Note.

       5.       Interest Limitation. Notwithstanding any other provision of this Note or of any
instrument securing this Note or any other instrument executed in connection with the loan
evidenced hereby, it is expressly agreed that the amounts payable under this Note or under the other
aforesaid instruments for the payment of interest or any other payment in the nature of or which

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would be considered as interest or other charge for the use or loan of money shall not exceed the
highest rate allowed by law, from time to time, to be charged by Lender. In the event the provisions
of this Note or of any instruments referred to in this paragraph regarding the payment of interest or
other payments which would be considered as interest or other charge for the use or loan of money
operate to produce a rate that exceeds such limitation, then the excess over such limitation will not
be payable and the amount otherwise agreed to be paid shall be reduced by the excess, so that such
limitation will not be exceeded, and in the event any such payment is paid by Borrowers or received
by Lender, whereby such limitation is exceeded, the amount of the excess shall constitute and be
treated as a payment on the principal hereof and shall operate to reduce such principal by the amount
of such excess, unless Borrowers shall notify Lender in writing that Borrowers desire to have such
excess sum refunded to it.

        6.      Consent and Waiver. Each Borrower does hereby: (a) consent to any forbearance or
extension of the time or manner of payment hereof and to the release of all or any part of any security
held by the Lender to secure payment of this Note, all without notice to or consent of that party; (b)
agree that no course of dealing or delay or omission or forbearance on the part of the Lender in
exercising or enforcing any of its rights or remedies hereunder or under any instrument securing this
Note shall impair or be prejudicial to any of the Lender's rights and remedies hereunder or to the
enforcement hereof and that the Lender may extend, modify or postpone the time and manner of
payment and performance of this Note, may grant forbearances and may release, wholly or partially,
any security held by the Lender as security for this Note and release, partially and wholly, any person
or party primarily or secondarily liable with respect to this Note, all without notice to or consent by
any party primarily or secondarily liable hereunder and without thereby releasing, discharging or
diminishing its rights and remedies against any other party primarily or secondarily liable hereunder;
and (c) waive notice of acceptance of this Note, and presentment, demand, protest, notice of dishonor
and notice of protest and notices of any and all action at any time taken or omitted by the Lender in
connection with this Note or any instrument securing this Note and waive all requirements necessary
to hold that party to the liability of that party.

        7.      Cross Default. A default under this Note shall be and constitute a default under Exit
Note B, Exit Financing Note, the Security Agreement, and the Settlement Agreement. A default
under Exit Note B, Exit Financing Note, the Security Agreement, and the Settlement Agreement
shall also constitute a default under this Note.

         8.     Events of Default and Acceleration. The happening of any of the following events
shall constitute a default hereunder (“Event of Default”): (a) failure of Borrowers to pay any
principal, interest or any other sums when due under this Note; or (b) a default shall occur in any
provision of this Note, in any instrument securing this Note, in Exit Note B, in Exit Financing Note,
or in the Settlement Agreement, except that an Event of Default shall not occur with respect to a non-
payment default unless the Borrowers fail to cure such non-payment default within seven (7)
calendar days after notice of such non-payment default. Notice under this paragraph shall be
effective upon delivery by first class mail or hand delivery to the Borrowers and Borrowers’ counsel
at Brevard Eye Center, Inc., 665 S. Apollo Blvd., Melbourne, FL 32901, and via email transmission
to Borrowers’ counsel at gaaronson@aspalaw.com and scapuano@aspalaw.com.


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        If an Event of Default shall occur hereunder, then at the option of the Lender, the entire
principal sum then remaining unpaid together with accrued interest shall immediately become due
and payable without notice or demand. While in default, the entire principal sum and accrued
interest shall both bear interest from such default date at a rate equal to eighteen percent (18%); it
being agreed that interest not paid when due shall, at the option of the Lender, draw interest at the
rate provided for in this paragraph.

       The Lender may, in addition, pursue each and every other right, remedy and power under this
Note, Exit Note B, Exit Financing Note, the Security Agreement, or the Settlement Agreement, and
pursue any other right or remedy available at law and in equity.

         The remedies of Lender, as provided herein or in any document securing the Loan evidenced
hereby, shall be cumulative and concurrent and may be pursued singularly, successively and together,
at the sole discretion of Lender. No act of omission or commission of the Lender, including, specifi-
cally, any failure to exercise any right, remedy or recourse, shall be deemed to be a waiver or release
of the same, such waiver or release to be effected only through a written document executed by
Lender and then only to the extent specifically recited therein. A waiver or release with reference to
any one event shall not be construed as continuing, as a bar to or as a waiver or release of any
subsequent right, remedy or recourse as to a subsequent event.

       9.      Attorneys' Fees. All parties liable for the payment of this Note agree to pay the
Lender reasonable attorneys' fees and costs, whether or not an action is brought, for the services of
counsel employed after maturity or default to collect this Note or any principal or interest due
hereunder or to protect the security, if any, or enforce the performance of any other agreement
contained in this Note or in any instrument of security executed in connection with this loan,
including costs and attorneys' fees on any appeal or in any proceedings under the federal Bankruptcy
Code or in any postjudgment proceedings.

        10.     Set Off. The Lender is hereby granted a lien upon and a security interest in all
property of Borrowers now or at any time hereafter in the possession of the Lender as security for the
payment of this Note, including, but not limited to, any balance or share of any credits, money,
deposits, stocks, bonds, certificates of deposit, trust or agency account, and whenever any obligation
under this Note matures or otherwise becomes due, whether by acceleration or otherwise, the Lender
is hereby authorized to apply and set off against the balance hereunder owed, any such funds or prop-
erty in possession of the Lender belonging to Borrowers in such order of application as the Lender
may from time to time elect, without advance notice or consent of Borrowers. The Lender also shall
have the right, immediately and without further action by it, to set off against the Note all money
owed by the Lender in any capacity to Borrowers, whether or not due.

        11.     Florida Law; Venue; Time. This Note constitutes a contract under the laws of the
State of Florida and shall be enforceable in a court of competent jurisdiction in that state, regardless
of in which state this Note is being executed. Borrowers consent and agree that all actions or
proceedings arising directly, indirectly or otherwise in connection with, out of, or related to this
Note, Exit Note B, Exit Financing Note, the Security Agreement, or any other document executed by
Borrowers and delivered to Lender shall be litigated, in Lender’s sole discretion and at the Lender's

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sole election, only in courts having a situs within or whose jurisdiction includes Brevard County,
Florida. For the purpose of the foregoing, Borrowers hereby consent and submit to the jurisdiction
of any local, state or federal court located within or whose jurisdiction includes Brevard County,
Florida. Time is of the essence in this Note.

        12.     Headings. The headings of the paragraphs contained in this Note are for convenience
of reference only and do not form a part hereof and no way modify, interpret or construe the meaning
of the parties hereto.

       13.      Security. This Note is secured by inter alia, the Security Agreement. It is expressly
agreed that all of the covenants, conditions and agreements of the Borrowers under the Security
Agreement are made a part of this Note and shall be included in the interpretation of this Note.

        14.      Sale or transfer of Note and Security Agreement. Lender may at any time in its sole
discretion sell, transfer or assign the Note, the Security Agreement and/or Exit Note B and/or Exit
Financing Note, and any and all servicing rights with respect thereto, or grant participations therein.

        15.      Compliance Agreement. For and in consideration of the funding or renewal of this
loan by Lender, the Borrowers hereby agree to cooperate or re-execute any and all loan
documentation deemed necessary or desirable in Lender's discretion, in order to correct or to adjust
for any clerical errors or omissions contained in any document executed in connection with this loan.


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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD EYE CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD EYE CENTER, INC., a Florida corporation,
on behalf of the corporation. He/she is personally known to me OR produced a _________
Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD SURGERY CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD SURGERY CENTER, INC., a Florida
corporation, on behalf of the corporation. He/she is personally known to me OR produced a
_________ Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           MEDICAL CITY EYE CENTER, P.A.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of MEDICAL CITY EYE CENTER, P.A., a Florida
corporation, on behalf of the corporation. He/she is personally known to me OR produced a
_________ Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                   BORROWER:

                                           THMIH, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                   (Company Seal)



STATE OF _________________
COUNTY OF _________________

        The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of THMIH, INC., a Florida corporation, on behalf of the
corporation. He/she is personally known to me OR produced a _________ Driver’s License as
identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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                                        PROMISSORY NOTE

$400,000.00                               Effective as of _______ ___, 201__ (the “Effective Date”)

        FOR VALUE RECEIVED, BREVARD EYE CENTER, INC., a Florida corporation;
BREVARD SURGERY CENTER, INC., a Florida corporation; MEDICAL CITY EYE CENTER,
P.A., a Florida corporation; and THMIH, INC., a Florida corporation (collectively, the “Borrowers,”
and each individually, a “Borrower”), promise to pay to the order of SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns (the
“Lender”), the principal sum of FOUR HUNDRED THOUSAND and No/100ths Dollars
($400,000.00), together with interest as hereinafter stated.

      1.      Definitions. As used in this Note, the following terms shall have the respective
meaning indicated:

          a.       “Exit Note A” shall mean that certain promissory note executed by the Borrowers in
                   favor of Lender on or about even date herewith in the amount of $600,000.00.

          b.       “Exit Financing Note” shall mean that certain promissory note executed by the
                   Borrowers in favor of Lender on or about even date herewith in the amount of
                   $250,000.00.

          c.       “Property” shall mean the property encumbered by and subject to the lien of the
                   Security Agreement.

          d.       “Security Agreement” shall mean that certain Amended and Restated Security
                   Agreement executed by the Borrowers in favor of Lender on or about even date
                   herewith, which encumbers certain property of the Borrowers described therein. The
                   Security Agreement shall secure this Note.

          e.       “Settlement Agreement” shall mean that certain Settlement Agreement executed by
                   the Borrowers and Lender on ___________ ___, 2018, pursuant to which the
                   Borrowers and Lender agreed to enter into the Security Agreement and this Note.

        2.       Payments. Principal and interest shall be due and payable in lawful money of the
United States of America at the principal office of Lender in ______________, or at such other place
or places as it or the holders hereof may from time to time hereafter designate in writing, as follows:

               a.    Interest Rate. Absent an Event of Default (as defined below), no interest shall
accrue on any amounts due under this Note.

                  b.      Monthly Payments. Commencing on February 1, 2024 and continuing on the
          1st day of each month thereafter through the Maturity Date, the Borrowers shall pay monthly
          payments of five thousand five hundred fifty six and no/100ths dollars ($5,556.00) but the

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          last payment shall be $5,540.00.

                 c.     Maturity Date. Notwithstanding anything to the contrary herein, upon receipt
of the thirty-sixth (36th) payment described in Section 2(a) hereof, the entire outstanding principal
balance shall be forgiven on February 1, 2027 (the “Maturity Date”). For the avoidance of doubt,
absent an Event of Default, Borrower shall pay a total of $200,000.00 to Lender under this Note and
the balance of the principal amount shall be forgiven.

                d.      Allocation. All payments made upon this Note shall be applied in any order
Lender determines, in its sole discretion, to the following: (1) to accrued but unpaid interest, (2) to
unpaid principal, (3) to reduce charges owed by the Borrowers that are neither principal nor interest,
and (4) any partial prepayments of principal will be applied to installments due in the inverse order
of their maturity and no such partial prepayment of principal will have the effect of postponing,
satisfying, reducing or otherwise affecting any scheduled installment before the Note is paid in full.

        3.      Late Charge. All installments of interest or payments of principal provided for in this
Note shall be paid promptly when due and, if not paid within seven (7) calendar days after the due
date thereof, shall be subject to a late charge in an amount equal to five percent (5%) of the payment
due and shall be paid to Lender in addition to and at the time of payment of the delinquent
installment or payment.

       4.      Prepayment. The Borrowers shall have the right to prepay the principal balance of
this Note, in whole or in part, without penalty at any time, upon payment of all interest accrued to
date and other sums then due and payable pursuant to the provisions of this Note.

        5.      Interest Limitation. Notwithstanding any other provision of this Note or of any
instrument securing this Note or any other instrument executed in connection with the loan
evidenced hereby, it is expressly agreed that the amounts payable under this Note or under the other
aforesaid instruments for the payment of interest or any other payment in the nature of or which
would be considered as interest or other charge for the use or loan of money shall not exceed the
highest rate allowed by law, from time to time, to be charged by Lender. In the event the provisions
of this Note or of any instruments referred to in this paragraph regarding the payment of interest or
other payments which would be considered as interest or other charge for the use or loan of money
operate to produce a rate that exceeds such limitation, then the excess over such limitation will not
be payable and the amount otherwise agreed to be paid shall be reduced by the excess, so that such
limitation will not be exceeded, and in the event any such payment is paid by Borrowers or received
by Lender, whereby such limitation is exceeded, the amount of the excess shall constitute and be
treated as a payment on the principal hereof and shall operate to reduce such principal by the amount
of such excess, unless Borrowers shall notify Lender in writing that Borrower desires to have such
excess sum refunded to it.

        6.     Consent and Waiver. Each Borrower does hereby: (a) consent to any forbearance or
extension of the time or manner of payment hereof and to the release of all or any part of any security
held by the Lender to secure payment of this Note, all without notice to or consent of that party; (b)
agree that no course of dealing or delay or omission or forbearance on the part of the Lender in

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exercising or enforcing any of its rights or remedies hereunder or under any instrument securing this
Note shall impair or be prejudicial to any of the Lender's rights and remedies hereunder or to the
enforcement hereof and that the Lender may extend, modify or postpone the time and manner of
payment and performance of this Note, may grant forbearances and may release, wholly or partially,
any security held by the Lender as security for this Note and release, partially and wholly, any person
or party primarily or secondarily liable with respect to this Note, all without notice to or consent by
any party primarily or secondarily liable hereunder and without thereby releasing, discharging or
diminishing its rights and remedies against any other party primarily or secondarily liable hereunder;
and (c) waive notice of acceptance of this Note, and presentment, demand, protest, notice of dishonor
and notice of protest and notices of any and all action at any time taken or omitted by the Lender in
connection with this Note or any instrument securing this Note and waive all requirements necessary
to hold that party to the liability of that party.

        7.      Cross Default. A default under this Note shall be and constitute a default under Exit
Note A, Exit Financing Note, the Security Agreement, and the Settlement Agreement. A default
under Exit Note A, Exit Financing Note, the Security Agreement, and the Settlement Agreement
shall also constitute a default under this Note.

        8.      Events of Default and Acceleration. The happening of any of the following events
shall constitute a default hereunder (“Event of Default”): (a) failure of Borrowers to pay any
principal or any other sums when due under this Note; or (b) a default shall occur in any provision of
this Note, in any instrument securing this Note, in Exit Note A, in Exit Financing Note, or in the
Settlement Agreement; or (c) a change in control in the medical practices of the Borrowers without
the consent of Lender, which consent shall not be unreasonably withheld, except that an Event of
Default shall not occur with respect to a non-payment default unless the Borrowers fail to cure such
non-payment default within seven (7) calendar days after notice of such non-payment default. Notice
under this paragraph shall be effective upon delivery by first class mail or hand delivery to the
Borrowers and Borrowers’ counsel at Brevard Eye Center, Inc., 665 S. Apollo Blvd., Melbourne, FL
32901, and via email transmission to Borrowers’ counsel at gaaronson@aspalaw.com and
scapuano@aspalaw.com.

        If an Event of Default shall occur hereunder, then at the option of the Lender, the entire
principal sum then remaining unpaid together with accrued interest shall immediately become due
and payable without notice or demand. While in default, the entire principal sum and accrued
interest shall both bear interest from such default date at a rate equal to eighteen percent (18%); it
being agreed that interest not paid when due shall, at the option of the Lender, draw interest at the
rate provided for in this paragraph.

       The Lender may, in addition, pursue each and every other right, remedy and power under this
Note, Exit Note A, Exit Financing Note, the Security Agreement, or the Settlement Agreement, and
pursue any other right or remedy available at law and in equity.

         The remedies of Lender, as provided herein or in any document securing the Loan evidenced
hereby, shall be cumulative and concurrent and may be pursued singularly, successively and together,
at the sole discretion of Lender. No act of omission or commission of the Lender, including, specifi-

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cally, any failure to exercise any right, remedy or recourse, shall be deemed to be a waiver or release
of the same, such waiver or release to be effected only through a written document executed by
Lender and then only to the extent specifically recited therein. A waiver or release with reference to
any one event shall not be construed as continuing, as a bar to or as a waiver or release of any
subsequent right, remedy or recourse as to a subsequent event.

       9.      Attorneys' Fees. All parties liable for the payment of this Note agree to pay the
Lender reasonable attorneys' fees and costs, whether or not an action is brought, for the services of
counsel employed after maturity or default to collect this Note or any principal or interest due
hereunder or to protect the security, if any, or enforce the performance of any other agreement
contained in this Note or in any instrument of security executed in connection with this loan,
including costs and attorneys' fees on any appeal or in any proceedings under the federal Bankruptcy
Code or in any postjudgment proceedings.

        10.     Set Off. The Lender is hereby granted a lien upon and a security interest in all
property of Borrowers now or at any time hereafter in the possession of the Lender as security for the
payment of this Note, including, but not limited to, any balance or share of any credits, money,
deposits, stocks, bonds, certificates of deposit, trust or agency account, and whenever any obligation
under this Note matures or otherwise becomes due, whether by acceleration or otherwise, the Lender
is hereby authorized to apply and set off against the balance hereunder owed, any such funds or prop-
erty in possession of the Lender belonging to Borrowers in such order of application as the Lender
may from time to time elect, without advance notice or consent of Borrowers. The Lender also shall
have the right, immediately and without further action by it, to set off against the Note all money
owed by the Lender in any capacity to Borrowers, whether or not due.

        11.     Florida Law; Venue; Time. This Note constitutes a contract under the laws of the
State of Florida and shall be enforceable in a court of competent jurisdiction in that state, regardless
of in which state this Note is being executed. Borrowers consent and agree that all actions or
proceedings arising directly, indirectly or otherwise in connection with, out of, or related to this
Note, Exit Note A, Exit Financing Note, the Security Agreement, or any other document executed by
Borrowers and delivered to Lender shall be litigated, in Lender’s sole discretion and at the Lender's
sole election, only in courts having a situs within or whose jurisdiction includes Brevard County,
Florida. For the purpose of the foregoing, Borrowers hereby consent and submit to the jurisdiction
of any local, state or federal court located within or whose jurisdiction includes Brevard County,
Florida. Time is of the essence in this Note.

        12.     Headings. The headings of the paragraphs contained in this Note are for convenience
of reference only and do not form a part hereof and no way modify, interpret or construe the meaning
of the parties hereto.

       13.      Security. This Note is secured by inter alia, the Security Agreement. It is expressly
agreed that all of the covenants, conditions and agreements of the Borrowers under the Security
Agreement are made a part of this Note and shall be included in the interpretation of this Note.




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        14.      Sale or transfer of Note and Security Agreement. Lender may at any time in its sole
discretion sell, transfer or assign the Note, the Security Agreement and/or Exit Note A and/or Exit
Financing Note, and any and all servicing rights with respect thereto, or grant participations therein.

        15.      Compliance Agreement. For and in consideration of the funding or renewal of this
loan by Lender, the Borrowers hereby agree to cooperate or re-execute any and all loan
documentation deemed necessary or desirable in Lender's discretion, in order to correct or to adjust
for any clerical errors or omissions contained in any document executed in connection with this loan.


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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD EYE CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD EYE CENTER, INC., a Florida corporation,
on behalf of the corporation. He/she is personally known to me  OR produced a _________
Driver’s License  as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD SURGERY CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD SURGERY CENTER, INC., a Florida
corporation, on behalf of the corporation. He/she is personally known to me  OR produced a
_________ Driver’s License  as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           MEDICAL CITY EYE CENTER, P.A.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of MEDICAL CITY EYE CENTER, P.A., a Florida
corporation, on behalf of the corporation. He/she is personally known to me  OR produced a
_________ Driver’s License  as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                   BORROWER:

                                           THMIH, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                   (Company Seal)



STATE OF _________________
COUNTY OF _________________

        The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of THMIH, INC., a Florida corporation, on behalf of the
corporation. He/she is personally known to me  OR produced a _________ Driver’s License  as
identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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       EXHIBIT “3”
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                                         PROMISSORY NOTE

$250,000.00                                Effective as of _______ ___, 201__ (the “Effective Date”)

        FOR VALUE RECEIVED, BREVARD EYE CENTER, INC., a Florida corporation;
BREVARD SURGERY CENTER, INC., a Florida corporation; MEDICAL CITY EYE CENTER,
P.A., a Florida corporation; and THMIH, INC., a Florida corporation (collectively, the “Borrowers,”
and each individually, a “Borrower”), promise to pay to the order of SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns (the
“Lender”), the principal sum of TWO HUNDRED FIFTY THOUSAND and No/100ths Dollars
($250,000.00), together with interest as hereinafter stated.

      1.      Definitions. As used in this Note, the following terms shall have the respective
meaning indicated:

          a.       “Exit Note A” shall mean that certain promissory note executed by the Borrowers in
                   favor of Lender on or about even date herewith in the amount of $600,000.00.

          b.       “Exit Note B” shall mean that certain promissory note executed by the Borrowers in
                   favor of Lender on or about even date herewith in the amount of $400,000.00.

          c.       “Interest Rate Floor” shall mean Five and One Half Percent (5.50%) per annum.

          d.       “Prime Rate” shall mean the U.S. “Prime Rate” published in the Wall Street Journal
                   from time to time. If such prime rate shall cease to be published or is published
                   infrequently or sporadically, then the Prime Rate shall be (i) the rate of interest per
                   annum established from time to time by Lender and designated as its base or prime
                   rate, which may not necessarily be the lowest interest rate charged by Lender and is
                   set by Lender in its sole discretion, or (ii) if Lender does not publish or announce a
                   base or prime rate, or does so infrequently or sporadically, then the Prime Rate shall
                   be determined by reference to another base rate, prime rate or similar lending rate
                   index, generally accepted on a national basis, as selected by Lender in its sole and
                   absolute discretion. Each change in such fluctuating interest rate shall take effect
                   simultaneously with the corresponding change in the Prime Rate.

          e.       “Property” shall mean the property encumbered by and subject to the lien of the
                   Security Agreement.

          f.       “Security Agreement” shall mean that certain Amended and Restated Security
                   Agreement executed by the Borrowers in favor of Lender on or about even date
                   herewith, which encumbers certain property of the Borrowers described therein. The
                   Security Agreement shall secure this Note.

          g.       “Settlement Agreement” shall mean that certain Settlement Agreement executed by

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                  the Borrowers and Lender on ___________ ___, 2018, pursuant to which the
                  Borrowers and Lender agreed to enter into the Security Agreement and this Note.

        2.       Payments. Principal and interest shall be due and payable in lawful money of the
United States of America at the principal office of Lender in ______________, or at such other place
or places as it or the holders hereof may from time to time hereafter designate in writing, as follows:

                a.      Interest Rate. Interest shall accrue on the outstanding principal balance of this
Note at a floating rate equal to the Prime Rate plus Three Percent (3.00%) per annum (the “Interest
Rate”). Interest shall be calculated on the basis of a 360 day year, for the actual number of days
elapsed; provided, however, that in no event shall the Interest Rate be lower than the Interest Rate
Floor.

              b.      Monthly Payments. Commencing on January 1, 2019 and continuing on the
1st day of each month thereafter through the Maturity Date, the Borrowers shall pay monthly
payments of principal based on the outstanding principal balance of this Note on January 1, 2019,
amortized on a ten year amortization period, plus accrued interest hereunder at the Interest Rate.

              c.      Maturity Date. Notwithstanding anything to the contrary herein, the entire
outstanding principal balance, together with any accrued interest, shall be due and payable on
January 1, 2022 (the “Maturity Date”).

                d.      Allocation. All payments made upon this Note shall be applied in any order
Lender determines, in its sole discretion, to the following: (1) to accrued but unpaid interest, (2) to
unpaid principal, (3) to reduce charges owed by the Borrowers that are neither principal nor interest,
and (4) any partial prepayments of principal will be applied to installments due in the inverse order
of their maturity and no such partial prepayment of principal will have the effect of postponing,
satisfying, reducing or otherwise affecting any scheduled installment before the Note is paid in full.

        3.      Late Charge. All installments of interest or payments of principal provided for in this
Note shall be paid promptly when due and, if not paid within seven (7) calendar days after the due
date thereof, shall be subject to a late charge in an amount equal to five percent (5%) of the payment
due and shall be paid to Lender in addition to and at the time of payment of the delinquent
installment or payment.

       4.      Prepayment. The Borrowers shall have the right to prepay the principal balance of
this Note, in whole or in part, without penalty at any time, upon payment of all interest accrued to
date and other sums then due and payable pursuant to the provisions of this Note.

        5.      Interest Limitation. Notwithstanding any other provision of this Note or of any
instrument securing this Note or any other instrument executed in connection with the loan
evidenced hereby, it is expressly agreed that the amounts payable under this Note or under the other
aforesaid instruments for the payment of interest or any other payment in the nature of or which
would be considered as interest or other charge for the use or loan of money shall not exceed the
highest rate allowed by law, from time to time, to be charged by Lender. In the event the provisions

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of this Note or of any instruments referred to in this paragraph regarding the payment of interest or
other payments which would be considered as interest or other charge for the use or loan of money
operate to produce a rate that exceeds such limitation, then the excess over such limitation will not
be payable and the amount otherwise agreed to be paid shall be reduced by the excess, so that such
limitation will not be exceeded, and in the event any such payment is paid by Borrowers or received
by Lender, whereby such limitation is exceeded, the amount of the excess shall constitute and be
treated as a payment on the principal hereof and shall operate to reduce such principal by the amount
of such excess, unless Borrowers shall notify Lender in writing that Borrowers desire to have such
excess sum refunded to it.

        6.      Consent and Waiver. Each Borrower does hereby: (a) consent to any forbearance or
extension of the time or manner of payment hereof and to the release of all or any part of any security
held by the Lender to secure payment of this Note, all without notice to or consent of that party; (b)
agree that no course of dealing or delay or omission or forbearance on the part of the Lender in
exercising or enforcing any of its rights or remedies hereunder or under any instrument securing this
Note shall impair or be prejudicial to any of the Lender's rights and remedies hereunder or to the
enforcement hereof and that the Lender may extend, modify or postpone the time and manner of
payment and performance of this Note, may grant forbearances and may release, wholly or partially,
any security held by the Lender as security for this Note and release, partially and wholly, any person
or party primarily or secondarily liable with respect to this Note, all without notice to or consent by
any party primarily or secondarily liable hereunder and without thereby releasing, discharging or
diminishing its rights and remedies against any other party primarily or secondarily liable hereunder;
and (c) waive notice of acceptance of this Note, and presentment, demand, protest, notice of dishonor
and notice of protest and notices of any and all action at any time taken or omitted by the Lender in
connection with this Note or any instrument securing this Note and waive all requirements necessary
to hold that party to the liability of that party.

        7.     Cross Default. A default under this Note shall be and constitute a default under Exit
Note A, Exit Note B, the Security Agreement, and the Settlement Agreement. A default under Exit
Note A, Exit Note B, the Security Agreement, and the Settlement Agreement shall also constitute a
default under this Note.

        8.      Events of Default and Acceleration. The happening of any of the following events
shall constitute a default hereunder (“Event of Default”): (a) failure of Borrowers to pay any
principal, interest or any other sums when due under this Note; or (b) a default shall occur in any
provision of this Note, in any instrument securing this Note, in Exit Note A, in Exit Note B or in the
Settlement Agreement, except that an Event of Default shall not occur with respect to a non-payment
default unless the Borrowers fail to cure such non-payment default within seven (7) calendar days
after notice of such non-payment default. Notice under this paragraph shall be effective upon
delivery by first class mail or hand delivery to the Borrowers and Borrowers’ counsel at Brevard Eye
Center, Inc., 665 S. Apollo Blvd., Melbourne, FL 32901, and via email transmission to Borrowers’
counsel at gaaronson@aspalaw.com and scapuano@aspalaw.com.

       If an Event of Default shall occur hereunder, then at the option of the Lender, the entire
principal sum then remaining unpaid together with accrued interest shall immediately become due

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and payable without notice or demand. While in default, the entire principal sum and accrued
interest shall both bear interest from such default date at a rate equal to the Prime Rate at the time of
such Event of Default plus ten percent (10%); it being agreed that interest not paid when due shall, at
the option of the Lender, draw interest at the rate provided for in this paragraph.

       The Lender may, in addition, pursue each and every other right, remedy and power under this
Note, Exit Note A, Exit Note B, the Security Agreement, or the Settlement Agreement, and pursue
any other right or remedy available at law and in equity.

         The remedies of Lender, as provided herein or in any document securing the Loan evidenced
hereby, shall be cumulative and concurrent and may be pursued singularly, successively and together,
at the sole discretion of Lender. No act of omission or commission of the Lender, including, specifi-
cally, any failure to exercise any right, remedy or recourse, shall be deemed to be a waiver or release
of the same, such waiver or release to be effected only through a written document executed by
Lender and then only to the extent specifically recited therein. A waiver or release with reference to
any one event shall not be construed as continuing, as a bar to or as a waiver or release of any
subsequent right, remedy or recourse as to a subsequent event.

       9.      Attorneys' Fees. All parties liable for the payment of this Note agree to pay the
Lender reasonable attorneys' fees and costs, whether or not an action is brought, for the services of
counsel employed after maturity or default to collect this Note or any principal or interest due
hereunder or to protect the security, if any, or enforce the performance of any other agreement
contained in this Note or in any instrument of security executed in connection with this loan,
including costs and attorneys' fees on any appeal or in any proceedings under the federal Bankruptcy
Code or in any postjudgment proceedings.

        10.     Set Off. The Lender is hereby granted a lien upon and a security interest in all
property of Borrowers now or at any time hereafter in the possession of the Lender as security for the
payment of this Note, including, but not limited to, any balance or share of any credits, money,
deposits, stocks, bonds, certificates of deposit, trust or agency account, and whenever any obligation
under this Note matures or otherwise becomes due, whether by acceleration or otherwise, the Lender
is hereby authorized to apply and set off against the balance hereunder owed, any such funds or prop-
erty in possession of the Lender belonging to Borrowers in such order of application as the Lender
may from time to time elect, without advance notice or consent of Borrowers. The Lender also shall
have the right, immediately and without further action by it, to set off against the Note all money
owed by the Lender in any capacity to Borrowers, whether or not due.

        11.     Florida Law; Venue; Time. This Note constitutes a contract under the laws of the
State of Florida and shall be enforceable in a court of competent jurisdiction in that state, regardless
of in which state this Note is being executed. Borrowers consent and agree that all actions or
proceedings arising directly, indirectly or otherwise in connection with, out of, or related to this
Note, Exit Note A, Exit Note B, the Security Agreement, or any other document executed by
Borrowers and delivered to Lender shall be litigated, in Lender’s sole discretion and at the Lender's
sole election, only in courts having a situs within or whose jurisdiction includes Brevard County,
Florida. For the purpose of the foregoing, Borrowers hereby consent and submit to the jurisdiction

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of any local, state or federal court located within or whose jurisdiction includes Brevard County,
Florida. Time is of the essence in this Note.

        12.     Headings. The headings of the paragraphs contained in this Note are for convenience
of reference only and do not form a part hereof and no way modify, interpret or construe the meaning
of the parties hereto.

       13.      Security. This Note is secured by inter alia, the Security Agreement. It is expressly
agreed that all of the covenants, conditions and agreements of the Borrowers under the Security
Agreement are made a part of this Note and shall be included in the interpretation of this Note.

        14.      Sale or transfer of Note and Security Agreement. Lender may at any time in its sole
discretion sell, transfer or assign the Note, Exit Note A, Exit Note B, the Security Agreement, and
any and all servicing rights with respect thereto, or grant participations therein.

        15.      Compliance Agreement. For and in consideration of the funding or renewal of this
loan by Lender, the Borrowers hereby agree to cooperate or re-execute any and all loan
documentation deemed necessary or desirable in Lender's discretion, in order to correct or to adjust
for any clerical errors or omissions contained in any document executed in connection with this loan.


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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD EYE CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD EYE CENTER, INC., a Florida corporation,
on behalf of the corporation. He/she is personally known to me OR produced a _________
Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD SURGERY CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD SURGERY CENTER, INC., a Florida
corporation, on behalf of the corporation. He/she is personally known to me OR produced a
_________ Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           MEDICAL CITY EYE CENTER, P.A.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of MEDICAL CITY EYE CENTER, P.A., a Florida
corporation, on behalf of the corporation. He/she is personally known to me OR produced a
_________ Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                   BORROWER:

                                           THMIH, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                   (Company Seal)



STATE OF _________________
COUNTY OF _________________

        The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of THMIH, INC., a Florida corporation, on behalf of the
corporation. He/she is personally known to me OR produced a _________ Driver’s License as
identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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       EXHIBIT “4”
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                                AMENDED AND RESTATED
                                 SECURITY AGREEMENT

        THIS AMENDED AND RESTATED SECURITY AGREEMENT ("Security
Agreement") made effective as of _____________ ____, 2018, from BREVARD EYE
CENTER, INC., a Florida corporation, having a mailing address of 665 South Apollo
Boulevard, Melbourne, Florida 32901; BREVARD SURGERY CENTER, INC., a Florida
corporation, having a mailing address of 665 South Apollo Boulevard, Melbourne, Florida
32901; MEDICAL CITY SURGERY CENTER, INC., a Florida corporation, having a mailing
address of 665 South Apollo Boulevard, Melbourne, Florida 32901; THMIH, INC., a Florida
corporation, having a mailing address of 665 South Apollo Boulevard, Melbourne, Florida 32901
(herein, whether one or more, called "Debtor"), to SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns,
having an address of ___________________________________________ (herein, together with
its successors and assigns, called "Secured Party" or “SummitBridge,” and together with
Debtor, the “Parties”).

                                     W I T N E S S E T H:

WHEREAS, Debtor had previously entered into a loan (the "Loan") evidenced by that certain
promissory note dated as of July 18, 2016, in the maximum original principal amount of Five
Hundred Thousand and 00/100 Dollars ($500,000.00) (the "Original Note"), which Original
Note was secured by that certain Commercial Security Agreement in favor of the Secured Party
dated as of July 18, 2016 (the "Original Security Agreement"), pursuant to which Debtor
granted a security interest in all of Debtor’s Collateral (as such term is defined in the Original
Security Agreement); and
       WHEREAS, Debtor and the Secured Party have entered into that certain settlement
agreement executed on or about the date hereof (the "Settlement Agreement"), pursuant to
which, inter alia, the Debtor and Secured Party have agreed to amend and restate the Original
Security Agreement and restructure the Loan.

      NOW, THEREFORE, in consideration of loans, advances or other financial
accommodations made or to be made by Secured Party to Debtor, and for other value received
by Debtor, the parties hereto, intending to be legally bound, agree as follows:

        1.      Security Interest. Debtor grants to Secured Party a continuing security interest
(the "Security Interest") in all accounts receivable, equipment, inventory, personal property,
business assets and fixtures now owned or hereafter acquired by Debtor, and in all increases,
parts, fittings, accessories, attachments, additions, and accessions thereto, substitutions and
replacements therefore and in all proceeds thereof in any form, together with all records relating
thereto, as more particularly described in Exhibit "A" attached hereto (the "Collateral").

       2.       Indebtedness Secured. This Security Agreement secures (a) that certain Six
Hundred Thousand and 00/100 Dollars ($600,000.00) Note of even date herewith ("Exit Note
A") (b) that certain Four Hundred Thousand and 00/100 Dollars ($400,000.00) Note of even date
herewith ("Exit Note B") and (c) that certain Two Hundred Fifty Thousand and 00/100 Dollars
($250,000.00) Note of even date herewith (the "Exit Financing Note", and together with Exit


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Note A and Exit Note B, collectively, the "Notes" and each individually a "Note"). The
borrowing relationship between Debtor and Secured Party is to be a continuing one and may
cover numerous types of extensions of credit, loans, overdraft payments, or advances made
directly or indirectly to Debtor under the Notes. Accordingly, this Security Agreement and the
Security Interest created hereby secures payment of all obligations of any kind owing by Debtor
to Secured Party arising from the Notes, whether now existing or hereafter incurred, direct or
indirect, primary or secondary, sole or joint and several, contingent or non-contingent, liquidated
or non-liquidated, or otherwise, and whether the obligations are from time to time reduced and
thereafter increased or entirely extinguished and new obligations thereafter incurred, including,
without limitation, any sums advanced and any expenses or obligations incurred by Secured
Party pursuant to this Security Agreement (including attorneys' fees and costs as provided
herein) or any other agreement concerning, evidencing or securing obligations of Debtor to
Secured Party, and any liabilities of Debtor to Secured Party arising from any source whatsoever
and all extensions, renewals and modifications thereof (collectively, the "Indebtedness").

        3.     Representations and Warranties of Debtor. Debtor represents and warrants
and so long as this Security Agreement continues in force as provided in paragraph 7 hereof shall
be deemed continuously to represent and warrant that:

                (a)   Debtor is the sole and absolute owner of the Collateral free of all security
interest and other encumbrances or claims, except for the security interests on the Collateral that
existed prior to the Debtors’ bankruptcy filing.

                  (b)Debtor is authorized to enter into this Security Agreement and into the
transactions evidenced by the Collateral.

                  (c)   The Collateral is used or bought for use primarily for business purposes.

                (d)     By virtue of this Security Agreement and the perfection of the Security
Interest as provided in paragraph 1 hereof, Secured Party has a valid, enforceable, and perfected
security interest in the Collateral.

        4.      General Covenants of Debtor. So long as this Security Agreement continues in
force as provided in paragraph 7 hereof, Debtor: (a) will defend the Collateral against the claims
and demands of all other persons at any time claiming the same; keep the Collateral free from all
security interests or other encumbrances or claims whatsoever except the Security Interest and
any security interests that existed prior to the execution of the Settlement Agreement, and will
not sell, transfer, assign, deliver or otherwise dispose of any of the Collateral or any interest
therein without the prior written consent of Secured Party, except for bona fide sales,
assignments, transfers, or other dispositions in the ordinary course of business and dispositions
of property which is obsolete and not used or useful in its business; (b) will not without the prior
written consent of Secured Party create in favor of anyone other than Secured Party a security
interest in any of the Collateral; (c) will notify Secured Party promptly in writing of any change
in Debtor's address, name or identity from that specified above, and will permit Secured Party or
its agents to inspect the Collateral at any time, wherever located, with reasonable prior notice to
the Borrower exception in emergencies or default; (d) will keep the Collateral in good condition
and repair, ordinary wear and tear and ordinary course dispositions excepted and will not use the


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Collateral in violation of any provisions of this Security Agreement, of any applicable statute,
regulation or ordinance or of any policy of insurance insuring the Collateral; (e) will notify
Secured Party promptly in writing of any change in Debtor's address, name or identity specified
above, of any change in the location or of any additional locations at which the Collateral is kept
and of any change in the address at which records concerning the Collateral are kept; (f) in
connection herewith will execute and deliver to Secured Party such financing statements and
other documents, and take such other action as Secured Party may deem necessary or advisable
to perfect the Security Interest created by this Security Agreement; (g) will pay or cause to be
paid all taxes, assessments and other charges of every nature which may be levied or assessed
against the Collateral or against any note or other instrument evidencing the Indebtedness
provided that, unless any material item or property would be lost, forfeited or materially damages
as a result thereof, no such charge or claim need to be paid if it is being diligently contested in
good faith, if Lender is notified in advance of such contest and if Borrower establishes and
adequate reserve or other appropriate provisions required by generally accepted accounting
principles; (h) will keep the Collateral insured in amounts not less than the full insurable value
thereof for the benefit of Secured Party (to whom loss shall be payable by New York Standard or
Union Standard endorsements), in such companies and against such risks as may be satisfactory
to or required by Secured Party (and each policy shall specifically provide that it may not be
cancelled or modified adversely to the interests of Secured Party without 30 calendar days prior
written notice to Secured Party), pay the cost of all such insurance, and deliver certificates
evidencing such insurance to Secured Party, and Debtor assigns to Secured Party all right to
receive proceeds of such insurance; (i) will prevent the Collateral or any part thereof from being
or becoming an accession to other goods not covered by this Security Agreement; (j) unless the
Collateral is specified in paragraph 3(e) as a fixture, will prevent the Collateral or any part of the
Collateral from being or becoming a fixture; and (k) if any certificate of title may be issued with
respect to any of the Collateral, Debtor will cause the Security Interest granted hereunder to
Secured Party to be properly noted on the certificate and will deliver the original certificate to
Secured Party.

          5.       Default.

               (a) Any of the following events or conditions shall constitute an event of default
("Event of Default") hereunder: (i) non-payment when due whether by acceleration or otherwise
of the principal of, or interest on any Indebtedness, time being of the essence, or failure of any
Obligor (which term shall mean and include each Debtor and any endorser, surety, guarantor or
other party liable for payment of, or pledging collateral as security for, any Indebtedness) to pay
any sum due under any note or other instrument evidencing the Indebtedness or due by any
Obligor to Secured Party under any other promissory note or under any security instrument or
other written obligation of any kind now existing or hereafter created, subject to any applicable
grace or cure period set forth in the applicable Loan Documents; (ii) failure by any Obligor to
perform any obligations under this Security Agreement or any other agreement between any
Obligor and Secured Party; (iii) death of any Obligor (unless a substitute obligor acceptable to
Secured Party is provided to Secured Party within 30 calendar days of the date thereof); (iv) a
commencement by the Borrower of a voluntary case under any applicable bankruptcy,
insolvency or other similar law now or hereafter in effect; or the entry of a decree or order for
relief in respect of the Borrower in a case under any such law or appointing a receiver, liquidator,
assignee, custodian, trustee, sequestrate (or other similar official) of the Borrower, or for any


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substantial part of the property of Borrower, or ordering the wind-up or liquidation of the affairs
of Borrower; or the filing and pendency for 30 calendar days without dismissal of a petition
initiating an involuntary case under any such bankruptcy, insolvency or similar law, or the
insolvency of any Obligor; (v) making a general assignment by any Obligor for the benefit of
creditors, appointment of or taking possession by a receiver, trustee, custodian or similar official
for any Obligor or for any assets of any such Obligor, (vi) the rendition of a final judgment
against Borrower for the payment of damages or money in an amount in excess of $50,000.00, if
the same is not discharge or if a writ of execution or similar process is issued with respect thereto
and is not stayed within the time allowed by law for filing notice of appeal of the final judgment;
(vii) material falsity in any certificate, statement, representation, warranty or audit at any time
furnished to Secured Party by or on behalf of any Obligor, pursuant to or in connection with this
Security Agreement or otherwise (including warranties in this Security Agreement) and
including any omission to disclose any substantial contingent or liquidated liabilities or failure to
disclose any material adverse change in any facts disclosed by any certificate, statement,
representation, warranty, or audit furnished to Secured Party; (viii) issuing of any writ of
attachment or writ of garnishment, or filing of any lien against the Collateral or the property of
any Obligor; (ix) taking of possession of the Collateral or of any substantial part of the property
of any Obligor at the instance of any governmental authority; (x) dissolution, merger,
consolidation or reorganization of any Obligor; (xi) assignment or sale by Debtor of any equity
in any of the Collateral, other than assignments, sales, dispositions and transfers occurring in the
ordinary course, without the prior written consent of Secured Party; (xiii) cancellation of any
guaranty with respect to any Indebtedness without the prior written consent of Secured Party; or
(xiv) default by an Obligor under any other loan or indebtedness to Secured Party or to any other
lender, which default continues past any applicable cure or grace period.

              (b)    Secured Party may declare all or part of the Indebtedness to be
immediately due and payable without notice or demand upon the happening of any Event of
Default. This paragraph is not intended to affect any rights of Secured Party with respect to any
Indebtedness which may now or hereafter be payable on demand.

              (c)    Upon the happening of any Event of Default, Secured Party's rights and
remedies with respect to the Collateral shall be those of a secured party under the Uniform
Commercial Code and any other applicable law from time to time in effect. Secured Party shall
also have any additional rights granted herein and in any other agreement now or hereafter in
effect between Debtor and Secured Party. If requested by Secured Party, the Debtor, at its
expense, will assemble the Collateral and make it available to Secured Party at a place to be
designated by Secured Party.

               (d)     Debtor agrees that any notice by Secured Party of the sale or disposition of
the Collateral or any other intended action hereunder, whether required by the Uniform
Commercial Code or otherwise, shall constitute reasonable notice to Debtor if the notice is sent
via e-mail to ______________________, or mailed by regular or certified mail, postage prepaid,
at least ten (10) calendar days before the action to Debtor's address as specified in this Security
Agreement, to counsel for the Debtor via e-mail to gaaronson@aspalaw.com and
scapuano@aspalaw.com, and to any other address which Debtor has specified in writing to
Secured Party as the address to which notices shall be given to Debtor.



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                  (e)  Debtor shall pay all costs and expenses incurred by the Secured Party in
enforcing this Security Agreement, realizing upon any Collateral and collecting any
Indebtedness, including reasonable attorneys' fees whether suit is brought or not and whether
incurred in connection with collection, trial, appeal, bankruptcy or otherwise, all of which costs
and expenses shall be secured hereby, and shall be liable for any deficiencies in the event the
proceeds of disposition of the Collateral do not satisfy the Indebtedness in full. All such
proceeds shall be applied without marshaling of assets (i) first to the expenses of retaking and
preparing the Collateral for sale, including expenses of sale, (ii) next to other costs and attorneys'
fees incurred by Secured Party in exercising its rights and remedies under this Security
Agreement, and (iii) finally to the payment of interest and/or principal due on the Indebtedness,
in such order and to such Indebtedness as Secured Party may determine.

                  (f) All rights and remedies of Secured Party under this Security Agreement
and under the Uniform Commercial Code shall be deemed cumulative and not in substitution of
any other rights at law or equity with respect to the Collateral or the collection of the
Indebtedness. Debtor hereby waives notice of any and all actions, forbearances, and omissions of
any rights contemplated by this Section and consents to be bound thereby as effectively as if
Debtor had agreed to do so in advance.

          7.       Miscellaneous.

                (a)     Debtor authorizes Secured Party without notice to Debtor and without
affecting Debtor's obligations hereunder from time to time (i) to renew, extend, increase,
accelerate or otherwise change the time for payment of the principal of or the interest on the
Indebtedness or any part thereof; (ii) to take from any party and hold collateral (other than the
Collateral) for the payment of the Indebtedness or any part thereof, and to exchange, enforce or
release such collateral or the Collateral or any part thereof; (iii) to accept and hold any
endorsement or guaranty of payment of the Indebtedness or any part thereof and to release or
substitute any such endorser or guarantor, or any party who has given any security interest in any
collateral as security for the payment of the Indebtedness or any part thereof or any party in any
way obligated to pay the Indebtedness or any part thereof; and (iv) to waive or fail to enforce any
of Secured Party's rights against Debtor or any such collateral or the Collateral; and (v) upon the
occurrence of any Event of Default to direct the order or manner of the disposition of the
Collateral and any other collateral and the enforcement of any endorsements and guaranties
relating to the Indebtedness or any part thereof as Secured Party in its sole discretion may
determine.

               (c)    Debtor authorizes Secured Party to file any financing statement or
statements relating to the Collateral (without Debtor's signature thereon) which Secured Party
deems appropriate, and Debtor authorizes Secured Party as Debtor's attorney-in-fact to execute
any such financing statement or statements in Debtor's name and to perform all other acts which
Secured Party deems appropriate to perfect and to continue perfection of the Security Interest. At
the option of Secured Party, this Security Agreement, or a photocopy thereof, shall be deemed to
be a financing statement authorized to be filed in such jurisdictions where such filing will be
given effect.




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               (c)    Debtor hereby irrevocably consents to Secured Party or its agents entering
upon its premises for the purpose of either (1) inspecting the Collateral with reasonable prior
notice except for emergency or (2) taking possession of the Collateral after any Event of Default;
and Debtor hereby waives its right to assert against Secured Party or its agents any claim based
upon trespass or any similar cause of action for entering upon its premises where the Collateral
may be located.

               (d)    After an Event of Default Secured Party may notify any party obligated to
pay proceeds of the existence of the Security Interest and may also direct them to make payments
of all proceeds to Secured Party.

                 (e)  Secured Party may demand, collect and sue for all proceeds (either in
Debtor's name or Secured Party's name at the latter's option) with the right to enforce,
compromise, settle or discharge any proceeds. Debtor irrevocably appoints Secured Party as
Debtor's attorney-in-fact to endorse Debtor's name on all checks, commercial paper and other
instruments pertaining to the proceeds.

               (f)     Debtor authorizes Secured Party to collect and apply against the
Indebtedness any refund of insurance premiums or any insurance proceeds payable on account of
the loss of or damage to any of the Collateral and irrevocably appoints Secured Party as Debtor's
attorney-in-fact to adjust and settle any insurance claim relating to the Collateral and to endorse
any check or draft representing insurance proceeds.

               (g)     As further security for the Indebtedness, Debtor grants to Secured Party a
security interest in all property of the Debtor now or at any time hereafter in the possession of
Secured Party in any capacity whatsoever, including, but not limited to, any balance or share of
any deposit, trust or agency account; and with respect to all of such property, Secured Party shall
have the same rights as it has with respect to the Collateral. (ii) Without limiting any other right
of Secured Party, whenever Secured Party has the right to declare any Indebtedness to be
immediately due and payable (whether or not it has so declared), Secured Party may set off
against the Indebtedness all monies then owed to Debtor by Secured Party in any capacity
whether due or not and Secured Party shall be deemed to have exercised its right of set off
immediately at the time its right to such election accrues.

                  (h)  Upon Debtor's failure to perform any of its duties hereunder Secured Party
may, but it shall not be obligated to, perform any of such duties and Debtor shall forthwith upon
demand reimburse Secured Party for any expense incurred by Secured Party in doing so, together
with interest thereon at the highest rate permitted by applicable law.

               (i)     No delay or omission by Secured Party in exercising any right hereunder
or with respect to any Indebtedness shall operate as a waiver of that or any other right, and no
single or partial exercise of any right shall preclude Secured Party from any other or future
exercise of the right or the exercise of any other right or remedy. Secured Party may cure any
Event of Default by Debtor in any reasonable manner without waiving the Event of Default so
cured and without waiving any other prior or subsequent Event of Default by Debtor.




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               (j)    Secured Party shall have no obligation to take and Debtor shall have the
sole responsibility for taking any steps to preserve rights against all prior parties to any
instrument or chattel paper in Secured Party's possession as proceeds of the Collateral. Debtor
waives notice of dishonor and protest of any instrument constituting Collateral at any time held
by Secured Party on which the Debtor is in any way liable and waives notice of any other action
by Secured Party.

                (k)     The rights and benefits of Secured Party under this Security Agreement
shall, if Secured Party agrees, inure to any party acquiring an interest in the Indebtedness or any
part thereof. Secured Party may from time to time honor drafts or otherwise advance funds to
permit Debtor to purchase additional assets. Any assets purchased with such funds shall become
part of the Collateral.

                (l)     The terms "Secured Party" and "Debtor" as used in this Security
Agreement include the heirs, personal representatives, and successors or assigns of those parties.
The terms "inventory", "accounts", "general intangibles" and "chattel paper" as used in this
Security Agreement shall have the meanings given to such terms in the Florida Uniform
Commercial Code. Whenever used herein, the singular number shall include the plural, the
plural the singular, and the use of any gender shall be applicable to all genders.

              (m)    If more than one Debtor executes this Security Agreement, the term
"Debtor" includes each of the Debtors as well as all of them, and their obligations under this
Security Agreement shall be joint and several.

                 (n)   This Security Agreement is a continuing agreement which shall remain in
force until it is marked "Cancelled" and returned to Debtor by Secured Party upon payment in
full of all Indebtedness (and no further right on the part of the Debtor to obtain any advances or
other disbursements from Secured Party) and, until such time, this Security Agreement shall
continue to secure all of the Indebtedness and any extensions, renewals or modifications of the
Indebtedness.

              (o)  This Security Agreement shall be construed under and governed by the
Florida Uniform Commercial Code and any other applicable Florida laws in effect from time to
time.

                 (p)    This Security Agreement constitutes the complete agreement of the parties
in regard to the matters set forth herein and this Security Agreement may not be modified or
amended and no provision hereof shall be waived except by a writing signed by the party to be
charged with such modification, amendment or waiver. This Security Agreement amends and
restates all previous security agreements between and among the parties hereto.

               (q)       Debtor agrees to provide Secured Party with Debtors’ tax returns and
quarterly financial statements in a form reasonably requested by Secured Party. Financial
statements for each quarter of the calendar year must be provided no later than the twentieth
calendar day after the end of each quarter of the calendar year, and tax returns must be provided
no later than the thirtieth calendar day after filing of said return.




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        8.      Waiver. The Debtor hereby waives any rights Debtor may have to notice and a
hearing before possession or sale of Collateral is effected by Secured Party by self-help, replevin,
attachment, or otherwise. Debtor further waives any right to a trial by jury in any civil action
arising out of, or based upon, this Security Agreement or the Collateral.

        9.       Waiver of Venue and Jurisdiction. Debtor, whether or not a Florida resident,
hereby waives any plea or claim of lack of personal jurisdiction or improper venue in any action,
suit or proceeding brought upon to enforce this Security Agreement or the Debtor's obligations
and liabilities hereunder. The Debtor specifically authorizes any such action to be instituted and
prosecuted in the Circuit Court in and for Brevard County, Florida, or any applicable United
States District Court of Florida, at the election of Secured Party, where venue would lie and be
proper against any Debtor.

     10.  Waiver of Jury Trial. SECURED PARTY AND DEBTOR HEREBY
KNOWINGLY VOLUNTARILY AND INTENTIONALLY WAIVE THE RIGHT
EITHER MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION
BASED HEREON, OR ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS
SECURITY AGREEMENT AND ANY AGREEMENT CONTEMPLATED TO BE
EXECUTED IN CONJUNCTION HEREWITH, OR ANY COURSE OF CONDUCT,
COURSE OF DEALING, STATEMENTS (WHETHER VERBAL OR WRITTEN) OF
ACTIONS OR EITHER PARTY. THIS PROVISION IS A MATERIAL INDUCEMENT
FOR THE SECURED PARTY ENTERING INTO THIS AGREEMENT.




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        IN WITNESS WHEREOF, Debtor has duly executed this Security Agreement as of the
date first above written.

Signed, sealed and delivered in the              BREVARD EYE CENTER, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:


Signed, sealed and delivered in the              BREVARD SURGERY CENTER, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:


Signed, sealed and delivered in the              MEDICAL CITY EYE CENTER, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:


                      [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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        IN WITNESS WHEREOF, Debtor has duly executed this Security Agreement as of the
date first above written.


Signed, sealed and delivered in the              THMIH, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:




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                                           EXHIBIT "A"

       The Debtor hereby assigns and grants to the Secured Party a security interest in all of the
following assets of the Debtor (collectively, the "Collateral"):

         All inventory, equipment, accounts (including but not limited to all health-care-insurance
receivables), chattel paper, instruments (including but not limited to all promissory notes), letter-
of-credit rights, letters of credit, documents, deposit accounts, investment property, money, other
rights to payment and performance, and general intangibles (including but not limited to all
software and all payment intangibles); all oil, gas and other minerals before extraction; all oil,
gas other minerals and accounts constituting as-extracted collateral; all fixtures; all timber to be
cut; all attachments, accessions, accessories, fittings, increases, tools, parts, repairs, supplies, and
commingled goods relating to the foregoing property, and all additions, replacements of and
substitutions for all or any part of the foregoing property; all insurance refunds relating to the
foregoing property; all good will relating to the foregoing property; all records and data and
embedded software relating to the foregoing property, and all equipment, inventory and software
to utilize, create, maintain and process any such records and data on electronic media; and all
supporting obligations relating to the foregoing property; all whether now existing or hereafter
arising, whether now owned or hereafter acquired or whether now existing or hereafter arising,
whether now owned or hereafter acquired or whether now or hereafter subject to any rights in the
foregoing property; and all products and proceeds (including but not limited to all insurance
payments) of or relating to the foregoing property.

        In addition, the word "Collateral" also includes all the following, whether now owned or
hereafter acquired, whether now existing or hereafter arising, and wherever located:

       (a)     all accessions, attachments, accessories, tools, parts, supplies, replacements of and
additions to any of the collateral described herein, whether added now or later;

        (b)       all products and produce of any of the property described in this Collateral
section;

        (c)     all accounts, general intangibles, instruments, rents, monies, payments, and all
other rights, arising out of a sale, lease, consignment or other disposition of any of the property
described in this Collateral section;

        (d)     all proceeds (including insurance proceeds) from the sale, destruction, loss, or
other disposition of any of the property described in this Collateral section, and sums due from a
third party who has damaged or destroyed the Collateral or from that party’s insurer, whether due
to judgment, settlement, or other process;

        (e)     all records and data relating to any of the property described in this Collateral
section, whether in the form of a writing, photograph, microfilm, microfiche, or electronic
media, together with all of Debtor’s right, title, and interest in and to all computer software
required to utilize, create, maintain, and process any such records or data on electronic media.




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                                 SUBORDINATION AGREEMENT

        THIS SUBORDINATION AGREEMENT (this “Agreement”) is made as of _________, 2018,
by and among AARONSON SCHANTZ BEILEY P.A., a Florida professional association (the
“Subordinated Creditor”); BREVARD EYE CENTER, INC., a Florida corporation, BREVARD
SURGERY CENTER, INC., a Florida corporation, MEDICAL CITY EYE CENTER, INC., a Florida
corporation, and THMIH, INC., a Florida corporation (the “Borrowers” or the “Debtors”), and
SUMMITBRIDGE NATIONAL INVESTMENTS V LLC, a Delaware limited liability company (the
“Lender”).

        WHEREAS, in order to induce the Lender to enter into and consummate a settlement agreement
and pursuant to the terms of the settlement agreement, and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, the parties hereto agree as follows:

                                     ARTICLE 1 -- DEFINITIONS

          SECTION 1.1 Specific Definitions. As used in this Agreement, the term:

          “Insolvency Proceeding” means any receivership, conservatorship, general meeting of
creditors, insolvency or bankruptcy proceeding, assignment for the benefit of creditors, or any
proceeding by or against any Borrower for any relief under any bankruptcy or insolvency law or other
laws relating to the relief of debtors, readjustment of indebtedness, reorganizations, compositions or
extensions, including, without limitation, proceedings under federal bankruptcy laws, or under other
federal, state or local statutes, laws, rules and regulations, all whether now or hereafter in effect.

        “Lien” means any mortgage, deed of trust, deed to secure debt, grant, pledge, security interest,
assignment, encumbrance, judgment, financing statement, lien or charge of any kind, whether perfected
or unperfected, voidable or unavoidable, consensual or non-consensual including, without limitation,
any conditional sale or other title retention agreement, any lease in the nature thereof, and the filing of
or agreement to give any financing statement under the Uniform Commercial Code of any jurisdiction.

        “Loan Documents” means the collective reference to each and every note, instrument, security
agreement, pledge agreement, guaranty agreement, mortgage, deed of trust, deed to secure debt, loan
agreement, hypothecation agreement, indemnity agreement, letter of credit application, assignment,
confirmed chapter 11 plan (if any), or any other document (whether similar or dissimilar to any of the
foregoing) previously, simultaneously or hereafter executed or delivered by any Borrower or any other
Person, singly or jointly with another Person or Persons, in connection with any of the Senior
Indebtedness.

        “Person” means an individual, a corporation, a limited liability company, a partnership, a joint
venture, a trust, an unincorporated association, a government or political subdivision or agency thereof
or any other entity.

         “Security” means, with respect to the Borrowers, any security agreement, pledge, pledge
agreement, guaranty agreement, mortgage, deed of trust, deed to secure debt, trust deed, land trust,
indenture, indemnity deed of trust, indemnification agreement, proceeding in rem, reimbursement
agreement, financing statement, purchase agreement, conditional sales contract, installment sales
contract, collateral agreement, financing lease, letter of credit, bond, loan agreement, hypothecation
agreement, deposit, financing statement or assignment, and also means any agreement, document,
security device or arrangement, document, statutory lien, lien arising by operation of law, judgment or
other lien, right of setoff, encumbrance, proceeding or other document or right, in whatever form or


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however arising, whether similar or dissimilar to the foregoing which directly or indirectly secures or
enforces payment or performance of any Person against, or otherwise encumbers or gives notice of an
encumbrance upon, the real property, personal property, rights or assets of any Person.

       “Senior Indebtedness” means all indebtedness, liabilities and obligations of the Borrowers to the
Lender of every kind and nature whatsoever, whether now existing or hereafter arising or created at any
time.

        “Subordinated Indebtedness” means any and all existing and future indebtedness, liabilities,
claims (whether in an Insolvency Proceeding or otherwise) and obligations of any Borrower to the
Subordinated Creditor of every kind and nature whatsoever arising out of, relating to this Subordination
Agreement.

         SECTION 1.2 Other Definitional Provisions. Unless otherwise defined herein, all terms used
herein which are defined by the Florida Uniform Commercial Code have the same meanings as assigned
to them by the Florida Uniform Commercial Code unless and to the extent varied by this Agreement.
The words “hereof”, “herein” and “hereunder” and words of similar import when used in this Agreement
shall refer to this Agreement as a whole and not to any particular provision of this Agreement, and
section, subsection, schedule and exhibit references are references to sections or subsections of, or
schedules or exhibits to, as the case may be, this Agreement unless otherwise specified. As used herein,
the singular number shall include the plural, the plural the singular and the use of the masculine, feminine
or neuter gender shall include all genders, as the context may require. Reference to any one or more of
the Loan Documents and any of the Loan Documents shall mean the same as the foregoing may from
time to time be amended, restated, substituted, extended, renewed, supplemented or otherwise modified.

                                   ARTICLE 2 -- SUBORDINATION

          SECTION 2.1 Subordinated Indebtedness.

        (a)     If the Borrowers are at any time in default with respect to the Senior Indebtedness or
any of the Loan Documents evidencing the Senior Indebtedness, the Subordinated Creditor shall not,
without the prior written consent of the Lender, enforce the Subordinated Indebtedness, demand or
receive payment of the Subordinated Indebtedness, accelerate the Subordinated Indebtedness, declare a
default under the Subordinated Indebtedness, sue for the Subordinated Indebtedness, or set-off the
Subordinated Indebtedness.

         SECTION 2.2 Security. The Subordinated Creditor and the Borrowers agree, represent and
warrant that the Subordinated Indebtedness is not, and shall not be secured in any way directly or
indirectly by any Security.

         SECTION 2.3 Further Representations and Warranties.(a)             The Subordinated Creditor
represents and warrants to the Lender that the Subordinated Creditor is the exclusive legal and beneficial
owner of all of the Subordinated Indebtedness, and such Subordinated Indebtedness is not subject to any
lien, security interest, financing statement, subordination, assignment or other claim.

        (b)       Each Borrower represents and warrants to the Lender that the execution, delivery and
performance of this Agreement is within the corporate powers of the Borrowers, has been duly
authorized by all necessary corporate action of the Borrowers, and does not contravene any statute,
regulation, rule, order or judgment, any charter, by-law or preference stock provision of the Borrowers,
or any provision of any mortgage, indenture, contract or other agreement binding on the Borrowers or



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affecting its properties, which would prohibit, or cause a default under or in any way prevent the
execution, delivery, or carrying out of the terms of this Agreement.

        SECTION 2.4 Further Documents. The Subordinated Creditor and the Borrowers agree they
shall promptly execute such further documents and acknowledgments (including, without limitation,
amendments to and releases of financing statements and other documents of record) as the Lender may
reasonably require to confirm or evidence their respective obligations and the Lender's rights under this
Agreement.

                         ARTICLE 3 -- DISTRIBUTIONS AND RECEIPTS

        SECTION 3.1 Distributions, etc. If the Borrowers are at any time in default with respect to the
Senior Indebtedness or any of the Loan Documents evidencing the Senior Indebtedness, the
Subordinated Creditor shall not receive any payment or distribution of any sort whatsoever from the
Borrowers or any Person of any sort whatsoever on account of the Subordinated Indebtedness, and
during the time of any such default, any payment, distribution or benefit of any kind whatsoever or
character, either in cash, securities or other property, otherwise payable or paid to the Subordinated
Creditor on account of the Subordinated Debt, shall be paid or delivered directly to the Lender for
application to the Senior Indebtedness (whether due or not due and in such order and manner as the
Lender may elect; and including, without limitation any interest accruing subsequent to the
commencement of any such event or Insolvency Proceedings).

         SECTION 3.2 Receipts by Subordinated Creditor. Should any payment or distribution not
permitted by the provisions of this Agreement or property or proceeds thereof be received by the
Subordinated Creditor upon or with respect to all or any part of the Subordinated Indebtedness and/or
the Security during any time when the Borrowers are in default with respect to the Senior Indebtedness
or the Loan Documents evidencing the Senior Indebtedness, the Subordinated Creditor will deliver the
same to the Lender in precisely the form received (except for the endorsement or assignment of the
Subordinated Creditor when the Lender deems appropriate), for application to the Senior Indebtedness
(whether due or not due and in such order and manner as the Lender may elect), and, until so delivered,
the same shall be held in trust by the Subordinated Creditor as property of the Lender. In the event of
the failure of the Subordinated Creditor to make any such endorsement or assignment, the Lender, or
any of its officers or employees on behalf of the Lender, are hereby irrevocably authorized in their own
name or in the name of the Subordinated Creditor to make the same.

                           ARTICLE 4 -- ADDITIONAL AGREEMENTS

        SECTION 4.1 Consents, Waivers, etc. The Subordinated Creditor hereby waives demand,
presentment for payment, protest, notice of dishonor and of protest with respect to the Senior
Indebtedness, the Subordinated Indebtedness and/or the Security, notice of acceptance of this
Agreement, notice of the making of any of the Senior Indebtedness and notice of default under any of
the Loan Documents.

         SECTION 4.2 Continuing Agreement. This is a continuing Subordination Agreement until all
of the Senior Indebtedness has been fully and indefeasibly paid in cash, until all of the Senior
Indebtedness and all of the Subordinated Creditor's obligations to the Lender have been performed and
satisfied, and until Lender has no obligation or agreement to allow further Senior Indebtedness.

       SECTION 4.3 No Third Party Beneficiaries. The provisions of this Agreement are solely for
the benefit of the Lender, its successors and assigns, and to any Person which, with the Lender's
concurrence, replaces financing provided by the Lender, and there are no other parties or Persons


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whatsoever (including, without limitation, the Borrowers, its successors and assigns) who are intended
to be benefited in any manner whatsoever by this Agreement.

        SECTION 4.4 Transfer or Assignment of Senior Indebtedness. If any of the Senior
Indebtedness should be transferred or assigned by Lender this Agreement will inure to the benefit of
such transferee or assignee, provided that such transferee or assigneee shall continue to have the
unimpaired right to enforce this Agreement as to any of the Senior Indebtedness not so transferred or
assigned.

          SECTION 4.5 Actions Upon Breach.

         (a)     If the Subordinated Creditor, contrary to this Agreement, commences or participates in
any action or proceeding against any of the Borrowers or the Security, the Borrowers may interpose as
a defense the making of this Agreement, and the Lender may intervene and interpose such defense or
plea in the Lender's name or in the name of any of the Borrowers. Should the Subordinated Creditor,
contrary to this Agreement, in any way attempt to enforce payment of the Subordinated Indebtedness or
any part thereof or to realize upon the Security or any part thereof, either the Lender (in its own name or
in the name of any of the Borrowers), any of the Borrowers itself, or both the Lender and any of the
Borrowers, may restrain the Subordinated Creditor from so doing, it being understood and agreed by the
Subordinated Creditor that (i) the Lender's and/or the Borrower's damages from its actions may at that
time be difficult to ascertain and may be irreparable, and (ii) the Subordinated Creditor waives any
defense that any of the Borrowers and/or that the Lender cannot demonstrate damage and/or can be made
whole by the awarding of damages.

         (b)     If the Subordinated Creditor, any of the Borrowers or both, contrary to this Agreement,
make, attempt to or threaten to make or receive any payment, take any action with respect to the Security
or take any action contrary to this Agreement, or fail to take any action required by this Agreement, the
Lender may obtain relief by injunction, specific performance and/or other appropriate equitable relief, it
being understood and agreed by the Subordinated Creditor and each of the Borrowers that (i) the
Lender's' damages may at that time be difficult to ascertain and may be irreparable and (ii) the
Subordinated Creditor and the Borrowers waive any defense or claim that any of the Borrowers and/or
the Lender cannot demonstrate damage and/or can be made whole by the awarding of damages.

         (c)      Each of the Borrowers agrees to indemnify the Lender and to hold the Lender harmless
for any and all costs and expenses (including, without limitation, reasonable attorney's fees) as they arise,
relating to actions of any of the Borrowers taken contrary to this Agreement.

         (d)      The Subordinated Creditor agrees to indemnify the Lender and to hold the Lender
harmless for any and all costs and expenses (including, without limitation, reasonable attorney's fees) as
they arise, relating to actions of the Subordinated Creditor taken contrary to this Agreement.

         SECTION 4.7 Subrogation; Marshalling. The Subordinated Creditor shall not be subrogated
to, or be entitled to any assignment of any Senior Indebtedness or evidence of any evidence of Senior
Indebtedness or any Security until all Senior Indebtedness is indefeasibly paid and satisfied in full. The
Subordinated Creditor hereby waives any and all rights to have any Security or any part thereof granted
to the Lender marshaled in any Insolvency Proceedings or upon any foreclosure or other disposition of
such Security by the Lender or otherwise.

                                   ARTICLE 5 -- MISCELLANEOUS

          SECTION 5.1 Additional Senior Indebtedness.


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          (a) Nothing herein contained shall obligate Lender to grant credit to, or financing arrangements
              with, any of the Borrowers.

          (b) If, for any reason, Lender grants new credit to any of the Borrowers, or extends new loans
              to any of the Borrowers, the Subordinated Creditor shall not be subordinated as set forth
              herein to such new credit or new loan.

         SECTION 5.2 Delay in Enforcement, etc. No delay or failure on the part of the Lender to
exercise any of its rights or remedies hereunder or now or hereafter existing at law or in equity or by
statute or otherwise, or any partial or single exercise thereof, shall constitute a waiver thereof. All such
rights and remedies are cumulative and may be exercised singly or concurrently and the exercise of any
one or more of them will not be a waiver of any other. No waiver of any rights and remedies hereunder,
and no modification or amendment of this Agreement shall be deemed to be made by the Lender unless
the same shall be in writing, duly signed by the Lender, and each such waiver, if any, shall apply only
with respect to the specific instance involved and shall in no way impair the rights and remedies of the
Lender hereunder in any other respect at any other time.

         SECTION 5.3 Successors and Assigns. This Agreement shall be binding upon the
Subordinated Creditor and the Borrowers and the Subordinated Creditor's and the Borrower's respective
heirs, personal representatives, successors and assigns and shall inure to the benefit of the Lender and
the Lender's successors and assigns, other holders or obligees under the Senior Indebtedness and any
Person which, with the Lender's concurrence replaces financing provided by the Lender.

      SECTION 5.4 Headings. The titles and headings of Articles, sections or other parts of this
Agreement are for convenience only, and shall not limit or otherwise affect any of the terms hereof.

       SECTION 5.5 Governing Law. This Agreement shall be governed and construed in
accordance with the laws of the State of Florida, with the same force and effect as if this Agreement had
been executed, delivered, accepted and performed solely in the State of Florida.

         SECTION 5.6 Notices. All notices, requests and demands to or upon the parties to this
Agreement shall be deemed to have been given or made when delivered by hand, or five (5) business
days after the date when deposited in the mail, postage prepaid by registered or certified mail, return
receipt requested, or, when sent by overnight courier one-day delivery, on the first business day after the
day when delivered by such overnight courier. All such notices shall be addressed to the Lender, the
Borrowers and the Subordinated Creditor as set forth below the signature lines to this Agreement, or to
such other address as may be hereafter designated by notice by the Lender, the Borrowers or the
Subordinated Creditor to one another.




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        IN WITNESS THEREOF, the signatures and seals of the parties hereto as of the date first
written above.

                                           BORROWERS:

                                           Brevard Eye Center, Inc.,
                                           a Florida corporation

                                           By:
                                           Name:
                                           Title:

                                           Date:    _________


                                           Brevard Surgery Center, Inc.,
                                           a Florida corporation

                                           By:
                                           Name:
                                           Title:

                                           Date:    _________


                                           Medical City Eye Center, P.A.,
                                           a Florida corporation

                                           By:
                                           Name:
                                           Title:

                                           Date:    _________


                                           THMIH, Inc.,
                                           a Florida corporation

                                           By:
                                           Name:
                                           Title:

                                           Date:    _________

                        [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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          IN WITNESS THEREOF, the signatures and seals of the parties hereto as of the date first written
above.

                                             LENDER:

                                             SummitBridge National Investments V LLC,
                                             a Delaware limited liability company

                                             By:
                                             Name:
                                             Title:

                                             Date:    _________


                                             SUBORDINATED CREDITOR:

                                             Aaronson Schantz Beiley P.A.,
                                             a Florida Professional Association

                                             By:
                                             Name: Geoffrey S Aaronson
                                             Title: President

                                             Date:    _________




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   CONTINUING UNCONDITIONAL AND ABSOLUTE GUARANTY AGREEMENT

       This Continuing, Unconditional and Absolute Guaranty Agreement (hereinafter referred to as
the “Guaranty”), is dated ___________________, and is made by DR. RAFAEL TRESPALACIOS,
individually (“Guarantor”) to SummitBridge National Investments V LLC, and its successors and
assigns (hereinafter referred to as the “Lender”).

                                          WITNESSETH:

        FOR VALUE RECEIVED In consideration of the sum of Ten Dollars ($10.00) and other
good and valuable consideration, the receipt of which is hereby acknowledged, and for the purpose
of inducing Lender to accept (a) that certain Six Hundred Thousand and 00/100 Dollars
($600,000.00) Note of even date herewith ("Exit Note A"), (b) that certain Four Hundred Thousand
and 00/100 Dollars ($400,000.00) Note of even date herewith ("Exit Note B"), and (c) that certain
Two Hundred Fifty Thousand and 00/100 Dollars ($250,000.00) Note of even date herewith (the
"Exit Financing Note", and together with Exit Note A and Exit Note B, collectively, the "Notes" and
each individually a "Note"), executed by Brevard Eye Center, Inc., Brevard Surgery Center, Inc.,
Medical City Eye Center, P.A., and/or THMIH, Inc. (collectively, the “Borrowers”) in favor of
Lender and in connection with confirmation of the Borrowers’ chapter 11 plan (the “Plan”) in the
Borrowers’ jointly administered bankruptcy cases pending in the United Stated Bankruptcy Court for
the Middle District of Florida, Orlando Division, assigned lead case number 6:17-bk-01828-KSJ,
which Notes Lender would not have accepted in connection with the Plan without this Guaranty, the
Guarantor covenants and agrees with Lender as follows:

         1.      The Guarantor has examined the Notes (collectively, the “Loan Documents”)
executed by Borrowers (and/or any of them) in connection with the Plan and does hereby uncondi-
tionally and absolutely guarantee, jointly and severally, to the Lender and its successors and assigns
of either this Guaranty or of any of the obligations secured hereunder, due performance and full and
prompt payment, in accordance with their terms, of the Loan Documents including any amendments,
renewals, modifications or extensions thereof, and does further agree that if the Notes are not paid in
accordance with its terms, or if any of the sums or obligations that may hereafter become due to
Lender under the Loan Documents are not paid and performed in accordance with their terms, the
Guarantor will immediately do so. Guarantor further unconditionally and absolutely guarantees the
full and prompt payment when due, whether by acceleration or otherwise, and at all times hereafter,
of (a) all obligations, liabilities and indebtedness of the Borrowers to the Lender related to the Loan
Documents, however and whenever incurred or evidenced, whether direct or indirect, absolute or
contingent, or due or to become due; (b) any and all extensions, renewals, modifications, or
substitutions of the foregoing, and all expenses, including without limitation reasonable attorney's
fees incurred for consultation, trial and appellate representation, if the Lender endeavors to collect
from the Borrowers or any guarantor by law or through an attorney at law; (c) any indebtedness
resulting from advances made on the Borrowers’ behalf by Lender to protect or preserve the priority
of its lien, if any, on any collateral pledged to secure the Liabilities; (d) all other charges and
expenses, including without limitation late charges, and the payment of all costs, expenses, charges
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and other expenditures required to be made by Borrowers, or which Borrowers agree to make, under
the terms and provisions of the Loan documents. All such items (a), (b), (c) and (d) are herein
collectively referred to as the "Liabilities."

        2.      This is a continuing Guaranty and may not be assigned, revoked, modified, or
amended by the Guarantor without Lender's written consent, and Guarantor acknowledges and agrees
that full and adequate consideration for this Guaranty has been given by Lender and received by
Guarantor.

        3.     The obligations of this Guaranty include all of Borrowers' warranties, representations,
obligations, duties and responsibilities under the Loan Documents either now or hereafter existing,
and any renewals or extensions, in whole or in part, together with all damages, losses, costs, interest,
charges, expenses including attorneys' fees, and liabilities of every kind, nature and description
suffered or incurred by Lender arising in any manner of, or in any way connected with or growing
out of the Loan Documents.

        4.      The Guarantor hereby consents and agrees that Lender may at any time, either with or
without consideration, surrender any property or other security of any kind or nature whatsoever held
by it securing any indebtedness or liability covered by this Guaranty, or substitute for any collateral
so held by it, or modify the terms of the Loan Documents securing payment of the principal
indebtedness without notice to or further consent from the Guarantor, and such surrender, substi-
tution or modification shall not in any way affect the obligation of the Guarantor hereunder. The
Guarantor further consents and agrees that Lender may at any time, either with or without consid-
eration, grant extensions of time for performance under the Loan Documents without notice to the
Guarantor and such extension shall not in any way affect the obligation of the Guarantor hereunder.

        5.      The Guarantor hereby consents and agrees that Lender may, at any time, either with or
without consideration, release the Borrowers or any endorser or any other guarantor of the Notes and
Liabilities without notice to or further consent from the Guarantor, and such release shall not in any
way affect the obligation of the Guarantor hereunder not so released.

        6.      Lender shall have the right to proceed against the Guarantor without first proceeding
against the Borrowers, or any property securing payment of the Notes or Liabilities, or any other
Guarantor or endorser of the Notes or Liabilities, and may pursue all or any of its remedies at one or
at different times.

        7.     No delay, act or omission on the part of the Lender with respect to any right, power or
privilege under the Loan Documents securing the same shall operate as a waiver of such privilege,
power or right or as a waiver of any rights under the terms of this Guaranty or in any way affect or
impair this Guaranty.

      8.    This Guaranty shall be construed as an absolute and unconditional guarantee of
payment and performance, without regard to the validity, regularity or enforceability of any
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obligation or purported obligation of Borrowers. Lender shall have its remedy under this Guaranty
without being required to first resort to any security or to any other remedy or remedies to enforce
payment or collection of the obligations hereby guaranteed, and may pursue all or any of its remedies
at one or at different times. The liability of Guarantor shall be separate and independent of the
obligations of Borrowers, and separate or joint actions may be instituted by Lender against any one
or all of the Guarantor or Borrowers, as Lender may choose. Any action taken by Lender pursuant to
the provisions herein contained or contained in the Loan Documents shall not release the party or
parties to this Guaranty until all of the obligations of Borrowers to Lender are paid and performed in
full.

        9.       The Guarantor hereby waives and agrees not to assert or take advantage of: (a) any
right to require Lender to proceed against Borrowers or any other person or entity or to proceed
against or exhaust any security held by it at any time or to pursue any other remedy in its power
before proceeding against the Guarantor; (b) any defense that may arise by reason of the incapacity,
lack of authority, death or disability of, or revocation hereof by other persons; (c) presentment,
demand, protest and notice of any kind including, without limitation, notice of acceptance of this
Guaranty, dishonor, the existence, creation or incurring of any new or additional indebtedness or
obligation or of any action or non-action on the part of any other person or entity whomsoever, in
connection with any obligation hereby guaranteed; (d) any defense based upon any election of
remedies by Lender which destroys or otherwise impairs the subrogation rights of the undersigned or
the right of the undersigned to proceed against Borrower for reimbursement, or both; (e) any duty on
the part of Lender to disclose to the undersigned any facts it may now or hereafter know about
Borrowers; (f) any defense arising by reason of any disability or other defense of Borrowers or by
reason of the cessation from any cause whatsoever of the liability of Borrowers; or (g) any right or
claim of right to cause a marshaling of Borrowers' assets or to require Lender to proceed against the
Guarantor in any particular order.

        10.     Guarantor hereby waives any claim, right or remedy which Guarantor may now have
or hereafter acquire against Borrowers, which arises hereunder and/or from the performance by
Guarantor hereunder, including, without limitation, any claim, remedy or right of subrogation,
reimbursement, exoneration, indemnification, or participation in any claim, right or remedy of
Lender against the Borrower or any security which Lender now has or hereafter acquires, whether or
not such claim, right or remedy arises in equity, under contract, by statute, under common law or
otherwise, and waives any right to enforce any remedy which Lender now has or may hereafter have
against Borrowers, and waives any benefit of, and any right to participate in, any security now or
hereafter held by Lender, until payment in full of the Notes and Liabilities and satisfaction of all of
Borrowers' obligations under the Loan Documents.

        11.    Any indebtedness of Borrowers now or hereafter held by the Guarantor is hereby
subordinated to the indebtedness of Borrowers to Lender. Upon a default under the Loan
Documents, any such indebtedness shall be collected, enforced and received by the Guarantor as
trustee for Lender and be paid over to the Lender on account of the indebtedness of Borrowers to

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Lender, but without reducing or affecting in any manner the liability of the Guarantor under the other
provisions of this Guaranty.

         12.     The Guarantor hereby agrees that until all of the terms, covenants and conditions of
this Guaranty are fully performed, the Guarantors' obligations hereunder shall not be released, in
whole or in part, by any act or thing which might, but for this provision, be deemed a legal or
equitable discharge of a surety or guarantor, or by reason of any waiver, extension, modification,
forbearance or delay or other act or omission of Lender or its failure to proceed promptly or
otherwise, or by reason of any action taken or omitted or circumstances which may or might vary the
risk of or affect the rights or remedies of the Guarantor, or by reason of any further dealings between
Borrowers or Lender; and the Guarantor hereby expressly waives and surrenders any defense to
liability hereunder based upon any of the foregoing acts, omissions, things, agreements or waiver of
any of them, it being the purpose and intent of the parties hereto that the obligations of the Guarantor
hereunder are absolute and unconditional under all circumstances.

        13.    The Guarantor agrees to pay reasonable attorneys' fees, including but not limited to
the fees and costs of paralegals, whether or not suit is filed and including such fees at state, federal,
bankruptcy, trial and appellate courts, and all other costs and expenses which may be incurred by
Lender in the enforcement of Borrowers' obligation and/or of this Guaranty.

        14.     All notices which are required or permitted hereunder must be in writing and shall be
deemed to have been given, delivered or made, as the case may be, (notwithstanding lack of actual
receipt by the addressee): (i) when delivered by personal delivery; or (ii) three (3) business days after
having been deposited in the United States mail, certified or registered, return receipt requested,
sufficient postage affixed and prepaid; or (iii) one (1) business day after having been deposited with
an expedited, overnight courier service (such as by way of example but not limitation, U.S. Express
Mail, Federal Express or Purolator), addressed to the party to whom notice is intended to be given at
the address set forth below:

                If to Dr. Trespalacios:

                         Dr. Rafael Trespalacios
                         4448 Reseda Way
                         Rockledge, FL 32955

                         and

                         Roy S. Kobert, Esq.
                         301 East Pine Street, Suite 1400
                         Orlando, Florida 32801

                If to SummitBridge:

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                         SummitBridge National Investments V LLC
                         c/o Summit Investment Management LLC
                         Attn: Senior Asset Manager
                         1700 Lincoln St., Suite 2150
                         Denver, CO 80203

        Any party may change the address to which its notices are sent by giving the other party
written notice of any such change in the manner provided in this Section, but notice of change of
address is effective only upon receipt.

        15.     This Guaranty shall inure to the benefit of the Lender, its successors and assigns, and
shall bind the Guarantor, and the respective heirs, executors, administrators, legal representatives,
successors and assigns of the Guarantor.

      16.     Whenever the text of this instrument so requires, the use of any gender shall be
deemed to include all genders, and the use of the singular shall include the plural.

         17.    The Guarantor acknowledges that the making of the Loan by the Lender to the
Borrower confers a real and substantial benefit to the Guarantor and is fully supportive of and
valuable consideration for the execution of this Guaranty by the Guarantor. The Guarantor further
acknowledges that he is thoroughly familiar with the business and operations of the Borrowers. The
Lender shall have no duty to the Guarantor to observe the actions or financial conditions of the
Borrowers or to monitor the performance of the Borrowers. It is the intention of the parties that the
Lender may rely completely on this Guaranty for its repayment of the Borrowers' indebtedness and
obligations whether or not the Borrowers are creditworthy and whether or not it would be prudent to
make loans and advances to the Borrowers or to permit the same to remain outstanding. The Lender
and its representatives shall have no duty to exercise diligence or care in and about the enforcement
of the remedies or in respect to any other security for the Borrowers' obligations.

         18.     This Guaranty shall be governed and controlled by Florida law. The Guarantor, in
order to induce the Lender to accept this Guaranty, and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, agrees that all actions or proceedings
arising directly, indirectly or otherwise in connection with, out of, related to or from this Guaranty
shall be litigated, at Lender’s election, only in courts having a situs within or whose jurisdiction
includes Brevard County, Florida. For the purpose of the foregoing, the Guarantor hereby consents
and submits to the jurisdiction of any local, state or federal court located within or whose jurisdiction
includes Brevard County, Florida. The Guarantor, for themselves and any parties claiming under
them, hereby waives any right that the Guarantor may have to transfer or change the venue of any
litigation brought against the Guarantor in accordance with this paragraph. The Guarantor acknowl-
edges that the provisions of this paragraph have been fully discussed by the Guarantor and the
Lender, that they bargained at arm's length and in good faith and without duress of any kind for the
terms and conditions of this paragraph and that the provisions hereof shall be subject to no
exceptions. No party has in any way agreed with or represented to any other party that the provisions
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of this paragraph will not be fully enforced in all instances. Wherever possible each provision of this
guaranty shall be interpreted in such manner as to be effective and valid under applicable law, but if
any provision of this guaranty shall be prohibited by or invalid under such law, such provision shall
be ineffective to the extent of such prohibition or invalidity, without invalidating the remainder of
such provision or the remaining provisions of this guaranty.

      19. WAIVER OF JURY TRIAL. THE UNDERSIGNED HEREBY KNOWINGLY,
VOLUNTARILY AND INTENTIONALLY WAIVES THE RIGHT THAT THE UNDERSIGNED
MAY HAVE TO A TRIAL BY JURY IN RESPECT TO ANY LITIGATION BASED HEREON,
OR ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS GUARANTY AND ANY
AGREEMENT CONTEMPLATED TO BE EXECUTED IN CONJUNCTION HEREWITH, OR
ANY COURSE OF CONDUCT, COURSE OF DEALING, STATEMENTS (WHETHER ORAL
OR WRITTEN) OR ACTIONS OF THE UNDERSIGNED OR LENDER IN CONNECTION WITH
THIS GUARANTY. THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE LENDER
MAKING LOANS OR OTHER FINANCIAL ACCOMMODATIONS TO BORROWERS.

        IN WITNESS WHEREOF, the Guarantor has caused these presents to be signed, sealed and
delivered the day and year first above written.

                                                               GUARANTOR:

                                                               ______________________________
                                                               Dr. Rafael Trespalacios, individually




STATE OF FLORIDA
COUNTY OF ___________

       The foregoing instrument was acknowledged before me this ___ day of _______, 2018, by
Dr. Rafael Trespalacios, individually. He is personally known to me OR produced a Florida
Driver’s License as identification.

                                                       _____________________________________
                                                       Notary Public

(NOTARY SEAL)                                          _____________________________________
                                                       (Type, Stamp or Print Name)

                                                       My commission expires:

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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


In re:

BREVARD EYE CENTER, INC.                             Case No. 6:17-bk-01828-RAC
                                                     Chapter 11

                                                     Jointly Administered With

BREVARD SURGERY CENTER, INC.,                        Case No.: 6:17-bk-01829-RAC

MEDICAL CITY EYE CENTER, P.A.,                       Case No.: 6:17-bk-01830-RAC

THMIH, INC.,                                         Case No.: 6:17-bk-01831-RAC

      Debtors.
_____________________________________________/

           ORDER (I) APPROVING SETTLEMENT PURSUANT TO
   BANKRUPTCY RULE 9019, (II) MODIFYING THE AUTOMATIC STAY, AND (III)
                      GRANTING RELATED RELIEF

          Upon the motion, dated June 13, 2018, of the jointly administered Debtors, BREVARD

EYE CENTER, INC. (“BEC”), BREVARD SURGERY CENTER, INC. (“BSC”), MEDICAL

CITY EYE CENTER, P.A. (“MCEC”), AND THMIH, INC. (“THMIH”) (collectively, the

“Debtors”), for entry of an order pursuant to sections 105(a), 363(b) and 362(d) of title 11 of the

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United States Code (the “Bankruptcy Code”) and Rules 4001(a) and 9019(a) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) (A) approving the Settlement1 set forth in the

Settlement Agreement, substantially in the form attached to the Motion, by and among (i) Brevard

Eye Center, Inc., Brevard Surgery Center, Inc., Medical City Eye Center, P.A., and THMIH, Inc.

(the “Debtors”), and (ii) SummitBridge National Investments V LLC (“SummitBridge”), creditor

and party in interest (collectively, the “Parties”); and (B) modifying the automatic stay as to the

Properties (the (“Settlement Motion”); and

           Upon consideration of the Settlement Motion, any objections thereto, briefs and arguments

of counsel, and due and proper notice of the Motion having been provided to all parties in interest,

and it appearing that the notice of the Motion is sufficient, adequate, and timely under the

circumstances of this case and that no other or further notices need be provided; and a reasonable

opportunity to object or be heard regarding the motion having been given to all such parties; and

a full and fair opportunity having been afforded to litigate all issues raised in all objections, or

which might have been raised, and all objections having been fully and fairly litigated;

IT IS HEREBY ORDERED THAT:

           1.       The Motion is granted in all respects.

           2.       The Settlement described in the Motion and Settlement Agreement is authorized

and approved pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure.

           3.       The Debtors are authorized to enter into the Settlement Agreement, and take all

actions reasonably necessary to consummate the Settlement Agreement and perform all obligations

contemplated therein.




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    Capitalized terms in this Order shall have the meaning given to such terms in the Settlement Agreement.

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          4.      To the extent it applies, the automatic stay imposed by section 362(a) of the

Bankruptcy Code is modified to permit the enforcement and consummation of the Settlement

Agreement in all respects.

          5.      The automatic stay imposed by Section 362(a) is hereby immediately lifted,

modified, and terminated to allow SummitBridge to exercise any or all of its rights and remedies

under applicable law concerning the Properties, including, but not limited to, completion of

foreclosure sales and issuances of certificates of title.

          6.      All leases and purchases of property that are being entered into in connection with

the Settlement Agreement are being entered into and consummated by the parties thereto in good

faith within the meaning of Section 363(m) of the Bankruptcy Code and, accordingly, the

Settlement Agreement and the parties thereto shall be afforded the protections of Section 363(m)

of the Bankruptcy Code.

          9.       In the event that the Bankruptcy Cases are dismissed, the Debtors are barred from

filing new voluntary bankruptcy cases for a period of two years after the date of dismissal.

          7.      The Court shall retain jurisdiction to (i) enforce and implement the terms and

provisions of the Agreement and resolve disputes thereunder, and (ii) implement and enforce the

provisions of this Order.

          8.      All objections to the Motion or the relief requested therein that have not been

withdrawn, waived, or settled, and all reservations of rights included therein, are overruled on the

merits.

          9.      This Order shall be effective and enforceable immediately upon entry and shall

constitute a final order within the meaning of 28 U.S.C. § 158(a). To the extent applicable, the

stays under Bankruptcy Rules 4001(a)(3) and 6004(h) are hereby waived. The Settlement Motion



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provides reasonable notice of the provisions of the Settlement Agreement and opportunity for a

hearing, and therefore, the procedural requirements of Bankruptcy Rule 4001(d), to the extent not

satisfied, are hereby waived.

                                                           ###
Submitted by:

Richard A. Robinson, Esq.
Florida Bar No. 41238
Jonathan M. Sykes, Esq.
Florida Bar No. 73176
Burr & Forman LLP
200 South Orange Avenue
Suite 800
Orlando, Florida 32801
Telephone: 497-540-6600
Telefax: 407-540-6601
rrobinson@burr.com
jsykes@burr.com
Attorneys for Creditor, SummitBridge National Investments V LLC


Attorney Sykes is directed to serve a copy of this Order on all interested
parties and to file a proof of service within three days of entry of the Order.




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      EXHIBIT “C”




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                                                   LEASE

         THIS LEASE AGREEMENT (“Lease”) is made this ____ day of August, 2018, by and between the
“Landlord” and the “Tenant” hereafter set forth. The “Effective Date” for purposes of this Lease shall mean
the date upon which the last of Landlord and Tenant have executed this Lease.

                                              WITNESSETH:

1.     DEFINITIONS.

       (a)      Landlord:        THMIH, INC., a Florida corporation
                Address:         665 South Apollo Boulevard
                                 Melbourne, Florida 32901

        (b)     Tenant:          BREVARD EYE CENTER, INC., a Florida corporation;
                                 BREVARD SURGERY CENTER, INC., a Florida corporation; and
                                 MEDICAL CITY EYE CENTER, P.A., a Florida corporation, jointly and
                                 severally
                Address:         665 South Apollo Boulevard
                                 Melbourne, Florida 32901

                (c)      “Premises”: 9,028 square feet of rentable area, as outlined in red on the attached
                Exhibit “A” expressly made a part hereof. The Premises are located within the structure,
                hereinafter called the “Building,” located at 665 South Apollo Boulevard, Melbourne, Brevard
                County, Florida 32901. Landlord reserves the sole and exclusive right, at any time and from
                time to time, to name and re-name the Building, but shall not affect any business signage that
                may be reflected on the Building (except to the extent that it violates any applicable law). For
                the purposes of Items 1(j), 4, 5 and 9 of this Lease, the term “Building” includes its
                appurtenances and surrounding common areas outside the Building, including without
                limitation, grounds, parking facilities, site lighting and costs and charges associated therewith.

        (d)     “Use of Premises”: medical office use for licensed physicians to engage in the private practice
                of medicine for the care and treatment of human beings and ancillary, related activities
                incidental thereto including ophthalmologic surgery, general optometry including the
                examination, prescription and dispensation of eyewear, and administrative offices.
                Notwithstanding the generality of the foregoing sentence, Tenant’s use and occupancy of the
                Premises shall at all times comply with the use restrictions set forth in Exhibit “D”, attached
                hereto and made a part hereof.

                (e)     “Commencement Date”: August 1, 2018. At Landlord’s option, Tenant shall
                execute a Lease Commencement Date certification confirming the Commencement Date of
                the Lease and Tenant’s Proportionate Share.

                (f)     “Term”: Sixty (60) months commencing on the Commencement Date, this Lease to
                end on the last day of the sixtieth (60th) calendar month after the Commencement Date.




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                (g)     “Rent”: During the Term of this Lease, Tenant, starting with the Rent
                Commencement Date, shall pay to Landlord base Rent of $11,285.00 per month for the initial
                twelve (12) month period and subject to upward adjustment annually as follows:

                At the end of the first Lease Year and every twelve (12) months thereafter (each twelve (12)
                month period being considered a ‘Lease Year’) during the term of this Lease plus any option
                years, the amount of base Rent shall be adjusted and such adjusted amount shall then be the
                base Rent for the following Lease Year. The base Rent for each Lease Year after the initial
                Lease Year shall be equal to the base Rent for the Lease Year just ended multiplied by the
                percentage increase in CPI in effect for the month preceding the twelfth (12th) month of such
                Lease Year. As used in this Lease, “CPI” shall mean the Consumer Price Index for All Urban
                Consumers (CPI-U), U.S. City Average, all items, as published by the United States
                Department of Labor, Bureau of Labor Statistics. If the CPI is discontinued or revised, the CPI
                used for purposes of this Lease shall be adjusted or replaced by Landlord with an index or
                measure reasonably calculated by Landlord to measure the change in the cost of living in a
                manner consistent with the CPI. In no event shall the base Rent, as so escalated, for any Lease
                Year be less than one hundred percent (100%) of the base Rent in effect for the immediately
                preceding Lease Year.

                During the period of time between the Commencement Date and the Rent Commencement
                Date, Tenant shall not be required to pay Rent, but the Tenant shall be responsible for all taxes,
                insurance costs, and other charges and amounts due and payable by Tenant under this Lease
                and all other obligations of the Tenant under this Lease.

                         Said base Rent shall be paid by Tenant to Landlord in equal monthly installments for
                each of the above-described periods, each monthly payment, plus applicable state sales tax, to
                be made in advance and on or before the first day of the applicable month. Any partial calendar
                months shall be pro-rated.

                         Rent and all other sums payable by Tenant to Landlord under this Lease, plus any
                applicable tax, shall be paid to Landlord, without demand, recoupment, abatement, deduction
                or offset, at ________________________ or at such other place(s) as Landlord may hereafter
                specify in writing.

                (h)     “Security Deposit”: The sum of Eleven Thousand Two Hundred Eighty Five Dollars
                ($11,285.00). (i)         “Real Property”: The underlying real property upon which the
                Building is located that is owned by THMIH, Inc., a Florida corporation.

                (j)     “Real Estate Taxes”: Real Estate Taxes shall have the meaning set forth in Item 4
                herein.

                (k)    “Proportionate Share”: The term “Proportionate Share” shall mean 100% of the
                Premises.

                (l)     “Rent Commencement Date”: January 1, 2019.

2.       PREMISES AND TERM. Landlord, in consideration of the Rent and Additional Rent hereinafter
reserved to be paid and of the covenants, conditions and agreements to be kept and performed by Tenant,
hereby leases, lets and demises to Tenant, and Tenant hereby leases and hires from Landlord, that certain space
called the Premises as described above in Item 1, Section (c).




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        Landlord shall deliver possession of the Premises to Tenant on the Commencement Date in an AS-IS
condition. Tenant agrees that all expenses of the Premise, including, but not limited to, insurance,
maintenance, and repairs, are the sole responsibility of Tenant during the Term of the Lease and that
the Premises shall be maintained in a professional and safe manner. Tenant also acknowledges it has
occupied the Premise for several years and is fully aware of the conditions of the Premises and accepts
the Premises in its AS-IS condition.

3.       RENT. Tenant covenants and agrees to pay Rent and Additional Rent, without demand, recoupment,
abatement, deduction or offset, to Landlord commencing on the Rent Commencement Date for the Premises
and on or before the first (1st) day of each and every successive calendar month thereafter during the full Term
of this Lease, subject to the adjustments as provided in Item 1(g), along with any applicable tax, at the then
current rate.

         Whenever under the terms of this Lease any sum of money is required to be paid by Tenant in addition
to the Rent herein reserved, whether or not such sum is herein described as “Additional Rent” or a provision
is made for the collection of said sum as “Additional Rent,” said sum shall nevertheless, at Landlord’s option,
if not paid when due, be deemed Additional Rent, and shall be collectible as such with the first installment of
Rent thereafter falling due hereunder. In the event any installment or increment of Rent or Additional Rent
payable under this Lease shall not be paid within ten (10) calendar days of when due, a “late charge” of $500.00
may be charged (as Additional Rent) by Landlord for the purpose of defraying the expense and inconvenience
incident to handling such overdue payment and for the purpose of compensating Landlord for its attendant
inconvenience and loss of cash flow.

4.      REAL ESTATE TAXES ADJUSTMENTS. During the Term of this Lease, and any
extension(s) thereof, Tenant, beginning with the Commencement Date, shall directly pay to the applicable
taxing authority(ies), in the form of Additional Rent (plus any applicable tax), all real estate taxes and personal
property and/or assessments due and owing prior to the taxes and/or assessments becoming delinquent.
Additionally, the parties hereby agree that Tenant shall be responsible for Real Estate Taxes accruing between
January 1, 2018 and the Commencement Date.

         In lieu of the above, at Landlord’s election, Tenant shall pay Landlord on or before the first day of
each calendar month one-twelfth (1/12) of the amount of Tenant’s estimated annualized liability for such Real
Estate Taxes for the then current calendar year. At any time and from time to time during the then applicable
current calendar year, Landlord may (but not unreasonably) re-estimate Tenant’s monthly monetary
responsibilities under this Item 4 and Tenant shall pay Landlord such re-estimated amounts. There shall be an
annual reconciliation between what Tenant paid and what Tenant should have paid. Any amount paid by
Tenant which exceeds the correct amount due shall be credited to the next succeeding payment due under this
Item 4. If Tenant has paid less than the correct amount due, Tenant shall pay the balance within fifteen (15)
calendar days of receipt of notice from Landlord. If the Term of this Lease begins or ends other than on the
first day or last day of a calendar year, the subject Real Estate Taxes shall be billed and adjusted on the basis
of such fraction of a calendar year. Tenant’s obligation to pay the adjustments described in this Item 4 shall
survive the expiration or earlier termination of this Lease. Tenant shall have thirty (30) calendar days
immediately following the submission to it by Landlord of each applicable adjustment calculation to object to
such particular calculation. If Tenant fails duly and timely to object to such particular calculation, which
objection, to be effective, must be in writing and must state the specifics of such particular objection, then, the
parties understand and agree, Landlord’s calculation shall be conclusively deemed to be correct.

        The term “Real Estate Taxes” shall include, but not be limited to, each, every, any and all taxes,
assessments, levies and/or other charges (of any nature or description whatsoever) imposed (or sought to be
imposed): (a) against the Real Property of which the Building or the Premises are a part and/or (b) against the
appurtenances and/or facilities of, within or serving the Building or the Premises, by any authority having (or
claiming to have) the power so to tax, assess, levy or charge, whether the same are general or special, ordinary

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or extraordinary, foreseen or unforeseen, including, but not limited to, any city, county, state or federal
government, or any school, agricultural, transportation or environmental control agency, lighting, drainage, or
other improvement district thereof, and said term also shall include the expenses of contesting the amount or
validity of any such taxes, assessments, levies and/or other charges.

5.      OPERATING EXPENSE AND UTILITY ADJUSTMENTS. During the Term of this Lease, and
any extension(s) thereof, Tenant, beginning with the Commencement Date, shall directly pay all Operating
Expenses and Utility Costs.



         The term “Operating Expenses” shall include, but not be limited to, the annual expenses for the
operation, management, repair and maintenance of the Premises and the Building which are reasonable or
customary for the operation, management, repair and maintenance of this type of Premises and Building, and
shall include, but not be limited to , maintenance and janitorial expense, costs of maintenance and janitorial
expense, repairs and replacements, compliance with applicable current and future laws, rules, codes,
regulations, etc., management and operation of the Building, taxes and fees, employee benefits, administrative
salaries, costs and fees, insurance, security, landscaping and costs, including without limitation, as applicable,
common area parking lot maintenance, landscaping, liability insurance, lawn maintenance and similar costs
and expenses.

        The term “Utility Costs” shall include the annual expenses for the operation and maintenance of the
Building with respect to charges, costs and taxes for furnishing heat, air-conditioning, electricity, water,
sewerage, gas, garbage removal, etc. for common areas. The defined terms the subject of this particular
paragraph are for definitional purposes only and shall not impose any obligation whatsoever upon Landlord to
incur any expense or provide any service within such defined terms.



6.       USE OF PREMISES. The Premises shall be used by Tenant as described above in Item 1,
Section (d), and for no other business or purpose whatsoever without the prior written discretionary consent of
Landlord. Tenant shall not do or permit to be done in or about the Premises, nor bring or keep or permit to be
brought or kept therein, anything which is prohibited by, or will in any way conflict with, any law, statute,
ordinance or governmental rule or regulation now in force or which may hereafter be enacted or promulgated,
or which is presently or hereafter prohibited by any standard form of fire insurance policy or will presently or
hereafter in any way increase the existing rate of or affect any fire or other insurance upon the Building or any
of its contents, or presently or hereafter cause a cancellation of any insurance policy covering the Building or
any part thereof or any of its contents. Tenant shall not do or permit anything to be done in or about the
Premises which will presently or hereafter in any way obstruct or interfere with the rights of other tenants of
the Building, or injure or annoy them or use or allow to be used the Premises for any improper, immoral,
unlawful or objectionable purpose (as determined by Landlord); nor shall Tenant cause, maintain, or permit
any nuisance (as determined by Landlord or by law) in or about the Premises or commit or suffer to be
committed any waste in, on, or about the Premises. Tenant shall be responsible for all losses and damages to
Landlord as a result of Tenant’s failure to use, occupy and surrender the Premises in strict accordance with the
contents of this Lease, and such responsibility shall survive the expiration or earlier termination of this Lease.
Tenant, at Tenant’s expense, shall comply with all laws, rules, orders, statutes, ordinances, directions,
regulations and requirements of all federal, state, county and municipal authorities pertaining to Tenant’s use
and occupancy of the Premises and with the recorded covenants, conditions and restrictions pertaining thereto,
regardless of when they become effective or applicable, including, without limitation, all applicable federal,
state and local laws, regulations or ordinances pertaining to air and water quality, Hazardous Materials, waste
disposal, air emissions and other environmental matters, all zoning and other land use matters, and with any
direction of any public officer or officials which shall impose any duty upon Landlord or Tenant with respect

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to the use or occupation of the Premises. For the purposes of this Item 6, the term “Tenant” includes Tenant’s
agents, employees, principals, officers, successors, assigns, subtenants, invitees, contractors and consultants.

7.      ASSIGNMENT AND SUBLETTING. Tenant shall not assign the right of occupancy under this
Lease, or any other interest therein, or sublet the Premises, or any portion thereof, without the prior written
consent of Landlord, which consent will not be unreasonably withheld. For avoidance of doubt, any assignment
or sublease proposed by a party for a use in any manner concerning marijuana, or for use other than the current
use (namely, ophthalmology and eye care), will not be permitted. If Landlord elects to grant its written consent
to any proposed assignment or sublease (whether by Tenant or by others claiming by or through Tenant),
Tenant or such others agree to pay Landlord an administrative processing fee in the amount of $1,250.00, plus
reasonable attorney’s fees to review and approve such assignment or sublease, and Landlord may prescribe the
substance and form of such assignment or sublease.



        Notwithstanding any assignment of this Lease, or the subletting of the Premises, or any portion thereof,
Tenant shall continue to be fully liable for the performance of the terms, conditions and covenants of this
Lease, including, but not limited to, the payment of Rent and Additional Rent. Landlord shall have the
additional option, which shall be exercised by providing Tenant with written notice, of terminating Tenant’s
rights and obligations under this Lease rather than permitting any assignment or subletting by Tenant, any
statement or implication in this Lease or at law to the contrary notwithstanding. The acceptance of Rent and/or
Additional Rent and/or other monies from any person or entity other than Tenant shall not be deemed to be a
waiver of any of the provisions or contents of this Lease or to be a consent to the assignment of this Lease or
the subletting of all or any part of the Premises or the occupancy thereof by any person or entity other than
Tenant.

         If Landlord permits any assignment or subletting by Tenant and if the monies (no matter how
characterized) received as a result of such assignment or subletting, when compared to the monies still payable
by Tenant to Landlord, be greater than would have been received hereunder had not Landlord permitted such
assignment or subletting, then fifty percent (50%) of the excess shall be payable by Tenant to Landlord, it
being the parties’ intention that Landlord, and not Tenant, in consideration for Landlord’s permitting such
assignment or subletting, shall share in any profit from any such assignment or subletting. In the event of the
transfer and assignment by Landlord of its interest in this Lease and/or sale of the Building containing the
Premises, either of which it may do at its sole option, Landlord shall thereby be released from any further
obligations hereunder, and Tenant agrees to look solely to such successor in interest of Landlord for
performance of such obligations. The provisions of Item 36 hereafter dealing with “Notices” shall be amended
to provide the correct names and addresses of the assignee or sublessee. If Tenant is a corporation whose stock
is not regularly traded on a bona fide public exchange, and if any transfer, sale, pledge or other disposition of
the common stock shall occur which changes the power to vote the majority of the outstanding capital stock
of the company, such action shall be considered an assignment under the terms of this Lease. Any breach of
this Item 7 by Tenant will constitute an automatic default under the terms of this Lease, per Item 20 hereof.

8.       ACCESS TO PREMISES. Landlord or its authorized agent(s) shall have the right to enter upon the
Premises at all reasonable times for the purposes of inspecting the same, preventing waste, making such repairs
as Landlord may consider necessary (but without any obligation to do so except as expressly provided for
herein). During the last one hundred eighty (180) calendar days of the Term, Landlord or its authorized
agent(s) may, upon two business days prior notice, have the right to enter and show the Premises to prospective
tenants, mortgagees and/or purchasers at reasonable times.

9.        TENANT UTILITIES. Tenant acknowledges it is solely responsible for providing and paying for
all utility service to the Building. It is expressly understood and agreed by the parties that Landlord specifically
shall not be liable for any losses or damages of any nature whatsoever incurred by Tenant due to any failure of

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the equipment to function properly, or while it is being repaired, or for interruption of services furnished herein,
due to any governmental laws, regulations or restrictions.

         Tenant agrees that Landlord is not responsible for any Building maintenance and services. Tenant is
and shall be solely responsible for any and all expenses and costs of any nature whatsoever associated with
operation, maintenance, upkeep and repair of the interior of the Premises, including without limitation, (i)
electric service separately metered to the Premises, (ii) water service separately metered to the Premises, (iii)
plumbing and bathroom facilities located within and serving the Premises, and (iv) maintaining tenant
improvements in the Premises and replacing lighting fixtures and bulbs in the Premises.

10.     ELECTRICAL OVERLOAD; STRUCTURAL OVERLOAD.

         A.      Tenant’s electrical load in the Premises shall not exceed the level customarily and typically
utilized for medical office use.

        B.       Tenant shall not place a load upon any floor of the Premises exceeding the floor load per
square foot area which such floor was designed to carry and which may be allowed by law. Landlord reserves
the right to prescribe the weight and position of all heavy equipment and similar items, and to prescribe the
reinforcing necessary, if any, which in the opinion of Landlord may be required under the circumstances, such
positioning and reinforcing to be at Tenant’s pre-paid expense.

11.      PARKING AREAS AND COMMON AREAS. Tenant shall keep and maintain or cause to be kept
in good condition any parking areas that may be provided. Landlord reserves the right, at the expense of
Tenant, to control the method, manner and time of parking in parking spaces so long as parking is permitted
so as to allow ordinary course business operations. Landlord shall not be responsible at all, any statement or
implication elsewhere in this Lease to the contrary notwithstanding, for the security of the parking areas
provided pursuant to this Lease.

          Landlord reserves the right to impose reasonable rules and regulations regarding the common parking
areas so long as parking is permitted so as to allow ordinary course business operations.

         Any statement or implication elsewhere in this Lease to the contrary notwithstanding, Landlord shall
have the unrestricted right, which shall not be subject to Tenant’s prior notice or consent, to change the size,
use, capacity, configuration, shape or nature of the Building, its common areas and its appurtenances so long
as the Building will continue to be available to provide ordinary course business operations in order to function
as set forth in paragraph 1(d).

12.     LEASEHOLD IMPROVEMENTS. The Premises are rented “as is,” without any additional services
or improvements to be rendered by Landlord.

13.      REPAIRS AND MAINTENANCE. Tenant will, at its own cost (as part of the Operating Expenses),
make necessary repairs of damage to the Building corridors, lobby, structural members of the Building, and
equipment used to provide services to the Building. Tenant will allow no maintenance or repairs to be done
in, on, to or about the Premises other than by a contractor (such term to include all degrees and levels of
subcontractors) approved by Landlord in writing prior to any such maintenance or repairs being undertaken.
Landlord shall be entitled to require such contractor to be bonded and insured in such amounts and with such
companies as Landlord may in its discretion prescribe. Tenant will not injure the Premises or the Building but
will maintain the Premises in a clean, attractive condition and in good repair, except as to damage to be repaired
by Landlord as provided above. Upon termination of this Lease, Tenant will surrender and deliver the Premises
to Landlord in the same condition in which they existed at the commencement of this Lease, excepting only
ordinary wear and tear and damage arising from any cause not required to be repaired by Tenant.



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14.      ALTERATIONS AND IMPROVEMENTS. Tenant absolutely shall not make any alterations,
additions or improvements to or in the Building outside the Premises. Furthermore, Tenant shall make no
alterations, additions or improvements to or in the Premises without the prior written approval of Landlord,
and unless in each instance and for each such alteration, addition or improvement Landlord or a contractor
approved by Landlord is hired to do such alterations, additions or improvements. Such approval shall not be
unreasonably withheld in the case of alterations, additions or improvements to the interior of the Premises if
such alterations, additions, or improvements are normal for the use described in Item 1 (d) of this Lease, do
not violate any applicable laws, codes, ordinances, etc., do not adversely affect utility of the Premises for future
tenants, do not alter the exterior of the Building, do not affect portions of the Building outside of the Premises,
and are accompanied by insurance satisfactory to Landlord and by prepayment or bond provisions or waivers
by the contractor in form satisfactory to Landlord sufficient to protect the Building from claims of lien of any
sort; otherwise, such approval may be withheld for any reason whatsoever. Furthermore, such alterations,
additions or improvements absolutely shall not affect the mechanical, plumbing, electrical and HVAC systems
in the Premises or the Building and shall not be of a structural nature. Tenant shall conduct its work in such a
manner as to maintain harmonious labor relations and as not to interfere with the operation of the Building and
shall, prior to the commencement of the work, submit to Landlord copies of all necessary permits. Landlord
reserves the right to have final approval of the contractors hired by Tenant. All such contractors hired by
Tenant shall be, at levels and coverages prescribed by Landlord, bonded and insured, and Landlord may require
evidence of same, which Tenant agrees to secure and provide Landlord prior to the commencement of any
work by such contractors. All alterations, additions or improvements, whether temporary or permanent in
character, made in or upon the Premises, either by Landlord or Tenant, shall be Landlord’s property and at the
end of the term hereof shall remain in or upon the Premises without compensation to Tenant. All of Tenant’s
furniture, movable trade fixtures and equipment not attached to the Building may be removed by Tenant at the
expiration of this Lease, if Tenant so elects, and shall be so removed, if required by Landlord, and, if not so
removed, shall, at the option of Landlord, become the property of Landlord. To the extent Tenant makes any
alterations, additions or improvements and/or to the extent Landlord on behalf of Tenant under an “Extra
Work Agreement” makes such alterations, additions or improvements, and as a result thereof it can be clearly
determined that thereupon was caused an increase in real estate taxes or insurance premiums, then Tenant shall
be responsible for reimbursing Landlord for such increases as Landlord may pay.

       Landlord expressly reserves the right (but shall not have the obligation) to further develop, add to,
improve, repair and alter the Building and all its common areas, appurtenances, roadways, parking areas, etc.,
as Landlord may see fit, free from any and all liability of any nature whatsoever to Tenant for loss of business
or damages of any nature whatsoever to Tenant occasioned during the making of such improvements,
developments, additions, repairs and alterations.

15.      INDEMNITY. Landlord shall not be liable for, and Tenant will indemnify and save Landlord (and
Landlord’s officers, principals, agents, employees and insurers) harmless of and from, each, every, any and all
fines, suits, damages, claims, demands, losses and actions (including attorney’s fees) for any injury to person
or damage to or loss of property on or about the Premises and Building caused by the negligence or misconduct
or breach of (or non-compliance with) this Lease by Tenant, its employees, agents, principals, contractors,
consultants, assigns, subtenants, invitees or by any other person entering the Premises or the Building under
express or implied invitation of Tenant, or arising out of Tenant’s use of the Premises. Landlord absolutely
shall not be liable or responsible for any loss or damage to any property or the death or injury to any person
occasioned by theft, crime (of any nature whatsoever), fire, act of God, public enemy, injunction, riot, strike,
insurrection, war, court order, requisition of governmental body or authority, by other tenants of the Building
or by any other matter beyond the absolute control of Landlord, or for any injury or damage or inconvenience
which may arise through repair or alteration of any part of the Building, or failure to make repairs, or from any
cause whatsoever except Landlord’s negligence or intentional act. It is specifically understood and agreed that
there shall be no personal liability on Landlord (nor on Landlord’s officers, principals, agents and
employees) with respect to any of the covenants, conditions or provisions of this Lease.


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16.       DAMAGE BY FIRE OR THE ELEMENTS. In the event that the Building is totally destroyed by
fire, tornado or other casualty, or in the event the Premises or Building is so damaged that rebuilding or repairs
cannot be completed within one hundred eighty (180) calendar days after the date of such damage, either
Landlord or Tenant may, at its option, by written notice to the other given not more than sixty (60)
calendar days after the date of such fire or other casualty, terminate this Lease. In such event, the Rent and
Additional Rent shall be abated during the unexpired portion of this Lease effective with the date of such fire
or other casualty.

         In the event the Building or the Premises are damaged by fire, tornado, hurricane, or other casualty
covered by Landlord’s insurance but only to such extent that rebuilding or repairs can be completed within one
hundred eighty (180) calendar days after the date of such damage, or if the damage should be more serious but
neither Landlord nor Tenant elects to terminate this Lease, then Landlord may, within thirty (30) calendar days
after the date of such damage or such election, commence to rebuild or repair the Building and/or the Premises
and may proceed with reasonable diligence to restore the Building and/or the Premises to substantially the
same condition in which it/they was/were immediately prior to the happening of the casualty, except that
Landlord shall not be required to rebuild, repair or replace any part of the furniture, equipment, fixtures and
other improvements which may have been placed by Tenant or other tenants or occupants within the Building
or Premises. Landlord shall, unless such damage is deemed by Landlord to be the result of the negligence or
willful misconduct of Tenant or Tenant’s employees, agents, principals, contractors, consultants, assigns,
subtenants or invitees, allow Tenant a fair diminution of Rent and Additional Rent during the time of such
rebuilding or repairs. In the event any mortgagee, or the holder of any deed of trust, security agreement or
mortgage on the Building, requires that the insurance proceeds be used to retire the mortgage debt, Landlord
shall have no obligation to rebuild and this Lease shall terminate upon notice to Tenant. Any insurance which
may be carried by Landlord or by Tenant against loss or damage to the Premises or its contents shall be for the
sole benefit of the party carrying such insurance and under its sole control.

17.      BUILDING RULES AND REGULATIONS. Tenant shall faithfully observe and comply with the
Rules and Regulations printed on or annexed to this Lease as Exhibit “B” (and expressly made a part of) and
all reasonable modifications of and additions thereto from time to time put into effect by Landlord. Landlord
shall not be responsible to Tenant for the nonperformance of any of said Rules and Regulations by any other
tenant, occupant, invitee or visitor of the Building. Tenant shall and does hereby have an affirmative obligation
(to include indemnification of Landlord, per Item 15 hereof) to notify its agents, employees, principals, assigns,
subtenants and invitees of the contents of such Rules and Regulations and of this Lease and to assure their
compliance therewith.

18.      EMINENT DOMAIN. If the whole or a portion of the Building is taken for any public or quasi-
public use under any statute or by right of Eminent Domain or private purchase in lieu thereof, then at
Landlord’s option, but not otherwise, this Lease, the Term hereby demised and each, every, any and all rights
of Tenant hereunder shall immediately cease and terminate and the Rent and Additional Rent shall be adjusted
as of the date of such termination. Tenant shall be entitled to no part of the award made for such condemnation
(or other taking) or the purchase price thereof; provided, however, that to the extent the same does not decrease
or lessen the award due to Landlord, Tenant shall be entitled to claim and receive any award from the
governmental entity responsible for such taking solely pertaining to Tenant’s leasehold estate and other
permissible claims under applicable law. Nevertheless, anything to the contrary notwithstanding, likewise at
Landlord’s option, but not otherwise, if the Premises are unaffected by such condemnation (or other taking),
then this Lease and each and every one of its provisions shall continue in full force and effect.

19.      SIGNS AND ADVERTISING. Without the prior written approval of Landlord, which may be
withheld at Landlord’s discretion, Tenant shall not permit the painting or display of any signs, placard,
lettering, or advertising material of any kind on or near the exterior of the Premises or the Building.
Notwithstanding the foregoing, Tenant may, with Landlord’s prior approval, display Tenant’s name on or near


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the entrance to the Premises, in a Building-standard manner prescribed by Landlord. The parties stipulate that
the present signage on the Building is acceptable (provided that it complies in all respects with applicable law).

20.      TENANT’S DEFAULT. Landlord, at its election, may exercise any one or more of the options
referred to below upon the happening, or at any time after the happening, of any one or more of the following
events, to wit:

        (a)      Tenant’s failure to pay the Rent, Additional Rent, or any other sums (no matter how
                 characterized) payable hereunder for a period of seven (7) calendar days after written notice
                 by Landlord (provided, however that Tenant shall only be entitled to two (2) such cure
                 opportunities in any calendar year);

        (b)      Tenant’s failure to observe, keep or perform any of the other terms, covenants, agreements or
                 conditions of this Lease or in the Building Rules and Regulations for a period of ten
                 (10) calendar days after written notice by Landlord;

        (c)      Tenant’s making an assignment for the benefit of creditors;

        (d)      Tenant’s bankruptcy or voluntarily petitioning for relief under, or otherwise seeking the
                 benefit of, any bankruptcy, reorganization, arrangement or insolvency law;

        (e)      Tenant’s deserting, vacating or abandoning any portion of the Premises or attempting to
                 mortgage, pledge or otherwise encumber in any way its interest hereunder without the prior
                 written consent of Landlord;

        In the event of any of the foregoing happenings, Landlord, at its election, may exercise any one or
more of the following options, the exercise of any of which shall not be deemed to preclude the exercise of
any others herein listed or otherwise provided or permitted by statute or general law at the same time or in
subsequent times or actions:

        (1)      Terminate Tenant’s right to possession under this Lease and re-enter and retake possession of
                 the Premises and relet or attempt to relet the Premises on behalf of Tenant at such rent and
                 under such terms and conditions as Landlord may deem best under the circumstances for the
                 purpose of reducing Tenant’s liability. Landlord shall not be deemed to have thereby accepted
                 a surrender of the Premises, and Tenant shall remain fully liable for any and all Rent,
                 Additional Rent, or other sums (no matter how characterized) due under this Lease and for all
                 damages suffered by Landlord because of Tenant’s breach of any of the covenants of this
                 Lease.

        (2)      Declare this Lease to be terminated and ended and re-enter upon and take possession of the
                 Premises whereupon all right, title and interest of Tenant in the Premises shall end.

        (3)      Accelerate and declare the entire remaining unpaid Rent and Additional Rent for the balance
                 of this Lease to be immediately due and payable forthwith, and may, at once, take legal action
                 to recover and collect the same.

         No re-entry or retaking possession of the Premises by Landlord shall be construed as an election on its
part to terminate this Lease, unless a specific written notice of such intention is given to Tenant, nor shall
pursuit of any remedy herein provided constitute a forfeiture or waiver of any Rent, Additional Rent or other
monies due to Landlord hereunder or of any damages accruing to Landlord by reason of the violations of any
of the terms, provisions and covenants herein contained. Landlord’s acceptance of Rent or Additional Rent or
other monies following any event of default hereunder shall not be construed as Landlord’s waiver of such

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event. No forbearance by Landlord of action upon any violation or breach of any of the terms, provisions, and
covenants herein contained shall be deemed or construed to constitute a waiver of the terms, provisions, and
covenants herein contained. Forbearance by Landlord to enforce one or more of the remedies herein provided
upon an event of default shall not be deemed or construed to constitute a waiver of any other violation or
default. Legal actions to recover for loss or damage that Landlord may suffer by reason of termination of this
Lease or the deficiency from any reletting as provided for above shall include the expense of repossession or
reletting and any repairs or remodeling undertaken by Landlord following repossession.

         If Tenant does not perform any covenant, agreement, term, provision or condition within this Lease
(as may be hereafter amended or modified in writing) contained on Tenant’s part to be performed, Landlord,
in addition to any other rights and remedies or has under this Lease (as may be hereafter amended or modified
in writing) or otherwise and without thereby waiving any such non-performance (or resulting default), may
(but shall not be obligated to do so) perform the same on behalf of, for the account of and at the expense of
Tenant without notice in a case of emergency (as not unreasonably determined by Landlord) and in any other
case if such non-performance continues after seven (7) calendar days from the date that Landlord gives written
notice to Tenant of Landlord’s intention to do so. Invoices for all amounts paid by Landlord and all losses,
costs and expenses incurred or paid by Landlord in connection with any such performance by Landlord
pursuant to this particular paragraph, including, without limitation, all amounts paid and costs and expenses
incurred by Landlord for any goods, property, material, labor or services provided, supplied, furnished or
rendered, or caused to be provided, supplied, furnished or rendered, by Landlord to Tenant (together with
interest at the then current Florida statutory rate from the date Landlord pays the amount(s) or incurs the loss,
cost or expense until the date of full repayment by Tenant) may be sent by landlord to Tenant monthly or
immediately, at Landlord’s option, and shall be due and payable by Tenant to Landlord as Additional Rent,
plus any applicable tax(es), within seven (7) calendar days after the same are sent to Tenant by Landlord.

      THE PARTIES HERETO SHALL, AND THEY HEREBY DO, WAIVE TRIAL BY JURY IN ANY
ACTION, PROCEEDING, OR COUNTERCLAIM BROUGHT BY EITHER OF THE PARTIES HERETO
AGAINST THE OTHER, AND WITH RESPECT TO ANY ISSUE OR DEFENSE RAISED THEREIN, ON
ACCOUNT OF ANY MATTERS WHATSOEVER ARISING OUT OF, OR IN ANY WAY CONNECTED
WITH, THIS LEASE, THE RELATIONSHIP OF LANDLORD AND TENANT, TENANT’S USE OR
OCCUPANCY OF THE PREMISES AND/OR BUILDING, AND/OR CLAIM OF LOSS, INJURY OR
DAMAGE. IN THE EVENT TENANT MUST, BECAUSE OF APPLICABLE COURT RULES,
INTERPOSE ANY COUNTERCLAIM OR OTHER CLAIM AGAINST LANDLORD IN SUCH
PROCEEDINGS, LANDLORD AND TENANT COVENANT AND AGREE THAT, IN ADDITION TO
ANY OTHER LAWFUL REMEDY OF LANDLORD, UPON MOTION OF LANDLORD, SUCH
COUNTERCLAIM OR OTHER CLAIM ASSERTED BY TENANT SHALL BE SEVERED OUT OF THE
PROCEEDINGS INSTITUTED BY LANDLORD (AND, IF NECESSARY, TRANSFERRED TO A COURT
OF DIFFERENT JURISDICTION), AND THE PROCEEDINGS INSTITUTED BY LANDLORD MAY
PROCEED TO FINAL JUDGMENT SEPARATELY AND APART FROM AND WITHOUT
CONSOLIDATION WITH OR REFERENCE TO THE STATUS OF EACH COUNTERCLAIM OR ANY
OTHER CLAIM ASSERTED BY TENANT.

         The parties hereto agree that any and all suits for any and every breach of this Lease shall be instituted
and maintained only in those courts of competent jurisdiction in the county in which the Building is located.
In the event of litigation by and between the parties, or their respective successor(s), to enforce the terms and
provisions of this Lease, the prevailing party shall be entitled to recover from the non-prevailing party the
prevailing party’s reasonable attorney’s fees and court costs, all through final appeal. However, the contents
of the immediately preceding sentence shall expressly not be applicable to any lawsuits seeking declaratory
relief or a declaratory judgment.

        Time is of the essence of this Lease.


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21.      CONTRACTUAL LANDLORD’S LIEN. Landlord shall have, at all times, a valid security interest
to secure payment of all Rent, Additional Rent and other sums of money becoming due hereunder from Tenant,
and to secure payment of any damages or loss which Landlord may suffer by reason of the breach by Tenant
of any covenant, agreement or condition contained herein, upon all goods, wares, equipment, fixtures,
furniture, improvements and other personal property of Tenant presently or which may hereinafter be situated
in the Premises, and all proceeds therefrom, and such property shall not be removed therefrom without the
consent of Landlord until all arrearages in Rent and Additional Rent as well as any and all other sums of money
then due to Landlord hereunder shall first have been paid and discharged and all of the covenants, agreements,
and conditions hereof have been fully complied with and performed by Tenant. In consideration of this Lease,
upon the occurrence of an event of default by Tenant, Landlord may, in addition to any other remedies provided
herein, enter upon the Premises and take possession of any and all goods, wares, equipment, fixtures, furniture,
improvements, and other personal property of Tenant situated on or in the Premises, without liability for
trespass or conversion, and sell the same at public or private sale, with or without having such property at the
sale, after giving Tenant reasonable notice of the time and place of any public sale or of the time after which
any private sale is to be made, at which sale Landlord or its assigns may purchase unless otherwise prohibited
by law. Unless otherwise provided by law, and without intending to exclude any other manner of giving Tenant
reasonable notice, the requirement of reasonable notice shall be met if such notice is given in the manner
prescribed in Item 36 dealing with “Notices” in this Lease at least ten (10) calendar days before the time of
sale. The proceeds from any such disposition, less any and all expenses connected with the taking of
possession, holding and selling of the property (including reasonable attorney’s fees and other expenses), shall
be applied as a credit against the indebtedness secured by the security interest granted in this Item 21. Any
surplus shall be paid to Tenant or as otherwise required by law, and Tenant shall pay any deficiencies forthwith.
Upon request by Landlord, Tenant agrees to execute and deliver to Landlord a financing statement in form
sufficient to perfect the security interest of Landlord in the aforementioned property and proceeds thereof under
the provisions of the Uniform Commercial Code then in force in the State of Florida.

22.     SUBORDINATION; ATTORNMENT; ESTOPPEL CERTIFICATE.

         (a)     Except as provided in the SNDA (defined below), Tenant agrees that at Landlord's option this
Lease shall be subordinate to any mortgage or ground lease that now or may hereafter be placed upon the
Building and Premises and to any and all advances to be made thereunder and to the interest thereon and all
renewals, replacements, assignments and extensions thereof. This provision shall be self-executing, provided
however, that Tenant agrees within ten (10) calendar days of request of Landlord, to execute any subordination
that Landlord may deem necessary to accomplish that end and, in default of Tenant's so doing, Landlord is
hereby empowered to execute such paper or papers in the name of Tenant and as the act and deed of Tenant,
and this authority is declared to be coupled with an interest and not revocable.

         (b)     Tenant shall, in the event any proceedings are brought for the foreclosure of the Premises, or
in the event of exercise of the power of sale under any mortgage made by Landlord covering the Premises,
attorn to the Purchaser upon any such foreclosure or sale and recognize such Purchaser as Landlord under this
Lease.

          (c)     Tenant agrees that at any time within ten (10) calendar days of Landlord's written request, to
execute, acknowledge and deliver to Landlord a written statement certifying that this Lease is unmodified and
in full force and effect (or, if there have been modifications, that the Lease is in full force and effect as modified
and stating the modifications), and the dates to which the Rent and other charges have been paid in advance,
if any, it being intended that any such statement delivered pursuant to this paragraph may be relied upon by
any prospective purchaser or mortgagee of the Building and lands upon which it is located. In the event Tenant
fails or refuses to execute the written statement at the request of Landlord, Tenant hereby appoints Landlord
as its attorney-in-fact with full power and authority to execute and deliver any such statements or certificates
on behalf of Tenant.

         (d)     Except as provided in the SNDA (defined below), if Landlord’s Mortgagee shall succeed to
the interest of Landlord under this Lease, Landlord’s Mortgagee shall not be: (i) liable for any act or omission
of any prior lessor (including Landlord); (ii) bound by any rent or additional rent or advance rent which Tenant
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might have paid for more than the current month to any prior lessor (including Landlord), and all such rent
shall remain due and owing, notwithstanding such advance payment; (iii) bound by any security or advance
rental deposit made by Tenant which is not delivered or paid over to Landlord’s Mortgagee and with respect
to which Tenant shall look solely to Landlord for refund or reimbursement; (iv) bound by any termination,
amendment or modification of this Lease made without Landlord’s Mortgagee’s consent and written approval,
except for those terminations, amendments and modifications permitted to be made by Landlord without
Landlord’s Mortgagee’s consent pursuant to the terms of the loan documents between Landlord and Landlord’s
Mortgagee; (v) subject to the defenses which Tenant might have against any prior lessor (including Landlord);
or (vi) subject to the offsets which Tenant might have against any prior lessor (including Landlord) except for
those offset rights which (A) are expressly provided in this Lease; (B) relate to periods of time following the
acquisition of the Building by Landlord’s Mortgagee; and (C) Tenant has provided written notice to Landlord’s
Mortgagee and provided Landlord’s Mortgagee a reasonable opportunity to cure the event giving rise to such
offset event. Landlord’s Mortgagee shall have no liability or responsibility under or pursuant to the terms of
this Lease or otherwise after it ceases to own an interest in the Building. Nothing in this Lease shall be
construed to require Landlord’s Mortgagee to see to the application of the proceeds of any loan, and Tenant’s
agreements set forth herein shall not be impaired on account of any modification of the documents evidencing
and securing any loan

       (e)     The provisions of this Paragraph 22 of the Lease shall be subject in their entirety to the
Subordination, Non-Disturbance and Attornment Agreement by and between Tenant, Landlord, and
SummitBridge National Investment V LLC of even date herewith (the “SNDA”).

23.     QUIET ENJOYMENT. Provided Tenant has fully, duly and timely performed all of the terms,
covenants, agreements and conditions of this Lease on its part to be performed, including the payment of Rent,
Additional Rent and all other sums due hereunder, Tenant shall peaceably and quietly hold and enjoy the
Premises, subject to Paragraph 22 above and the rights of any current or future lienholder that is not a party to
the SNDA defined in subparagraph 22(e) above (except with respect to liens created by the actions of
Lender (as defined in the SNDA) or its successors and assigns) against Landlord and all persons claiming
by, through or under Landlord, for the Term (as may be extended) herein described, subject to the provisions
and conditions of this Lease.

24.       SECURITY DEPOSIT. Tenant, on the Rent Commencement Date, shall deposit with Landlord a
Security Deposit as described in Item 1, Section (h), which sum shall be retained by Landlord as a Security
Deposit. The Security Deposit shall be held by Landlord without liability for interest and as security for the
performance by Tenant of Tenant’s covenants and obligations under this Lease, it being expressly understood
that such deposit shall not be considered an advance payment of Rent or Additional Rent or a measure of
Landlord’s damages in case of default by Tenant. Upon the occurrence of any event of default by Tenant,
Landlord may, from time to time, without prejudice to any other available remedy, use such deposit to the
extent necessary to make good any arrearages of Rent, Additional Rent and any other damage, injury, loss,
expense or liability caused to Landlord by such event of default. Following any such application of the Security
Deposit, Tenant shall pay to Landlord on demand the amount so applied in order to restore the Security Deposit
to its original amount. If Tenant is not then in default hereunder, any remaining balance of such deposit shall
be returned by Landlord to Tenant upon expiration of this Lease. If Landlord transfers its ownership interest
in the Building during the Lease Term (or any extension thereof), Landlord may assign the Security Deposit
to the transferee and thereafter Landlord absolutely shall have no further liability for the return of such Security
Deposit.

25.      MECHANIC’S LIENS. Tenant is prohibited from making, and agrees not to make, alterations in the
Premises, except as permitted by Item 14, and Tenant shall not permit any mechanic’s lien or liens to be placed
upon the Premises or the Building or improvements thereon during the Term (as may be extended) hereof
caused by or resulting from any work performed, materials furnished or obligation incurred by or at the request
of Tenant, and in the case of the filing of any such lien, Tenant will promptly pay or statutorily bond same. If
default in payment or statutory bonding thereof shall continue for twenty (20) calendar days after written notice
thereof from Landlord to Tenant, Landlord shall have the right and privilege, at Landlord’s option, of paying

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the same or any portion thereof without inquiry as to the validity thereof, and any amounts so paid, including
expenses, interest, and attorney’s fees, shall be so much additional indebtedness hereunder due from Tenant to
Landlord and shall be repaid to Landlord immediately on rendition of a bill therefor, together with interest per
annum at the maximum rate permitted by law until repaid, and if not so paid within twenty (20) calendar days
of the rendition of such bill shall constitute default under Item 20 hereof.

        The interest of Landlord shall not be subject to liens for improvements made by Tenant in or to the
Premises or otherwise. Tenant shall notify any contractor performing any construction work in the Premises
on behalf of Tenant that this Lease specifically provides that the interest of Landlord in the Premises shall not
be subject to liens for improvements made by Tenant. In addition, Landlord shall have the right to post and
keep posted at all reasonable times on the Premises any notices which Landlord shall be required so to post for
the protection of Landlord and the Premises from any such lien. Tenant agrees to promptly execute such
instruments in recordable form in accordance with the terms and provisions of Florida Statute 713.10.

26.     FORCE MAJEURE. Whenever a period of time is herein prescribed for action to be taken by
Landlord or Tenant, Landlord or Tenant shall not be liable or responsible for, and there shall be excluded from
the computation for any such period of time, any delays due to strikes, riots, acts of God, shortages of labor or
materials, theft, crime, fire, public enemy, injunction, insurrection, court order, requisition of governmental
body or authority, war, governmental laws, regulations or restrictions or any other causes of any kind
whatsoever which are beyond the absolute control of Landlord.

27.      SEVERABILITY. If any clause or provision of this Lease is illegal, invalid or unenforceable under
present or future laws effective during the Term (as may be extended) of this Lease, then and in that event, it
is the intention of the parties hereto that the remainder of this Lease shall not be affected thereby.

28.     HOLDING OVER. The failure of Tenant to surrender the Premises on the date provided herein for
the expiration of the Term (as may have been theretofore extended) of this Lease (or at the time this Lease may
be terminated otherwise by Landlord), and the subsequent holding over by Tenant, with or without the consent
of Landlord, shall result in the creation of a tenancy at will at 150% of the Rent payable at the time of the date
provided herein for the expiration of this Lease or at the time this Lease may be terminated otherwise by
Landlord. This provision does not give Tenant any right to hold over at the expiration of the Term (as may
have been heretofore extended) of this Lease, and shall not be deemed, the parties agree, to be a renewal of the
Lease Term (as may have been heretofore extended), either by operation of law or otherwise.

29.     RELOCATION. [Reserved].

30.     RENT A SEPARATE COVENANT. Tenant shall not for any reason withhold or reduce Tenant’s
required payments of Rent, Additional Rent and other charges provided in this Lease, it being expressly
understood and agreed contractually by the parties that the payment of Rent and Additional Rent is a
contractual covenant by Tenant that is independent of the other covenants of the parties under this Lease.

31.      JOINT AND SEVERAL LIABILITY. If two or more individuals, corporations, partnerships, or
other business associations (or any combination of two or more thereof) shall sign this Lease as Tenant, the
liability of each such individual, corporation, partnership or other business association to pay Rent and
Additional Rent and perform all other obligations hereunder shall be deemed to be joint and several.

32.     ABSENCE OF OPTION. The submission of this Lease for examination does not constitute a
reservation of or option for the Premises, and this Lease becomes effective only upon execution and delivery
thereof by Landlord.

33.     CORPORATE TENANCY. If Tenant is a corporation, the undersigned officer of Tenant hereby
warrants and certifies to Landlord that Tenant is a corporation in good standing and is authorized to do business

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in the State of Florida. The undersigned officer of Tenant hereby further warrants and certifies to Landlord
that he or she, as such officer, is authorized and empowered to bind the corporation to the terms of this Lease
by his or her signature thereto. Landlord, before it accepts and delivers this Lease, may require Tenant to
supply it with a certified copy of the corporate resolution authorizing the execution of this Lease by Tenant. If
Tenant is a corporation (other than one whose shares are regularly and publicly traded on a recognized stock
exchange), Tenant represents that the ownership and power to vote its entire outstanding capital stock belongs
to and is vested in the officer or officers executing this Lease or members of his, her or their immediate family.
If there shall occur any change in the ownership of and/or power to vote the majority of the outstanding capital
stock of Tenant, whether such change of ownership is by sale, assignment, bequest, inheritance, operation of
law or otherwise, without the prior written discretionary consent of Landlord, then Landlord shall have the
option to terminate this Lease upon thirty (30) calendar days’ written notice to Tenant so stating; furthermore,
Tenant shall have an affirmative obligation to notify immediately Landlord of any such change.

34.     BROKERAGE COMMISSION. Tenant warrants that there are no claims for broker’s commissions
or finder’s fees in connection with its execution of this Lease and agrees to indemnify and save Landlord
completely harmless from any liability or lien that may arise from such claim, including reasonable attorney’s
fees.

35.      LANDLORD’S DEFAULT. Landlord shall in no event be charged with default in the performance
of any of its obligations under this Lease unless and until Landlord shall have failed to perform such obligations
within thirty (30) calendar days (or within such additional time as is reasonably required to remedy any such
default) after written notice to Landlord by Tenant properly specifying and detailing the particulars of wherein
and whereby Tenant claims Landlord has failed to perform any such obligations. If the holder of record of the
first mortgage covering the Premises shall have given prior written notice to Tenant that it is the holder of such
first mortgage and such notice includes the address at which notices to such mortgagee are to be sent, then
Tenant shall give such mortgagee notice simultaneously with any notice given to Landlord to correct any
default of Landlord as hereinabove provided. Such mortgagee shall have the right within thirty (30) calendar
days (or within such additional time as is reasonably required to correct any such default) after receipt of such
notice to correct or remedy such default before Tenant may take any action under this Lease by reason of such
default. Any notice of default given Landlord by Tenant shall be null and void unless simultaneous notice has
been given by Tenant to said first mortgagee.

In no event shall Landlord be liable for prospective profits or special, indirect, or consequential
damages.

36.      NOTICES. All Notices or demands which are required or permitted hereunder must be in writing and
shall be deemed to have been given, delivered or made, as the case may be (not withstanding lack of actual
receipt of the actual addressee), (i) one business day after delivered by personal delivery, (ii) five (5) business
days after having been deposited in the United States mail certified or registered, return receipt requested, with
sufficient postage affixed and prepaid, or (iii) one (1) business day after having been received from an
expedited, overnight courier service such as, by way of example but not limitation, UPS or Federal Express,
addressed to the party to whom notice is intended to be given at the address set forth below:




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        LANDLORD:                 THMIH, Inc.
                                  665 South Apollo Boulevard
                                  Melbourne, Florida 32901
                                  Attn. Kevin Garrity, CEO

        TENANT:                   Brevard Surgery Center, Inc.
                                  665 South Apollo Boulevard
                                  Melbourne, Florida 32901
                                  Attn. Kevin Garrity, CEO

        Such addresses may be changed from time to time by either party by serving notices as above provided.

       Within ten (10) calendar days after receipt, Tenant shall notify Landlord in writing and provide
Landlord with complete and legible copies of (if applicable):

        (a)      any notices alleging violation of any applicable laws, codes, rules, regulations, etc., and/or

        (b)      any notices of actions, inquiries, inspections or claims made or threatened regarding any
alleged violation of any applicable laws, codes, rules, regulations, etc.

as same relate to all or any portion of the Premises and/or the Building and/or Tenant’s use, occupancy or
possession thereof.

37.      INSURANCE. Tenant shall not conduct or permit to be conducted any activity, or place any
equipment, materials or other items in, on or about the Premises or the Building, which will in any way increase
the rate of fire or liability or casualty or property insurance on the Building. Should Tenant fail to comply with
the foregoing covenant on its part to be performed, Tenant shall reimburse Landlord for such increased amount
upon written demand therefor from Landlord, the same to be considered Additional Rent payable by Tenant to
Landlord under this Lease. For the purposes of this Item 37, Landlord’s affiliates, subsidiaries, successors,
assigns, directors, officers, shareholders, partners, members, designates, employees, contractors, managers,
agents and lenders shall, collectively, individually and in any combination, be known and defined as
“Landlord Parties.” As regards each liability insurance policy actually (or to be) carried by Tenant under this
Lease, Landlord and Landlord Parties shall be named as an “additional insured” in an endorsement to each
such liability insurance policy. For the purposes of the immediately preceding sentence, “additional insured”
status to Landlord and Landlord Parties shall be provided in favor of Landlord and Landlord Parties on each
such liability insurance policy via ISO Form 2026 or its equivalent, without modification, but from the
requirements of said immediately preceding sentence shall be excluded worker’s compensation insurance and
employer’s liability insurance. As regards each property insurance policy actually (or to be) carried by Tenant
under this Lease, Landlord and Landlord Parties shall be named as a “loss payee” in an endorsement to each
such property insurance policy. In the event Tenant fails, refuses or neglects to procure, maintain and/or pay
for the insurance required by this Lease, at the times, under the circumstances and for the duration described
in this Lease, Landlord shall have the right, but not the obligation, at any time and from time to time, and
without notice, to procure and maintain such insurance and/or to pay the premiums for such insurance, in which
event Tenant shall repay (all as “Additional Rent”) Landlord, immediately upon Landlord’s written demand
therefor, all sums so paid by Landlord, together with interest thereon (at the highest rate permitted by law) and
any costs or expenses incurred by Landlord in connection therewith, without prejudice to any other rights or
remedies of Landlord under this Lease or otherwise. All Tenant’s insurance coverage shall be endorsed to be
primary to all insurance available to Landlord and/or Landlord Parties, with Landlord’s and Landlord Parties’
insurance being excess, secondary and non-contributing. All insurance coverage actually (or to be) carried by
Tenant under this Lease shall contain no non-standard, special and/or unusual exclusions or restrictive
endorsements without the prior written consent of Landlord. No insurance coverage obtained by Tenant

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pursuant to this Lease shall contain a deductible or self-insured retention in excess of Five Thousand Dollars
($5,000.00) without the prior written consent of Landlord and all deductibles and/or retentions shall be paid
by, assumed by, for the account of, and at Tenant’s sole risk. All the insurance coverage(s) the subject of this
Lease to be obtained by Tenant shall be provided at Tenant’s sole risk, expense and responsibility.

         Tenant shall, at Tenant’s sole expense, obtain and keep in force at all times during the Term (as may
be extended) of this Lease commercial general liability insurance, to include fire, special form and extended
coverage including property damage, on an occurrence basis and on a “per location” basis, with limits of not
less than Two Million Dollars ($2,000,000.00) combined single limit, insuring Landlord, Landlord Parties and
Tenant against any liability arising out of the ownership, lease, possession, use, occupancy or maintenance of
the Premises and all areas appurtenant thereto. Said commercial general liability insurance shall be on
Insurance Services Office, Inc. (ISO), form CG 00 01 07 98 or, if Landlord elects, on an equivalent occurrence
basis commercial general liability insurance policy form that is acceptable to Landlord (at Landlord’s sole and
unrestricted discretion). The limit of said insurance shall not, however, limit the liability of Tenant under this
Lease or otherwise.

        Tenant shall, at Tenant’s sole expense, obtain, maintain and keep in force at all times during the Term
(as may be extended) of this Lease insurance with a contractual liability endorsement and upon all property in
the Premises owned by Tenant or for which Tenant is legally liable, such insurance to be in an amount not less
than such property’s actual cash value or actual replacement value, whichever is greater. Tenant shall maintain
insurance against such other perils and in such amounts as Landlord may in writing from time to time not
unreasonably require. The insurance required to be obtained and maintained under this Lease shall be with a
company or companies licensed to issue the relevant insurance and licensed to do business in the State of
Florida. Such insurance company or companies shall each have a policyholder’s rating of no less than “A”
and be assigned a financial size category of at least Class X as rated in the most recent edition of “Best’s Key
Rating Guide” for insurance companies. No policy shall be cancelable or subject to reduction of coverage
except after thirty (30) calendar days’ prior written notice to Landlord. All policies of insurance maintained
by Tenant shall be in a form, and shall have a substance, acceptable to Landlord with satisfactory evidence that
all premiums have been paid. Tenant agrees not to violate or permit to be violated any of the conditions or
provisions of the insurance policies required to be furnished hereunder, and agrees to promptly notify Landlord
of any fire, loss or other casualty. If Tenant fails to procure and maintain insurance as required hereunder,
Landlord may do so, and Tenant shall, on written demand, as Additional Rent, reimburse Landlord for all
monies expended by Landlord to procure and maintain such insurance.

         Tenant hereby waives and releases any and all rights of recovery against Landlord (and Landlord
Parties) for injury, loss or damage to Tenant (and/or any person, party or entity claiming by, through or under
Tenant) or its (and/or their) property arising from any cause insured against or required to be insured against
by Tenant under this Lease. Tenant shall obtain and furnish evidence to Landlord of the waiver by Tenant’s
insurer(s) of its (their) rights of subrogation against Landlord and Landlord Parties        Upon Landlord’s
written request for same, Tenant shall provide Landlord with written evidence of Tenant’s compliance with its
obligations under this Item 37. In order to fulfill the mandate of the immediately preceding sentence, a
duplicate original insurance policy, an insurance binder (countersigned by the applicable insurer), or Evidence
of Insurance (in form ACORD 27) for each of the insurance policies Tenant is required to carry in compliance
with its obligations under this Lease shall be delivered to Landlord at least ten (10) calendar days prior to the
time such insurance is first required to be carried by Tenant and upon renewals or extensions not less than
thirty (30) calendar days prior to the expiration of any such policy. All insurance policies actually (or to
be) carried by Tenant under this Lease shall contain a provision that the applicable insurer will not cancel, will
not refuse to renew or extend the applicable policy and will not change in any way whatsoever the extent and/or
scope of the coverage provided by the applicable policy without first giving Landlord at least thirty
(30) calendar days’ prior written notice by certified mail, return receipt requested, at the notice address for
Landlord described in Item 36 of this Lease or to such other address(es) as may be designated by Landlord to
such insurer via certified mail, return receipt requested.

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38.     RECORDING. Notice of this Lease may be recorded in the public records by the Tenant.

39.      STATUTORILY MANDATED NOTIFICATION. As required by F.S. 404.056(8), Landlord
hereby notifies Tenant as follows: “RADON GAS: Radon is a naturally occurring radioactive gas that, when
it has accumulated in a building in sufficient quantities, may present health risks to persons who are exposed
to it over time. Levels of radon that exceed federal and state guidelines have been found in buildings in Florida.
Additional information regarding radon and radon testing may be obtained from your county public health
unit.”

40.      [Intentionally omitted.]41.        HAZARDOUS MATERIALS. Except as provided in the last
paragraph of this Section 41, Tenant shall not cause or permit any Hazardous Material (as hereinafter
defined) to be brought upon, kept or used in or about the Premises or the Building by Tenant, its agents,
principals, employees, assigns, sublessees, contractors, consultants or invitees without the prior written consent
of Landlord, which consent may be withheld for any reason whatsoever or for no reason at all. If Tenant
breaches the obligations stated in the immediately preceding sentence, or if the presence of Hazardous Material
on the Premises or around the Building caused or permitted by Tenant (or the aforesaid others) results in
contamination of the Premises or the Building or the surrounding area(s), or if contamination of the Premises
or the Building or the surrounding area(s) by Hazardous Material otherwise occurs for which Tenant is legally,
actually or factually liable or responsible to Landlord (or any party claiming by, through or under Landlord) for
damages, losses, costs or expenses resulting therefrom, then Tenant shall fully and completely indemnify,
defend and hold harmless Landlord (or any party claiming by, through or under Landlord) from any and all
claims, judgments, damages, penalties, fines, costs, liabilities or losses, including, without
limitation: (i) diminution in the value of the Premises and/or the Building and/or the land on which the
Building is located and/or any adjoining area(s) which Landlord owns or in which it holds a property interest;
(ii) damages for the loss or restriction on use of rentable or usable space of any amenity of the Premises, the
Building or the land on which the Building is located; (iii) damages arising from any adverse impact on
marketing of space; and (iv) any sums paid in settlement of claims, attorneys’ fees, consultants’ fees and expert
fees which arise during or after the Term of this Lease, as may be extended, as a consequence of such
contamination. This indemnification of Landlord by Tenant includes, without limitation, costs incurred in
connection with any investigation of site conditions or any clean-up, remedial, removal or restoration work
required by any federal, state or local governmental agency or political subdivision because of Hazardous
Material present in the soil or ground water on or under the Premises or the Building. Without limiting the
foregoing, if the presence of any Hazardous Material on, under or about the Premises, the Building or the
surrounding area(s) caused or permitted by Tenant (or the aforesaid others) results in any contamination of the
Premises, the Building or the surrounding area(s), Tenant shall immediately take all actions at its sole expense
as are necessary or appropriate to return the Premises, the Building and the surrounding area(s) to the condition
existing prior to the introduction of any such Hazardous Material thereto; provided that Landlord’s prior
written discretionary approval of such actions by Tenant shall be first obtained. The foregoing obligations and
responsibilities of Tenant shall survive the expiration or earlier termination of this Lease.

        As used herein, the term “Hazardous Material” means any hazardous or toxic substance, material or
waste, including, but not limited to, those substances, materials, and wastes listed in the United States
Department of Transportation Hazardous Materials Table (49 CFR 172.101) or by the Environmental
Protection Agency as hazardous substances (40 CFR Part 302) and amendments thereto, or such substances,
materials and wastes that are or become regulated under any applicable local, state or federal law. Hazardous
Material includes any and all material or substances which are defined as “hazardous waste”, “extremely
hazardous waste” or a “hazardous substance” pursuant to state, federal or local governmental law.
“Hazardous Substance” includes but is not restricted to asbestos, polychlorobiphenyls (“PCB’s”) and
petroleum.

        Landlord and its agents shall have the right, but not the duty, to inspect the Premises at any time and
from time to time to determine whether Tenant is complying with the terms of this Item 41. If Tenant is not

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in compliance with this Item 41, Landlord shall have the right to immediately enter upon the Premises to
remedy any contamination caused by Tenant’s failure so to comply, notwithstanding any other provision of
this Lease, but shall not be liable for any interference caused thereby.

        Notwithstanding anything to the contrary in this Section 41, but subject to the absolute indemnity
provided hereinabove, Tenant, at Tenant’s sole cost and expense, may temporarily store on Premises and be
responsible for medical, special and infectious waste removal for the Premises and the maintenance and storage
thereof pending removal, all in accordance with all applicable laws, regulations and orders. Tenant shall
comply with all federal, state and local laws, regulations and ordinances which govern the use, storage,
handling and disposal of Hazardous Substances, wastes or materials and medical, special or infectious wastes.
The terms of this Section 41 shall survive the expiration or earlier termination of this Lease.
42.     PATRIOT ACT REPRESENTATIONS.

       (a)     Landlord advises Tenant hereby that the purpose of this Item 42 is to provide to the Landlord
information and assurances to enable Landlord to comply with the law relating to OFAC.

        (b)     Tenant hereby represents, warrants and covenants to Landlord, either that (i) Tenant is
regulated by the SEC, FINRA or the Federal Reserve (a “Regulated Entity”) or (ii) neither Tenant nor any
person or entity that directly or indirectly (a) controls Tenant or (b) has an ownership interest in Tenant of
twenty-five percent (25%) or more, appears on the list of Specially Designated Nationals and Blocked Persons
(“OFAC List”) published by the Office of Foreign Assets Control (“OFAC”) of the U.S. Department of the
Treasury.

        (c)      If, in connection with this Lease, there is one or more guarantors of Tenant’s obligations under
this Lease, then Tenant further represents, warrants and covenants either that (i) any such guarantor is a
Regulated Entity or (ii) neither guarantor nor any person or entity that directly or indirectly (a) controls such
guarantor or (b) has an ownership interest in such guarantor of twenty-five percent (25%) or more, appears on
the OFAC List.

        (d)      Tenant covenants that during the Term of this Lease to provide to Landlord information
reasonably requested by Landlord including without limitation, organizational structural charts and
organizational documents which Landlord may deem to be necessary (“Tenant OFAC Information”) in order
for Landlord to confirm Tenant’s continuing compliance with the provisions of this Item 42. Tenant represents
and warrants that the Tenant OFAC Information it has provided or to be provided to Landlord or Landlord’s
broker in connection with the execution of this Lease is true and complete.

43.      AMENDMENTS. This Lease contains the entire agreement between the parties hereto and may not
be altered, changed or amended, except by written instrument signed by both parties hereto. No provision of
this Lease shall be deemed to have been waived by Landlord unless such waiver is in writing signed by
Landlord and addressed to Tenant, nor shall any custom or practice which may grow up between the parties in
the administration of the provisions hereof be construed to waive or lessen the right of Landlord to insist upon
the performance by Tenant in strict accordance with the terms hereof. The terms, provisions, covenants, and
conditions contained in this Lease shall apply to, inure to the benefit of, and be binding upon the parties hereto,
and upon their respective successors in interest and legal representative, except as otherwise herein expressly
provided.

         The parties each acknowledge that they have thoroughly read and understand this Lease (to include its
Exhibits and attachments) in its entirety, that they are completely familiar with each, every, any and all of the
terms, covenants, provisions and conditions set forth therein and that there are no other representations,
promises, covenants, assurances, conditions, statements, understandings, warranties or agreements
(collectively, “Representations”) concerning this Lease which do not appear in writing therein. This Lease
supersedes and revokes all previous negotiations, arrangements, letters of intent, offers to lease, lease

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proposals, brochures, Representations, and information or data conveyed, whether oral or in writing, between
the parties and/or their respective representatives or any other person(s) purporting to represent either Landlord
or Tenant. Each party acknowledges that it has not been induced to enter into this Lease by any Representations
not expressly set forth herein. The parties further acknowledge that the terms and provisions contained within
this Lease have been fully, freely and fairly negotiated by and between them.

44.     MISCELLANEOUS HEALTH CARE PROVISIONS.

         (I)     Records. Upon the written request of the Secretary of the U.S. Department of Health and
Human Services, the U.S. Comptroller General of the Government Accounting Office, or their authorized
representatives, Landlord shall make available this Lease and all books, documents, and records necessary to
certify the nature and extent of Landlord’s costs with respect to this Lease and the Premises for a period of
four (4) years after performing its duties hereunder. If the Landlord carries out any of its duties under this
Lease through a subcontract worth $10,000 or more over a 12-month period, the subcontract will also contain
an access clause to permit access by the Secretary, Comptroller General, and their authorized representatives
to such subcontractor’s books and records.

        (II)     Regulatory Matters.

         (a)       Landlord and Tenant enter into this Lease with the intent of conducting their relationship and
implementing the agreements contained herein in full compliance with applicable federal, state and local law,
including without limitation, the Medicare/Medicaid Anti-Kickback statute (the “Anti-Kickback Law”) and
Section 1877 of the Social Security Act (the “Stark Law”), as amended. Notwithstanding any unanticipated
effect of any of the provisions of this Lease, neither party will intentionally conduct itself under the terms of
this Lease in a manner that would constitute a violation of the Anti-Kickback Law or the Stark Law. Without
limiting the generality of the foregoing, Landlord and Tenant expressly agree that nothing contained in this
Lease shall require either party to refer any patients to the other, or to any affiliate or subsidiary of the other.

        (b)      If any legislation, regulation or government policy is passed or adopted, the effect of which
would cause either party to be in violation of such laws due to the existence of any provision of this Lease,
then Landlord and Tenant agree to negotiate in good faith for a period of ninety (90) calendar days to modify
the terms of this Lease to comply with applicable law. Should the parties hereto fail to agree upon modified
terms to this Lease within this time, then either Landlord or Tenant may immediately terminate this Lease by
giving written notice to the other party.
         (c)     Landlord represents and warrants to Tenant that Landlord (i) is not currently excluded,
debarred or otherwise ineligible to participate in Medicare or any federal health care program under section
1128 and 1128A of the Social Security Act or as defined in 42 U.S.C. § 1320a-7b(f) (the “Federal Health
Care Programs”); (ii) has not been convicted of a criminal offense related to the provision of healthcare items
or services; and (iii) is not under investigation or otherwise aware of any circumstances which may result in
Landlord being excluded from participation in any Federal Health Care Program. The foregoing representation
shall be an ongoing representation and warranty during the term of this Lease and Landlord shall immediately
notify Tenant of any change in the status of the representation and warranty set forth in this Section, at which
time Tenant will have the right to immediately terminate this Lease.
         (d)     For purposes of this Section of this Lease, “protected health information”, or PHI, shall have
the meaning defined by the Standards for Privacy of Individually Identifiable Health Information, 45 C.F.R.
Part 160 and Subparts A and E of Part 164 (the “Privacy Standards”), as promulgated by the Department of
Health and Human Services (“HHS”) pursuant to the Administrative Simplification provisions of the Health
Insurance Portability and Accountability Act of 1996 (“HIPAA”). The parties agree that neither the Landlord
nor its contractors, subcontractors or agents shall need access to, nor shall they use or disclose, any PHI of
Tenant. However, in the event PHI is disclosed by Tenant or its agents to Landlord, its, contractors,
subcontractors or agents, regardless as to whether the disclosure is inadvertent or otherwise, Landlord agrees

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to take reasonable steps to maintain, and to require its contractors, subcontractors and agents to maintain, the
privacy and confidentiality of such PHI. The parties agree that the foregoing does not create, and is not
intended to create, a “business associate” relationship between the parties as that term is defined by the Privacy
Standards.
45.    LEASE GUARANTY. The personal guaranty agreement attached hereto as Exhibit “C” is made a
part of this Lease [TO BE EXECUTED IF ANY GUARANTORS ARE REQUIRED BY
SUMMITBRIDGE UNDER THE SETTLEMENT AGREEMENT

46.      RENEWAL OPTION. So long as this Lease is in full force and effect and Tenant is not in Default in
the performance of any of the covenants or terms and conditions of this Lease, Tenant shall have the option (the
“Extension Option”) to extend the Term for the entire Premises for one (1) additional period(s) of sixty
(60) months (the “Extension Period” or “Extension Periods”, if more than one”) subject to the following
terms and conditions:

         (a)     Tenant shall have given Landlord written notice of its exercise of the Extension Option on or
before six (6) months prior to the expiration of the Term of its desire to extend the Term of this Lease. The
Extension Option shall be only applicable to the entire Premises, as it may have expanded or contracted from
time to time pursuant to the terms of this Lease.

        (b)      The base Rent during the Extension Period shall be subject to the adjustments described in
Section 1(g) of this Lease.

        (c)     The rights granted to Tenant under this Section are personal to Tenant, and in the event of any
assignment of this Lease or sublease by Tenant that does not comply with the provisions of this Lease, the
Extension Option shall thenceforth be void and of no further force or effect.

47.     TENANT FINANCIAL INFORMATION. Tenant shall provide Landlord, from time to time (but
not more frequently than once during any twelve month period) during the term of this lease within thirty (30)
calendar days after written request, with a copy of Tenant's current financial statement prepared by an
independent CPA and certified by Tenant as being true and correct, together with a copy of Tenant's most
recent federal tax return. Landlord is permitted to provide a copy thereof the Landlord’s lender for the
Building. In the event there is a guaranty agreement(s) for this Lease, the guarantor shall furnish the same
information upon request from Landlord that is required for Tenant as set forth above.




                                      [SIGNATURE PAGE FOLLOWS]




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        IN WITNESS WHEREOF, the parties, either for themselves or by and through their undersigned,
duly-authorized representatives, have executed this Lease for the purposes therein expressed.

Two Witnesses Required:                   TENANT:

                                          Brevard Eye Center, Inc.,
Print Name:                               a Florida corporation

                                          By:
Print Name                                Name:
                                          Title:

                                          Date:    _________


                                          Brevard Surgery Center, Inc.,
Print Name:                               a Florida corporation

                                          By:
Print Name                                Name:
                                          Title:

                                          Date:    _________


                                          Medical City Eye Center, Inc.,
Print Name:                               a Florida corporation

                                          By:
Print Name                                Name:
                                          Title:

                                          Date:    _________

                          [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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        IN WITNESS WHEREOF, the parties, either for themselves or by and through their undersigned,
duly-authorized representatives, have executed this Lease for the purposes therein expressed.


Two Witnesses Required:                 LANDLORD:

                                        THMIH, Inc.,
Print Name:                             a Florida corporation

                                        By:
Print Name                              Name:
                                        Title:

                                        Date:    _________




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                          EXHIBIT “A”

                     SKETCH OF PREMISES




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                                                EXHIBIT “B”


                                BUILDING RULES AND REGULATIONS


The following Building Rules and Regulations have been adopted by Landlord for the care, protection and
benefit of the Premises and the Building and for the general comfort and welfare of all tenants.

1.     The sidewalks, entrances, passages, halls, elevators and stairways shall not be obstructed by Tenant or
used by Tenant for any purpose other than for ingress and egress to and from the Building and Tenant’s
Premises.

2.      Restroom facilities, water fountains, and other water apparatus shall not be used for any purposes other
than those for which they were constructed.

3.      Tenant shall not put additional locks or latches upon any door without the written discretionary consent
of Landlord. Any and all locks so added on any door shall remain for the benefit of Landlord, and the keys to
such locks shall be delivered to Landlord by and from Tenant.

4.       Landlord shall not be liable for injuries, damage, theft, or other loss to persons or property that may
occur upon or near any parking areas that may be provided by Landlord. Tenant, its agents, employees, and
invitees are to use same at their own risk, Landlord to provide no security with respect thereto. The driveways,
entrances, and exits upon, into and from such parking areas shall not be obstructed by Tenant, Tenant’s
employees, agents, guests, or invitees; provided, however, Landlord shall not be responsible or liable for failure
of any person to observe this rule. Tenant, its employees, agents, guests and/or invitees shall not park in
space(s) that may be reserved or designated for others.

5.      Tenant shall not install in the Premises any heavy weight equipment or fixtures or permit any
concentration of excessive weight in any portion thereof without first having obtained Landlord’s written
consent.

6.      Landlord reserves the right at all times to exclude newsboys, loiterers, vendors, solicitors, and peddlers
from the Building and to require registration or satisfactory identification or credentials from all persons
seeking access to any part of the Building outside ordinary business hours. Landlord will exercise its best
judgment in the execution of such control but will not be liable for the granting or refusal of such access.

7.       No wires of any kind or type (including but not limited to TV and radio antennas) shall be attached to
the outside of the Building and no wires shall be run or installed in any part of the Building without Landlord’s
prior discretionary written consent. All existing wires of any type are acceptable (provided that they comply
with applicable law).




8.      Landlord shall furnish a reasonable number of door keys to Tenant’s Premises and/or the Building
which shall be surrendered on termination or expiration of the Lease. Landlord reserves the right to require a
deposit for such keys to insure their return at the termination or expiration of the Lease. Tenant shall get keys
only from Landlord and shall not obtain duplicate keys from any outside source. Further, Tenant shall not alter


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the locks or effect any substitution of such locks as are presently being used in Tenant’s Premises or the
Building.

9.      Tenant shall keep all doors to Premises closed at all times except for ingress and egress to the Premises.

10.     All installations in any Common Telephone/Electrical Equipment Rooms shall be limited to terminal
boards and connections. All other electrical equipment must be installed within Tenant’s Premises.

11.     It is expressly understood and agreed that any items of any nature whatsoever placed in Common
Areas (i.e., hallways, restrooms, elevators, parking garage, storage areas and equipment rooms) are placed at
Tenant’s sole risk and Landlord assumes no responsibility whatsoever for any loss or damage as regards same.

12.     Tenant will allow no maintenance or repairs to be done in, on, to or about the Premises other than by
a contractor (such term to include all degrees of subcontractors) approved by Landlord in writing prior to any
such maintenance or repairs being undertaken. Landlord shall be entitled to require such contractor to be
bonded and insured in such amounts and with such companies as Landlord may in its discretion prescribe.

13.      Smoking within the Building (to include the Premises and the Building’s common areas and
appurtenances) is strictly and absolutely prohibited. Landlord may, however, if (but not otherwise) it so
chooses, designate certain areas outside the Building where smoking will be permitted. Landlord reserves the
right to revoke any such designation(s) the subject of the immediately preceding sentence.

14.     To the extent Landlord designates employee only parking area(s) within the common area parking,
Tenant agrees that it shall be responsible for enforcement of the same for its employees, and that Landlord
reserves the right to enforce the parking restriction in any manner it deems reasonably necessary, including if
required, towing in accordance with applicable laws and ordinances.

15.     Landlord reserves the right to designate the location and manner in which any specimen or similar
boxes or repositories are placed within the Building. To the extent Landlord designates a location within the
common areas of the Building, Tenant shall be responsible for keeping the specimen or similar box or
repository in a clean, neat and orderly condition.




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                                                 EXHIBIT “C”


                                        GUARANTY AGREEMENT


        This is an absolute and unconditional guarantee of that certain Lease Agreement dated _________, by
and between POINCIANA MEDICAL CENTER DEVELOPMENT, LLC, a Florida limited liability company
(hereinafter called "Landlord") and __________________, a _________________ (hereinafter called
"Tenant"), concerning that certain premises known as Suite ___, located at 339 Cypress Parkway, Kissimmee,
Florida 34759.

         FOR VALUE RECEIVED, and in consideration for, and as an inducement to Landlord to enter into
that certain Lease Agreement dated __________ (the "Lease"), the undersigned, jointly and severally, hereby
guarantees to Landlord, its successors and assigns, the payment of all rentals specified in the Lease and
hereunder and all other payments to be made by Tenant under said Lease, and the full performance and
observance by Tenant of all the terms, covenants, conditions and agreements therein provided to be performed
and observed by Tenant for which the undersigned shall be jointly and severally liable with Tenant, without
requiring any notice of nonpayment, nonperformance or nonobservance, or proof of notice or demand, whereby
to charge the undersigned, all of which the undersigned does hereby expressly waive, and the undersigned
expressly agrees that the Landlord, its successors and assigns, may proceed against the undersigned separately
or jointly, before, after or simultaneously with the proceedings against the Tenant for default, and that this
Guarantee shall not be terminated, affected or impaired in any way or manner whatsoever by reason of the
assertion by Landlord against Tenant of any of the rights or remedies reserved to Landlord pursuant to the
provisions of said Lease, or by reason of summary or other proceedings against Tenant, or by the omission of
Landlord to enforce any of its rights against Tenant or by reason of any extensions of time or indulgence
granted by Landlord to Tenant. The undersigned further covenants and agrees (i) that the undersigned will be
bound by all of the provisions, terms, conditions, restrictions, and limitations contained in said Lease, the same
as though the undersigned was named therein as Tenant; and (ii) that this Guarantee shall be absolute and
unconditional and shall remain and continue in full force and effect as to any renewal, extension, amendment,
addition, assignment, sublease, transfer or other modification of said Lease, whether or not the undersigned
shall have any knowledge or have been notified of or agreed or consented to any such renewal, extension,
amendment, addition, assignment, sublease, transfer or other modification of said Lease, and the undersigned
agrees to be bound by any and all modifications to the Lease. If Landlord at any time is compelled to take any
action or proceeding in court or otherwise to enforce or compel compliance with the terms of this Guarantee,
the undersigned shall, in addition to any other rights and remedies to which the Landlord may be entitled
hereunder or as a matter of law or in equity, be obligated to pay all costs, including attorneys' fees, incurred or
expended by Landlord in connection therewith. Further, the undersigned hereby covenants and agrees to
assume said Lease and to perform all of the terms and conditions thereunder for the balance of the original
term should said Lease be disaffirmed by any Trustee in Bankruptcy for Tenant, or at the option of Landlord,
the undersigned shall, in the event of Tenant's bankruptcy, make and enter into a new lease which shall be in
form and substance identical to said Lease. All obligations and liabilities of the undersigned pursuant to this
Guarantee shall be binding upon the heirs, legal representatives, successors and assigns of the undersigned,
and the undersigned, its heirs, legal representatives, successors and assigns shall remain fully liable under the
Lease and this Guarantee regardless of any merger, corporate reorganization or restructuring involving Tenant
regardless of the resulting organization, structure or ownership of Tenant. This Guarantee shall be governed
by and construed in accordance with the laws of the State of Florida.



     THE UNDERSIGNED HEREBY UNCONDITIONALLY CONSENTS AND AGREES THAT
ANY LEGAL ACTION BROUGHT UNDER THIS GUARANTEE MAY BE BROUGHT IN ANY


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STATE COURT OF THE STATE OF FLORIDA OR IN A FEDERAL UNITED STATES COURT IN
FLORIDA AND THE UNDERSIGNED HEREBY UNCONDITIONALLY CONSENTS TO THE
JURISDICTION OF SUCH COURTS IN CONNECTION WITH ANY CAUSE OF ACTION
BROUGHT BY OR AGAINST TENANT AND/OR THE UNDERSIGNED IN ANY WAY DIRECTLY
OR INDIRECTLY RELATED TO THE AFOREMENTIONED LEASE OR THIS GUARANTEE.
THE UNDERSIGNED HEREBY WAIVES ANY RIGHT THE UNDERSIGNED MAY HAVE TO
TRANSFER OR CHANGE THE VENUE OF ANY LITIGATION BROUGHT AGAINST THE
UNDERSIGNED IN ACCORDANCE WITH THIS GUARANTEE, AND THE UNDERSIGNED ALSO
AGREES NOT TO SEEK A JURY TRIAL IN ANY LAWSUIT, PROCEEDING, COUNTERCLAIM
OR ANY OTHER LITIGATION PROCEEDING BASED UPON OR ARISING OUT OF THIS
GUARANTEE.

         Until all obligations of Tenant under the Lease have been performed, satisfied and paid in full, the
undersigned shall have no right of subrogation, reimbursement or indemnity whatsoever and no right of
recourse to or with respect to any assets or property of Tenant. If Landlord is required to or agrees to repay
any amount received by Landlord on account of any payments, obligations and liabilities of Tenant to Landlord
as a result of a judgment, order or decree of a court of competent jurisdiction or as a result of a settlement or
compromise concerning a claim for repayment by any party to such payments, obligations and liability, the
undersigned shall remain fully liable to Landlord for the amount repaid notwithstanding the revocation or
termination of this Guarantee or the cancellation or termination of the Lease.

         At any time that Tenant is required to furnish a certificate pursuant to the Lease, the undersigned, by
guarantying the terms and conditions of the Lease, agree that he will, upon twenty (20) calendar days prior
written request to Tenant, certify (by written instrument, duly executed, acknowledged and delivered to
Landlord and to any third person designated by Landlord in such request) that the undersigned concurs with
the statements set forth in said certificate by Tenant and that this guarantee remains in full force and effect as
to all obligations of Tenant under this Lease. Failure to deliver such certificate to Landlord (and any such
designated third party) within such twenty (20) day period shall constitute automatic approval of the requested
certificate as though such certificate had been fully executed and delivered by the undersigned to Landlord and
such designated third party.

       IN WITNESS WHEREOF, the undersigned has executed this Guarantee this ______ day of
_____________, 201_.
                                    ___________________________________
                                    Name:______________________________

STATE OF ___________
COUNTY OF __________

        The foregoing instrument was acknowledged before me this _____ day of ___________, 201_, by
_____________, as _________ of _____________, a ________________ corporation, on behalf of the
corporation. He/She is [__] personally known to me or [__] has produced __________ as identification.

                                                   ___________________________________
My Commission Expires:                             Notary Public




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                                                  EXHIBIT “D”


                                  USE RESTRICTIONS FOR PREMISES



1.       All licensed physicians (herein, a ”Physician” or “Physicians”) who conduct a medical practice and
related activities (a “Practice”) at the Premises must be and remain appropriately licensed and in good standing
with the state licensing board and any applicable federal, state or local certification or licensing agency or
office, without restriction, and not subject to any material sanction, exclusion order, or other disciplinary order
with respect to his or her participation in any federal or state healthcare program.


2.      The Premises shall not be used in whole or in part for the following activities:

(i)    any purpose that is in violation of any law, code, ordinance, zoning ordinance or condition or
governmental rule or regulation,

(iI)    any operation which creates a nuisance.

3.      No drugs or medicines may be dispensed on or in the Premises to persons other than the patients of
Physicians occupying the Premises as a tenant.

4.       The installation and use of any diagnostic, laboratory or radiology equipment on or in the Premises shall
be subject to the prior written approval of Landlord, which approval may be granted or denied in their sole and
absolute discretion. No such equipment installed and used on the Premises with prior written consent as stated in
the foregoing sentence may be used in a manner or for purposes that violate the provisions of this Exhibit “D”.




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      EXHIBIT “D”




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   SUBORDINATION, NON-DISTURBANCE AND ATTORNMENT AGREEMENT

       This Agreement is made effective as of the ____ day of August, 2018 by and among
BREVARD EYE CENTER, INC., a Florida corporation, BREVARD SURGERY CENTER,
INC., a Florida corporation, and MEDICAL CITY EYE CENTER, P.A., a Florida corporation,
each with a mailing address of 250 North Courtenay Parkway, Suite 201, Merritt Island,
Florida 32953 (collectively, the “Tenant”), THMIH, INC., a Florida corporation (“Landlord”)
SUMMITBRIDGE NATIONAL INVESTMENTS V LLC, a Delaware limited liability
company, with a mailing address of _____________________________________
(“Lender,” and together with Tenant and Landlord, the “Parties”).

                                    W I T N E S S E T H:

        WHEREAS, BANK OF AMERICA, N.A. (the “Original Lender”), previously
extended loans (the “Loans”) to Tenant and Landlord, which loan was secured by, among other
things, (a) that certain Mortgage executed by Landlord in favor of Lender dated on or about
September 27, 2013, recorded in the Public Records of Brevard County, Florida at O.R. Book
6982, Page 2563 (the “Melbourne Mortgage”) covering certain real property generally located
at 665 South Apollo Boulevard, Melbourne, Florida 32901 with all improvements thereon (the
“Melbourne Property”) and (b) that certain Mortgage executed by Landlord in favor of Lender
dated on or about May 9, 2014, recorded in the Public Records of Brevard County, Florida at
O.R. Book 7125, Page 2560 (the “Merritt Island Mortgage”, and together with the Melbourne
Mortgage, collectively, the “Mortgages”) covering certain real property generally located at 250
North Courtenay Parkway, Merritt Island, Florida 32953 with all improvements thereon (the
“Merritt Island Property”, and together with the Melbourne Property, collectively, the
“Properties”); and
        WHEREAS, Landlord and Tenant entered into those certain Lease Agreements with
an effective date of ________, 2018 (collectively, the “Leases”), pursuant to the terms of
which Landlord has agreed to lease the Properties to Tenant and Tenant has agreed to
lease the Properties from Landlord; and
        WHEREAS, Tenant and Lender desire to enter into this Agreement in order to (a)
acknowledge that the Leases a r e subordinate to the lien of the Mortgages, (b) for Tenant to
attorn to and recognize Lender upon, among other things, foreclosure of the Mortgages, (c)
for Lender to consent to all the terms and provisions of the Leases, and (d) for Lender to
agree not to disturb Tenant's rights under the Lease, all subject to the terms hereof.
                                          Agreement:

       NOW, THEREFORE, the Parties hereto, in consideration of the mutual coven·ants
herein contained, and intending to be legally bound hereby, agree as follows:

        1.      Tenant agrees that each Lease is subordinate to the lien of the relevant
Mortgage and to any and all renewals, modifications, consolidations, replacements and
extensions thereof, to the full extent of the principal sum of the Loans, all accrued and unpaid
interest thereon and all other costs and expenses provided for under the Loans.
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        2.    Lender has reviewed the Leases and hereby approves of and consents to all
of the terms and provisions thereof.

           3.       So long as Tenant complies with all of the terms and provisions of the Lease
applicable to it, Tenant’s rights under the Lease shall not be disturbed or interfered with by
Lender, and all other terms and provisions of the Lease shall remain in full force and
effect. So long as Tenant is not in default under each Lease beyond applicable notice and
cure periods, Lender agrees that: (i) it shall not join Tenant in any foreclosure of the lien of
the applicable Mortgage or other proceeding in respect thereof and (ii) to the full extent
permitted under applicable law, no foreclosure of the lien of the applicable Mortgage or other
proceeding in respect thereof shall divest, impair, modify, abrogate or otherwise adversely
affect any interests or rights whatsoever of the Tenant under the a p p l i c a b l e Lease. In the
event of any such adverse effect, so long as Tenant is not in default under the a p p l i c a b l e
Lease beyond applicable notice and cure periods, Lender or other purchaser or transferee of
the applicable Property and Tenant shall enter into a new lease with the same terms as the
applicable Lease. Notwithstanding anything contained in this Agreement to the contrary,
however, it is agreed that Lender shall not be (A) liable for any act or omission of any prior
landlord, provided that Lender shall be obligated to correct any conditions that exist as of
the date of succession that violate Lender's obligations as Landlord under the
a p p l i c a b l e Lease, (B) subject to any offsets or defenses which the Tenant may have
against any prior landlord unless such offset or defense relates to events that occurred on
or after the date of succession, (C) bound by any rent or additional rent which the Tenant
might have paid for more than the current month to any prior landlord unless actually
received by Lender, (D) bound by any amendment or modification to the Lease which
effectively decreases the term of the applicable Lease without the prior written consent of
Lender nor (E) bound by any amendment or modification to the Lease which is executed
after the Commencement Date (as defined in the Leases) that creates any additional right
to terminate the Leases in favor of Tenant without the prior written consent of Lender

       4.      Tenant agrees that it shall attorn to and recognize Lender, as mortgagee in
possession or otherwise, the purchaser of either Property at foreclosure sale under the
applicable Mortgage, any transferee who acquires the property by deed in lieu of foreclosure
or otherwise, and the successors and assigns of each of them (provided such party expressly
assumes the obligations of Landlord under the applicable Lease), as Tenant's landlord for
the balance of the term of the applicable Lease in accordance with the terms and provisions
of such Lease, but subject to the provisions of Section 3 above.

        5.     So long as a Mortgage remains outstanding and unsatisfied, prior to
terminating the applicable Lease due to a default by Landlord thereunder, Tenant will mail
or deliver to the Lender, at the address set forth above, a copy of the termination notice to
be given to the Landlord by the Tenant under and pursuant to the terms and provisions of
the Lease. Within the time permitted the Landlord for curing any default under the applicable
Lease as therein provided, the Lender may, but shall have no obligation to, pay any taxes and
assessments, make any repairs and improvements, make any deposits or do any other act or
thing required of the Landlord by the terms of the Lease; and all payments so made and all
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things so done and performed by the Lender shall be as effective to prevent the lease being
terminated or rights of the Landlord from being forfeited or adversely affected because of
any default under the Lease as the same would have been if done and performed by the
Landlord.

        6.     In the event of any transfer of the Properties, whether through foreclosure or
otherwise, all monies owed by or collected from Tenant under the Leases, including but not
limited to Rent and the Security Deposit (as such terms are defined in the Leases), shall be
turned over, delivered, and paid to Lender, to the extent not previously turned over, delivered,
or paid to Lender.

       7.      Except as otherwise specifically provided herein, this Agreement shall inure
to the benefit of and be binding upon each of the Parties and their successors and assigns,
and shall be governed and construed in accordance with the laws of the jurisdiction in which
the Properties are located.

        8.     This Agreement may be executed in any number of counterparts, each of
which shall be deemed an original instrument, but all such counterparts together shall
constitute one and the same instrument.

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       IN WITNESS WHEREOF, the parties have caused this Agreement to be executed
the day and year first-above written.

Two Witnesses Required:                 TENANT:


                                        Brevard Eye Center, Inc.,
Print Name:                             a Florida corporation

                                        By:
Print Name                              Name:
                                        Title:

                                        Date:    _________


                                        Brevard Surgery Center, Inc.,
Print Name:                             a Florida corporation

                                        By:
Print Name                              Name:
                                        Title:

                                        Date:    _________


                                        Medical City Eye Center, P.A.,
Print Name:                             a Florida corporation

                                        By:
Print Name                              Name:
                                        Title:

                                        Date:    _________

                       [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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                SIGNATURE PAGE TO SUBORDINATION, NON-DISTURBANCE
                           AND ATTORNMENT AGREEMENT

Two Witnesses Required:                 LANDLORD:
                                        THMIH, Inc.,
Print Name:                             a Florida corporation

                                        By:
Print Name                              Name:
                                        Title:

                                        Date:    _________

                       [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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                SIGNATURE PAGE TO SUBORDINATION, NON-DISTURBANCE
                           AND ATTORNMENT AGREEMENT

Two Witnesses Required:                 LENDER:
                                        SummitBridge National Investments V LLC,
Print Name:                             a Delaware limited liability company

                                        By:
Print Name                              Name:
                                        Title:

                                        Date:    _________




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      EXHIBIT “E”




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                                                    IN THE CIRCUIT COURT OF THE NINTH
                                                    JUDICIAL CIRCUIT, IN AND FOR
                                                    ORANGE COUNTY, FLORIDA
SummitBridge National Investments V                CASE NO. 2017 CA 2483
LLC, a Delaware limited liability company

          Plaintiff,

v.

Rafael Trespalacios a/k/a Rafael
Trespalacios, M.D., an individual, THMIH,
Inc., a Florida corporation, Brevard Eye
Center, Inc., a Florida corporation, Brevard
Surgery Center, Inc., a Florida corporation,
Medical City Eye Center, P.A., a Florida
corporation, Steve Black, an individual, and
unknown tenants in possession,

      Defendants.
_______________________________/

              STIPULATION AND CONSENT TO ENTRY OF FINAL JUDGMENT OF
                                  FORECLOSURE

          Plaintiff, SUMMITBRIDGE NATIONAL INVESTMENTS V LLC, a Delaware limited

liability company (“Plaintiff”), and Defendants, THMIH, Inc., a Florida corporation, Brevard Eye

Center, Inc., a Florida corporation, Brevard Surgery Center, Inc., a Florida corporation, and

Medical City Eye Center, P.A., a Florida corporation (collectively, the “Defendants”), by and

through their undersigned counsel, hereby stipulate and agree to the following (this “Stipulation”):

          1.      Plaintiff is the owner and the holder of the Loan Documents,1 and owner and holder

of the original Notes.

          2.      Defendants defaulted in their obligations under the Loan Documents by, among

other things, failing to pay Plaintiff amounts due under the Loan Documents when due.




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          3.       As of March 1, 2017, the aggregate amount of principal and interest due under the

Loan Documents with respect to each of the Loans was $11,720,646.02, consisting of unpaid

principal of $11,597,316.76 and accrued and unpaid interest of $123,329.26, which amounts

accrue interest at the rate of $2,085.68 per day, in addition to fees, penalties and costs owed under

the Loan Documents that continue to accrue as incurred (the “Indebtedness”).

          4.       Due to the Defendants’ failure to pay amounts owing under the Loan Documents

as and when due, it was necessary for Plaintiff to employ its counsel of record to enforce Plaintiff’s

rights and remedies under the Loan Documents, including without limitation the filing of this

action, for which Plaintiff has incurred costs and expenses, including attorneys' fees, which the

Defendants are obligated to pay under the terms and conditions of the Loan Documents.

              5.   Due to Defendants’ defaults under the Loan Documents, Plaintiff is entitled to

 foreclose its mortgages on the Real Property.

          6.       This Court has jurisdiction over the parties and subject matter of this action.

          7.       All allegations of the Plaintiff in the Verified Complaint are true and correct and

are hereby admitted by Defendants.

          8.       Plaintiff, and its successors or assigns, may file and record a notice of lis pendens

against the Real Property, and may amend the Verified Complaint to add any and all counts,

claims, or parties that Plaintiff deems necessary or appropriate to foreclose Plaintiff’s mortgage

liens on the Real Property.

          9.       Defendants stipulate and agree to entry of a final judgment of foreclosure against

Defendants in a form substantially similar to the Final Judgment attached hereto as Exhibit 1 (the

“Final Judgment”). The Final Judgment does not contain the names of additional parties that may

need to be added in order to foreclose the Real Property, and Defendants stipulate and agree to the




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addition or inclusion of any additional parties to the Final Judgment for purposes of, and as

necessary to, proceed with foreclosing the Real Property. Any other provision of the Final

Judgment may be modified, amended, stricken, or added, for purposes of foreclosing the Real

Property, such as the modification or amendment of the amount of Indebtedness, Plaintiff’s right

to credit bid, the existence and priority of liens against the Property, or whether the Real Property

shall be sold separately or together.

          10.     Defendants further stipulate and agree that the Mortgages that are the subject of this

action include real property lying in Orange County and Brevard County, Florida, and that, in

accordance with Section 702.04, Florida Statutes, all of the Real Property located in Brevard

County, Florida that is the subject of this action may be foreclosed in Orange County, Florida, and

that all foreclosure proceedings over the Real Property may be had in this Court.

          11.     Defendants further stipulate and agree, to the extent deemed necessary or

appropriate by Plaintiff or the Court, that this action may be transferred to any other Circuit Court

that may have jurisdiction over the subject matter of this action, including but not limited to the

Circuit Court in and for Brevard County, Florida.

          12.     Defendants further stipulate and consent to, and hereby waive, with prejudice, any

defenses, objections or challenges to, any action, motion or pleading made or requested by Plaintiff

to complete foreclosure and sale of the Real Property, including, but not limited to, the filing and

recordation of a notice of lis pendens against the Properties, an amended complaint adding

additional parties or lienholders, the amendment or modification of the proposed Final Judgment

attached hereto as Exhibit “1,” the credit bidding of any or all of the Indebtedness, the transfer of

the State Court Action or the commencement of a new foreclosure action in the Circuit Court in

and for Brevard County, Florida, any actions required by a title insurance company to fully insure




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the transfer of title by foreclosure, and any actions required by a court of law to foreclose and sell

the Properties.

          13.     This Stipulation is being filed in connection with a Settlement Agreement entered

into by and between Plaintiff and Defendants and approved by the United States Bankruptcy Court

in and for the Middle District of Florida, Orlando Division, in the bankruptcy case of In re Brevard

Eye Center, Inc., case no. 6:17-BK-01828-KSJ. Defendants do not stipulate to entry of a

deficiency judgment against them; provided, however Plaintiff shall retain all of its rights to

enforce the indebtedness in connection with its in rem rights against the Real Property, including

foreclosing on additional property, and Plaintiff shall retain all of its claims in the Defendants’

bankruptcy cases.

          WHEREFORE, Plaintiff and Defendants hereby request the Court to enter the Final

Judgment attached hereto in accordance with this Stipulation, enter such other and further orders

the Court deems just and appropriate to carry out this Stipulation, and grant such other and further

relief as the Court deems just and proper.

          Respectfully submitted this ___ day of ___, 2018,

                                               Respectfully submitted,



                                               Richard A. Robinson, Esq.
                                               Florida Bar Number: 41238
                                               Primary Email: rrobinson@burr.com
                                               Secondary Email: lcarnevale@burr.com
                                               Jonathan M. Sykes, Esq.
                                               Florida Bar Number: 73176
                                               Primary Email:    jsykes@burr.com
                                               Secondary Email: lloving@burr.com
                                               BURR & FORMAN LLP
                                               200 S. Orange Avenue, Suite 800
                                               Orlando, FL 32801
                                               Telephone: (407) 540-6600



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                                           Facsimile: (407) 540-6601
                                           ATTORNEYS FOR PLAINTIFF



                                           _______________________________

                                           [Geoffrey Aaronson’s signature block]




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STIPULATED AND AGREED TO BY:



_____________________________

Dr. Rafael Trespalacios, as owner and president of THMIH, Inc.



_____________________________

Dr. Rafael Trespalacios, as owner and president of Brevard Eye Center, Inc.



_____________________________

Dr. Rafael Trespalacios, as owner and president of Brevard Surgery Center, Inc.



_____________________________

Dr. Rafael Trespalacios, as owner and president of Medical City Eye Center, P.A.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on _____, 20___, a true and correct copy of the foregoing was
filed with the Clerk of Court by using the Florida Courts E-Filing Portal which will send notice of
electronic filing and complete service of the foregoing as required by Fla. R. Jud. Admin. 2.516
to: Roy S. Kobert, Esq., (Roy.Kobert@gray-robinson.com), Gray Robinson, P.A., 301 E. Pine
Street, Suite 1400, Orlando, FL 32802 and Michael A. Nardella, Esq.,
(mnardella@nardellalaw.com), Nardella & Nardella, PLLC, 250 E. Colonial Drive, Suite 102,
Orlando, FL 32801-1231




                                                     Jonathan M. Sykes, Esq.




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                                           EXHIBIT 1

                                       Agreed Final Judgment

                                        [Follows this Page]




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                                                    IN THE CIRCUIT COURT OF THE NINTH
                                                    JUDICIAL CIRCUIT, IN AND FOR
                                                    ORANGE COUNTY, FLORIDA
SummitBridge National Investments V                CASE NO. 2017 CA 2483
LLC, a Delaware limited liability company

          Plaintiff,

v.

Rafael Trespalacios a/k/a Rafael
Trespalacios, M.D., an individual, THMIH,
Inc., a Florida corporation, Brevard Eye
Center, Inc., a Florida corporation, Brevard
Surgery Center, Inc., a Florida corporation,
Medical City Eye Center, P.A., a Florida
corporation, Steve Black, an individual, and
unknown tenants in possession,

      Defendants.
_______________________________/

               STIPULATED CONSENT FINAL JUDGMENT OF FORECLOSURE

          THIS CAUSE comes before the Court on the Stipulation and Consent to Final Judgment

filed by Plaintiff, SUMMITBRIDGE NATIONAL INVESTMENTS V LLC, a Delaware limited

liability company (“Plaintiff”), and Defendants, THMIH, Inc., a Florida corporation, Brevard Eye

Center, Inc., a Florida corporation, Brevard Surgery Center, Inc., a Florida corporation, and

Medical City Eye Center, P.A., a Florida corporation (collectively, the “Defendants”), the Court

having reviewed the Stipulation and Consent to Final Judgment and the pleadings on file, having

reviewed the signatures of the parties on the Stipulation and Consent to Final Judgment, and having

been otherwise duly advised in the premises, and it is hereby:

          ORDERED AND ADJUDGED:

          1.      The Court has jurisdiction of the subject matter and the parties. The allegations

contained in Verified Complaint, including any and all amendments thereto, have been admitted


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by the Defendants and constitute competent evidence to support the Plaintiff’s claims against the

Defendants. Further, the equities are with the Plaintiff and judgment is due to be entered in

Plaintiff’s favor.

          2.      The Stipulation and Consent to Final Judgment is hereby APPROVED.

          3.      The address of the Plaintiff is 1700 Lincoln Street, Suite 2150, Denver, Colorado

80203.

          4.      Defendant, Trespalacios, is an individual whose address is 4448 Reseda Way,

Rockledge, Florida 32955.

          5.      Defendant, THMIH, is a Florida corporation whose principal place of business is

located at 665 S. Apollo Boulevard, Melbourne, Florida 32901.

          6.      Defendant, Brevard Eye, is a Florida corporation whose principal place of business

is located at 665 S. Apollo Boulevard, Melbourne, Florida 32901.

          7.      Defendant, Brevard Surgery, is a Florida corporation whose principal place of

business is located at 665 S. Apollo Boulevard, Melbourne, Florida 32901.

          8.      Defendant, Medical City, is a Florida corporation whose principal place of business

is located at 665 S. Apollo Boulevard, Melbourne, Florida 32901.

          9.      Defendant, THMIH, is a Florida corporation whose principal place of business is

located at 665 S. Apollo Boulevard, Melbourne, Florida 32901.

          10.     Defendants, Unknown Tenants, if any, reside in or have their principal place of

business in Brevard County, Florida.

          11.     [Insert the last known address of any additional defendants named by Plaintiff in

accordance with the Stipulation and Consent to Final Judgment]




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          12.     Pursuant to the Stipulation and Consent to Final Judgment, the Court finds the

amount due and owing to Plaintiff, and its successors and assigns, by and from Defendants, jointly

and severally, as of the date of this Judgment, is _____________________ [which shall be an

amount that includes costs, interest, fees, and attorneys’ fees that accrue through the date of

Judgment], which amount shall bear interest at the statutory rate of 5.35% commencing on the date

of this Consent Final Judgment, which interest shall be adjusted annually on January 1 of each

year in accordance with the interest rate in effect on that date as set by the Chief Financial Officer

until the judgment is paid, pursuant to §55.03(3) Fla. Stat., and shall be increased in the amount of

such further fees and costs as may be incurred in this action by Plaintiff, and its successors and

assigns (the “Indebtedness”).

          13.     Judgment is hereby entered in favor of Plaintiff, and its successors and assigns,

foreclosing on the real and related personal property located at, situate and being in Orange County

and Brevard County, Florida as more fully described below:


          Parcel 1:

          Real property located at 665 S. Apollo Boulevard, Melbourne, Florida 32901, and
          described as follows:

          A portion of the Northwest 1/4, Section 34, Township 27 South, Range 37 East, Brevard
          County, Florida, being more particularly described as follows:

          From the intersection of the Easterly Right of Way line of Babcock Street and the
          Northeasterly Right of Way line of Apollo Boulevard in the City of Melbourne, Florida,
          run South 41 degrees 13' 04" East along the Northeasterly Right of Way line of Apollo
          Boulevard a distance of 535 feet to the Point of Beginning of the herein described parcel;
          thence North 48 degrees 46' 56" East a distance of 200 feet to the Southwesterly Right of
          Way line of the Florida East Coast Railroad; thence South 41 degrees 13' 04" East along
          said Railroad Right of Way line a distance of 215 feet; thence South 48 degrees 46' 56"
          West 200 feet to the Northeasterly Right of Way line of Apollo Boulevard; thence North
          41 degrees 13' 04" West 215 feet to the Point of Beginning. Subject to a Drainage
          Easement over the Northerly 15 feet and the Easterly 50 feet thereof.




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          Parcel 2:

          Real property located at 250 N. Courtenay Parkway, Merritt Island, Florida 32953, and
          described as follows:

          Commencing at the North quarter corner of Section 35, Township 24 South, Range 36 East,
          Brevard County, Florida, run South 89 degrees 59 minutes 40 seconds East along the North
          line of said Section 35, a distance of 63.74 feet to the East right of way line of State Road
          A1A; thence run South 0 degrees 0 minutes 40 seconds West along said East right of way
          line, 205 feet for a Point of Beginning; thence continue South 0 degrees 0 minutes 40
          seconds West along said East right of way line, 219.45 feet; thence run North 51 degrees
          5 minutes 40 seconds East 278.47 feet; thence run North 38 degrees 54 minutes 20 seconds
          West 57.24 feet; thence run North 89 degrees 59 minutes 40 seconds West 180.72 feet to
          the Point of Beginning.

          Together with that certain easement for parking and ingress and egress as created in
          Warranty Deed recorded in Official Records Book 671, Page 78 and further described in
          Warranty Deed in Official Records Book 1584, Page 1038 and Agreement with respect to
          Rights in Easement dated August 27, 1996 and recorded September 5, 1996 in Official
          Records Book 3602, Page 3411, all of the Public Records of Brevard County, Florida.

          Parcel 3:

          Real property located at 214 East Marks Street, Orlando, Florida 32803, and described as
          follows:

          East 70 feet of Lot 9 and East 10 feet of Lot 11, All of Lot 12, Block B, Magnolia Park
          Subdivision, according to the plat thereof recorded at Plat Book G, Page 126, in the Public
          Records of Orange County, Florida.

          Lots 21 and 22, Sunshine Park, F.A. Lewters Addition to Orlando, according to the plat
          thereof recorded at Plat Book F, Page 58, in the Public Records of Orange County, Florida.

          (Parcels 1, 2, and 3 are collectively referred to herein as the “Property”)


          14.     Plaintiff holds a lien on the Property for the total sum of the Indebtedness awarded

above, superior to all claims or estates of the Defendants [and other lienholders or additional

defendants named herein] on the Property.

          15.     The Clerk of this Court shall sell the Property at public sale on

_______________________, 2018, at 11:00 a.m. to the highest bidder for cash, except as




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prescribed in paragraph 16, in accordance with Section 45.031, Florida Statutes, and Florida law,

by electronic sale at www.myorangeclerk.realforeclose.com. In accordance with Section 702.04,

Florida Statutes, and the parties’ Stipulation and Consent to Final Judgment, all of the Property

that is located in Brevard County, Florida may be foreclosed in Orange County, Florida, and all

foreclosure proceedings over the Property shall be had in this Court, except that notice of the sale

must be published in every county wherein any of the Property lies. After final disposition of the

suit, the Clerk of this Court shall prepare and forward a certified copy of the decree of foreclosure

and sale and of the decree of confirmation of sale to the clerk of the circuit court of every county

wherein any of the Property lies, to be recorded in the foreign judgment book of each such county,

and the costs of such copies and of the record thereof shall be taxed as costs in this suit.

          16.     Plaintiff shall advance all subsequent costs of this action and shall be reimbursed

for them by the Clerk if Plaintiff is not the purchaser of the property for sale; provided, however,

that the purchaser of the property for sale shall be responsible for the documentary stamps payable

on the certificate of title. If Plaintiff is the purchaser, the Clerk shall credit Plaintiff's bid with the

total sum with interest and costs accruing subsequent to this Judgment, or such part of it as is

necessary or appropriate to pay the bid in full.

          17.     On filing the Certificate of Title, the Clerk shall distribute the proceeds of the sale,

so far as they are sufficient, by paying: first, all of Plaintiff's costs; second, documentary stamps

affixed to the Certificate; third, Plaintiff's attorneys' fees; fourth, the total sum due to Plaintiff, less

the items paid, plus interest at the rate prescribed above from this date to the date of the sale; and

by retaining any remaining amount pending the further order of this Court.

          18.     On filing the Certificates of Sale, Defendants and all persons claiming under or

against Defendants since the filing of the notice of lis pendens shall be foreclosed of all estate or




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claim in the Property, except as to claims or rights under chapter 718 or chapter 720, Florida

Statutes, if any.

          19.     Upon the filing of the Certificate of Title, the person named on the Certificate of

Title shall be let into possession of the Property. If a Defendant remains in possession of the

Property, the clerk shall without further order of the Court issue forthwith a writ of possession

upon request of the person named on the Certificate of Title.

          IF THIS PROPERTY IS SOLD AT PUBLIC AUCTION, THERE MAY BE

ADDITIONAL MONEY FROM THE SALE AFTER PAYMENT OF PERSONS WHO

ARE ENTITLED TO BE PAID FROM THE SALE PROCEEDS PURSUANT TO THE

FINAL JUDGMENT.

          IF YOU ARE A SUBORDINATE LIENHOLDER CLAIMING A RIGHT TO

FUNDS REMAINING AFTER THE SALE, YOU MUST FILE A CLAIM WITH THE

CLERK NO LATER THAN 60 DAYS AFTER THE SALE. IF YOU FAIL TO FILE A

CLAIM, YOU WILL NOT BE ENTITLED TO ANY REMAINING FUNDS.

          20.     Jurisdiction of this action is retained to enter further orders and judgments on other

counts in the complaint that are proper. Jurisdiction of this action is further retained to enter orders

and judgments on any supplemental complaint to add an omitted party post-judgment, known as a

re-foreclosure, to take such other actions as may be necessary to correct any title defect with

respect to the foreclosed property, or to litigate any cross-claims. Jurisdiction of this action is

further retained to transfer this action to the Circuit Court in and for Brevard County, Florida for

the purpose of completing a foreclosure sale of the Properties located in Brevard County, Florida.




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          DONE AND ORDERED, in Orlando, Orange County, Florida, this ______ day of

__________________, 2018.




                                           ____________________________________
                                           Circuit Court Judge___________




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       EXHIBIT “F”




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                                                 IN THE CIRCUIT COURT OF THE
                                                 NINTH JUDICIAL CIRCUIT, IN
                                                 AND FOR ORANGE COUNTY,
                                                 FLORIDA
SummitBridge National Investments                CASE NO. 2017 CA 2483
V LLC, a Delaware limited liability
company

          Plaintiff,

v.

Rafael Trespalacios a/k/a Rafael
Trespalacios, M.D., an individual,
THMIH, Inc., a Florida corporation,
Brevard Eye Center, Inc., a Florida
corporation, Brevard Surgery
Center, Inc., a Florida corporation,
Medical City Eye Center, P.A., a
Florida corporation, Steve Black, an
individual, and unknown tenants in
possession,

     Defendants.
_______________________________/

     STIPULATION AND CONSENT TO ENTRY OF FINAL JUDGMENT
                AGAINST RAFAEL TRESPALACIOS

          Plaintiff, SUMMITBRIDGE NATIONAL INVESTMENTS V LLC, a

Delaware limited liability company (“Plaintiff”), and Defendant, Rafael Trespalacios

a/k/a Rafael Trespalacios, M.D., an individual (“Defendant”), by and through their

undersigned counsel, hereby stipulate and agree to the following (this “Stipulation”):




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          1.      Plaintiff is the owner and the holder of the Loan Documents,1 and

owner and holder of the original Notes.

          2.      Defendant defaulted in his obligations under the Loan Documents by,

among other things, failing to pay Plaintiff amounts due under the Loan Documents

when due.

          3.      As of March 1, 2017, the aggregate amount of principal and interest due

under the Loan Documents with respect to each of the Loans was $11,720,646.02,

consisting of unpaid principal of $11,597,316.76 and accrued and unpaid interest of

$123,329.26, which amounts accrue interest at the rate of $2,085.68 per day, in

addition to fees, penalties and costs owed under the Loan Documents that continue

to accrue as incurred (the “Indebtedness”).

          4.      Due to the Defendants’ failure to pay amounts owing under the Loan

Documents as and when due, it was necessary for Plaintiff to employ its counsel of

record to enforce Plaintiff’s rights and remedies under the Loan Documents,

including without limitation the filing of this action, for which Plaintiff has incurred

costs and expenses, including attorneys' fees, which the Defendants are obligated to

pay under the terms and conditions of the Loan Documents.

          5.      Due to Defendants’ defaults under the Loan Documents, Plaintiff is

entitled to a final money judgment against Defendant.




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          6.      The Court has jurisdiction over the parties and subject matter of this

action.

          7.      All allegations of the Plaintiff in the Verified Complaint are true and

correct and are hereby admitted by Defendant.

          8.      Defendant further withdraws and waives, with prejudice, any and all

defenses to this action. Defendant stipulates and agrees to entry of a final money

judgment against Defendant in a form substantially similar to the Final Judgment

attached hereto as Exhibit 1 (the “Final Judgment”).

          9.      This Stipulation is being filed in connection with a Settlement

Agreement entered into by and between Plaintiff and Defendant and approved by

the United States Bankruptcy Court in and for the Middle District of Florida,

Orlando Division, in the bankruptcy case of In re Brevard Eye Center, Inc., case no.

6:17-BK-01828-KSJ, and Defendant’s default thereunder.

          WHEREFORE, Plaintiff hereby requests the Court to enter the Final

Judgment attached hereto in accordance with this Stipulation, enter such other and

further orders the Court deems just and appropriate to carry out this Stipulation, and

grant such other and further relief as the Court deems just and proper.

          Respectfully submitted this ___ day of ___, 2018,

                                           Respectfully submitted,




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                                           Richard A. Robinson, Esq.
                                           Florida Bar Number: 41238
                                           Primary Email: rrobinson@burr.com
                                           Secondary Email: lcarnevale@burr.com
                                           Jonathan M. Sykes, Esq.
                                           Florida Bar Number: 73176
                                           Primary Email: jsykes@burr.com
                                           Secondary Email: lloving@burr.com
                                           BURR & FORMAN LLP
                                           200 S. Orange Avenue, Suite 800
                                           Orlando, FL 32801
                                           Telephone: (407) 540-6600
                                           Facsimile: (407) 540-6601
                                           ATTORNEYS FOR PLAINTIFF



                                           _______________________________

                                           [Roy Kobert’s signature block]




STIPULATED AND AGREED TO BY:


_____________________________

Dr. Rafael Trespalacios




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                              CERTIFICATE OF SERVICE
     I HEREBY CERTIFY that on _________, 20__, a true and correct copy of the
foregoing was filed with the Clerk of Court by using the Florida Courts E-Filing
Portal which will send notice of electronic filing and complete service of the
foregoing as required by Fla. R. Jud. Admin. 2.516 to: Roy S. Kobert, Esq.,
(Roy.Kobert@gray-robinson.com), Gray Robinson, P.A., 301 E. Pine Street, Suite
1400, Orlando, FL 32802 and                 Michael A. Nardella, Esq.,
(mnardella@nardellalaw.com), Nardella & Nardella, PLLC, 250 E. Colonial Drive,
Suite 102, Orlando, FL 32801-1231




                                                 Jonathan M. Sykes, Esq.




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                                          EXHIBIT 1

                                         Final Judgment

                                       [Follows this Page]




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                                                 IN THE CIRCUIT COURT OF THE
                                                 NINTH JUDICIAL CIRCUIT, IN
                                                 AND FOR ORANGE COUNTY,
                                                 FLORIDA
SummitBridge National Investments                CASE NO. 2017 CA 2483
V LLC, a Delaware limited liability
company

          Plaintiff,

v.

Rafael Trespalacios a/k/a Rafael
Trespalacios, M.D., an individual,
THMIH, Inc., a Florida corporation,
Brevard Eye Center, Inc., a Florida
corporation, Brevard Surgery
Center, Inc., a Florida corporation,
Medical City Eye Center, P.A., a
Florida corporation, Steve Black, an
individual, and unknown tenants in
possession,

     Defendants.
_______________________________/

                       STIPULATED CONSENT FINAL JUDGMENT
                           AGAINST RAFAEL TRESPALACIOS

          THIS CAUSE comes before the Court on the Stipulation and Consent to Final

Judgment Against Rafael Trespalacios filed by Plaintiff, SUMMITBRIDGE

NATIONAL INVESTMENTS V LLC, a Delaware limited liability company

(“Plaintiff”), and Defendant, Rafael Trespalacios a/k/a Rafael Trespalacios, M.D.,

an individual (“Defendant”), the Court having reviewed the Stipulation and Consent


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to Final Judgment and the pleadings on file, having reviewed the signatures of the

parties on the Stipulation and Consent to Final Judgment, and having been otherwise

duly advised in the premises, and it is hereby:

          ORDERED AND ADJUDGED:

          1.      The Court has jurisdiction of the subject matter and the parties. The

allegations contained in Verified Complaint, including any and all amendments

thereto, have been admitted by the Defendant and constitute competent evidence to

support the Plaintiff’s claims against the Defendant. Further, the equities are with

the Plaintiff and judgment is due to be entered in Plaintiff’s favor.

          2.      The Stipulation and Consent to Final Judgment is hereby APPROVED.

          3.      The address of the Plaintiff is 1700 Lincoln Street, Suite 2150, Denver,

Colorado 80203.

          4.      Defendant, Trespalacios, is an individual whose address is 4448 Reseda

Way, Rockledge, Florida 32955, whose social security number ends in ____.

          5.      Pursuant to the Stipulation and Consent to Final Judgment, the Court

finds the amount due and owing to Plaintiff, and its successors and assigns, by and

from Defendant, individually, as of the date of this Judgment, is $11,497,553.47,

which amount shall bear interest at the statutory rate of 5.35% commencing on the

date of this Consent Final Judgment, which interest shall be adjusted annually on

January 1 of each year in accordance with the interest rate in effect on that date as



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set by the Chief Financial Officer until the judgment is paid, pursuant to §55.03(3)

Fla. Stat., and shall be increased in the amount of such further fees and costs as may

be incurred in this action by Plaintiff, and its successors and assigns, FOR WHICH

SUMS LET EXECUTION ISSUE INSTANTER AND FORTHWITH.

          6.      It is further ordered and adjudged that Defendant shall complete under

oath Florida Rule of Civil Procedure Form 1.977 (Fact Information Sheet), including

all required attachments, and serve it on the Plaintiff's attorney or Judgment Creditor

if Judgment Creditor is not represented by an attorney within forty-five (45) days

from the date of this Judgment, unless his liability under this Judgment is satisfied

or post-judgment discovery is stayed.

          7.      Jurisdiction of this case is retained to enter further Orders as are proper

including, without limitation, to compel the Judgment Debtor to complete Form

1.977, including all required attachments, and serve it on the Judgment Creditor's

attorney or Judgment Creditor if the Judgment Creditor is not represented by an

attorney.

          8.      The Court further retains jurisdiction to hear any and all further matters

that are necessary for the full and complete adjudication of this action. The Court

also retains jurisdiction over the parties and the subject matter to conduct such

proceedings and enter such further orders as may be proper, including, but not

limited to, orders concerning discovery in aid of execution and proceedings



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supplementary, and to consider an award of attorneys' fees.

          DONE AND ORDERED, in Orlando, Orange County, Florida, this ______

day of __________________, 2018.




                                           ____________________________________
                                           Circuit Court Judge___________




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      EXHIBIT “G”




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                                        PROMISSORY NOTE

$600,000.00                                Effective as of _______ ___, 201__ (the “Effective Date”)

        FOR VALUE RECEIVED, BREVARD EYE CENTER, INC., a Florida corporation;
BREVARD SURGERY CENTER, INC., a Florida corporation; MEDICAL CITY EYE CENTER,
P.A., a Florida corporation; and THMIH, INC., a Florida corporation (collectively, the “Borrowers,”
and each individually, a “Borrower”), promise to pay to the order of SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns (the
“Lender”), the principal sum of SIX HUNDRED THOUSAND and No/100ths Dollars
($600,000.00), together with interest as hereinafter stated.

      1.      Definitions. As used in this Note, the following terms shall have the respective
meaning indicated:

          a.      “Exit Note B” shall mean that certain promissory note executed by the Borrowers in
                  favor of Lender on or about even date herewith in the amount of $400,000.00.

          b.      “Exit Financing Note” shall mean that certain promissory note executed by the
                  Borrowers in favor of Lender on or about even date herewith in the amount of
                  $250,000.00.

          c.      “Interest Rate Floor” shall mean Five and One Half Percent (5.50%) per annum.

          d.      “Prime Rate” shall mean the U.S. “Prime Rate” published in the Wall Street Journal
                  from time to time. If such prime rate shall cease to be published or is published
                  infrequently or sporadically, then the Prime Rate shall be (i) the rate of interest per
                  annum established from time to time by Lender and designated as its base or prime
                  rate, which may not necessarily be the lowest interest rate charged by Lender and is
                  set by Lender in its sole discretion, or (ii) if Lender does not publish or announce a
                  base or prime rate, or does so infrequently or sporadically, then the Prime Rate shall
                  be determined by reference to another base rate, prime rate or similar lending rate
                  index, generally accepted on a national basis, as selected by Lender in its sole and
                  absolute discretion. Each change in such fluctuating interest rate shall take effect
                  simultaneously with the corresponding change in the Prime Rate.

          e.      “Property” shall mean the property encumbered by and subject to the lien of the
                  Security Agreement.

          f.      “Security Agreement” shall mean that certain Amended and Restated Security
                  Agreement executed by the Borrowers in favor of Lender on or about even date
                  herewith, which encumbers certain property of the Borrowers described therein. The
                  Security Agreement shall secure this Note.


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          g.      “Settlement Agreement” shall mean that certain Settlement Agreement executed by
                  the Borrowers and Lender on ___________ ___, 2018, pursuant to which the
                  Borrowers and Lender agreed, inter alia, to enter into the Security Agreement and
                  this Note.

        2.       Payments. Principal and interest shall be due and payable in lawful money of the
United States of America at the principal office of Lender in ______________, or at such other place
or places as it or the holders hereof may from time to time hereafter designate in writing, as follows:

                a.      Interest Rate. Interest shall accrue on the outstanding principal balance of this
Note at a floating rate equal to the Prime Rate plus One Percent (1.00%) per annum (the “Interest
Rate”). Interest shall be calculated on the basis of a 360 day year, for the actual number of days
elapsed; provided, however, that in no event shall the Interest Rate be lower than the Interest Rate
Floor.

              b.      Monthly Payments. Commencing on January 1, 2019 and continuing on the
1st day of each month thereafter through the Maturity Date, the Borrowers shall pay monthly
payments of principal based on the outstanding principal balance of this Note on January 1, 2019,
amortized on a ten year amortization period, plus accrued interest hereunder at the Interest Rate.

              c.      Maturity Date. Notwithstanding anything to the contrary herein, the entire
outstanding principal balance, together with any accrued interest, shall be due and payable on
January 1, 2024 (the “Maturity Date”).

                d.      Allocation. All payments made upon this Note shall be applied in any order
Lender determines, in its sole discretion, to the following: (1) to accrued but unpaid interest, (2) to
unpaid principal, (3) to reduce charges owed by the Borrowers that are neither principal nor interest,
and (4) any partial prepayments of principal will be applied to installments due in the inverse order
of their maturity and no such partial prepayment of principal will have the effect of postponing,
satisfying, reducing or otherwise affecting any scheduled installment before the Note is paid in full.

        3.      Late Charge. All installments of interest or payments of principal provided for in this
Note shall be paid promptly when due and, if not paid within seven (7) calendar days after the due
date thereof, shall be subject to a late charge in an amount equal to five percent (5%) of the payment
due and shall be paid to Lender in addition to and at the time of payment of the delinquent
installment or payment.

       4.      Prepayment. The Borrowers shall have the right to prepay the principal balance of
this Note, in whole or in part, without penalty at any time, upon payment of all interest accrued to
date and other sums then due and payable pursuant to the provisions of this Note.

       5.       Interest Limitation. Notwithstanding any other provision of this Note or of any
instrument securing this Note or any other instrument executed in connection with the loan
evidenced hereby, it is expressly agreed that the amounts payable under this Note or under the other
aforesaid instruments for the payment of interest or any other payment in the nature of or which

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would be considered as interest or other charge for the use or loan of money shall not exceed the
highest rate allowed by law, from time to time, to be charged by Lender. In the event the provisions
of this Note or of any instruments referred to in this paragraph regarding the payment of interest or
other payments which would be considered as interest or other charge for the use or loan of money
operate to produce a rate that exceeds such limitation, then the excess over such limitation will not
be payable and the amount otherwise agreed to be paid shall be reduced by the excess, so that such
limitation will not be exceeded, and in the event any such payment is paid by Borrowers or received
by Lender, whereby such limitation is exceeded, the amount of the excess shall constitute and be
treated as a payment on the principal hereof and shall operate to reduce such principal by the amount
of such excess, unless Borrowers shall notify Lender in writing that Borrowers desire to have such
excess sum refunded to it.

        6.      Consent and Waiver. Each Borrower does hereby: (a) consent to any forbearance or
extension of the time or manner of payment hereof and to the release of all or any part of any security
held by the Lender to secure payment of this Note, all without notice to or consent of that party; (b)
agree that no course of dealing or delay or omission or forbearance on the part of the Lender in
exercising or enforcing any of its rights or remedies hereunder or under any instrument securing this
Note shall impair or be prejudicial to any of the Lender's rights and remedies hereunder or to the
enforcement hereof and that the Lender may extend, modify or postpone the time and manner of
payment and performance of this Note, may grant forbearances and may release, wholly or partially,
any security held by the Lender as security for this Note and release, partially and wholly, any person
or party primarily or secondarily liable with respect to this Note, all without notice to or consent by
any party primarily or secondarily liable hereunder and without thereby releasing, discharging or
diminishing its rights and remedies against any other party primarily or secondarily liable hereunder;
and (c) waive notice of acceptance of this Note, and presentment, demand, protest, notice of dishonor
and notice of protest and notices of any and all action at any time taken or omitted by the Lender in
connection with this Note or any instrument securing this Note and waive all requirements necessary
to hold that party to the liability of that party.

        7.      Cross Default. A default under this Note shall be and constitute a default under Exit
Note B, Exit Financing Note, the Security Agreement, and the Settlement Agreement. A default
under Exit Note B, Exit Financing Note, the Security Agreement, and the Settlement Agreement
shall also constitute a default under this Note.

         8.     Events of Default and Acceleration. The happening of any of the following events
shall constitute a default hereunder (“Event of Default”): (a) failure of Borrowers to pay any
principal, interest or any other sums when due under this Note; or (b) a default shall occur in any
provision of this Note, in any instrument securing this Note, in Exit Note B, in Exit Financing Note,
or in the Settlement Agreement, except that an Event of Default shall not occur with respect to a non-
payment default unless the Borrowers fail to cure such non-payment default within seven (7)
calendar days after notice of such non-payment default. Notice under this paragraph shall be
effective upon delivery by first class mail or hand delivery to the Borrowers and Borrowers’ counsel
at Brevard Eye Center, Inc., 665 S. Apollo Blvd., Melbourne, FL 32901, and via email transmission
to Borrowers’ counsel at gaaronson@aspalaw.com and scapuano@aspalaw.com.


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        If an Event of Default shall occur hereunder, then at the option of the Lender, the entire
principal sum then remaining unpaid together with accrued interest shall immediately become due
and payable without notice or demand. While in default, the entire principal sum and accrued
interest shall both bear interest from such default date at a rate equal to eighteen percent (18%); it
being agreed that interest not paid when due shall, at the option of the Lender, draw interest at the
rate provided for in this paragraph.

       The Lender may, in addition, pursue each and every other right, remedy and power under this
Note, Exit Note B, Exit Financing Note, the Security Agreement, or the Settlement Agreement, and
pursue any other right or remedy available at law and in equity.

         The remedies of Lender, as provided herein or in any document securing the Loan evidenced
hereby, shall be cumulative and concurrent and may be pursued singularly, successively and together,
at the sole discretion of Lender. No act of omission or commission of the Lender, including, specifi-
cally, any failure to exercise any right, remedy or recourse, shall be deemed to be a waiver or release
of the same, such waiver or release to be effected only through a written document executed by
Lender and then only to the extent specifically recited therein. A waiver or release with reference to
any one event shall not be construed as continuing, as a bar to or as a waiver or release of any
subsequent right, remedy or recourse as to a subsequent event.

       9.      Attorneys' Fees. All parties liable for the payment of this Note agree to pay the
Lender reasonable attorneys' fees and costs, whether or not an action is brought, for the services of
counsel employed after maturity or default to collect this Note or any principal or interest due
hereunder or to protect the security, if any, or enforce the performance of any other agreement
contained in this Note or in any instrument of security executed in connection with this loan,
including costs and attorneys' fees on any appeal or in any proceedings under the federal Bankruptcy
Code or in any postjudgment proceedings.

        10.     Set Off. The Lender is hereby granted a lien upon and a security interest in all
property of Borrowers now or at any time hereafter in the possession of the Lender as security for the
payment of this Note, including, but not limited to, any balance or share of any credits, money,
deposits, stocks, bonds, certificates of deposit, trust or agency account, and whenever any obligation
under this Note matures or otherwise becomes due, whether by acceleration or otherwise, the Lender
is hereby authorized to apply and set off against the balance hereunder owed, any such funds or prop-
erty in possession of the Lender belonging to Borrowers in such order of application as the Lender
may from time to time elect, without advance notice or consent of Borrowers. The Lender also shall
have the right, immediately and without further action by it, to set off against the Note all money
owed by the Lender in any capacity to Borrowers, whether or not due.

        11.     Florida Law; Venue; Time. This Note constitutes a contract under the laws of the
State of Florida and shall be enforceable in a court of competent jurisdiction in that state, regardless
of in which state this Note is being executed. Borrowers consent and agree that all actions or
proceedings arising directly, indirectly or otherwise in connection with, out of, or related to this
Note, Exit Note B, Exit Financing Note, the Security Agreement, or any other document executed by
Borrowers and delivered to Lender shall be litigated, in Lender’s sole discretion and at the Lender's

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sole election, only in courts having a situs within or whose jurisdiction includes Brevard County,
Florida. For the purpose of the foregoing, Borrowers hereby consent and submit to the jurisdiction
of any local, state or federal court located within or whose jurisdiction includes Brevard County,
Florida. Time is of the essence in this Note.

        12.     Headings. The headings of the paragraphs contained in this Note are for convenience
of reference only and do not form a part hereof and no way modify, interpret or construe the meaning
of the parties hereto.

       13.      Security. This Note is secured by inter alia, the Security Agreement. It is expressly
agreed that all of the covenants, conditions and agreements of the Borrowers under the Security
Agreement are made a part of this Note and shall be included in the interpretation of this Note.

        14.      Sale or transfer of Note and Security Agreement. Lender may at any time in its sole
discretion sell, transfer or assign the Note, the Security Agreement and/or Exit Note B and/or Exit
Financing Note, and any and all servicing rights with respect thereto, or grant participations therein.

        15.      Compliance Agreement. For and in consideration of the funding or renewal of this
loan by Lender, the Borrowers hereby agree to cooperate or re-execute any and all loan
documentation deemed necessary or desirable in Lender's discretion, in order to correct or to adjust
for any clerical errors or omissions contained in any document executed in connection with this loan.


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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD EYE CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD EYE CENTER, INC., a Florida corporation,
on behalf of the corporation. He/she is personally known to me OR produced a _________
Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD SURGERY CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD SURGERY CENTER, INC., a Florida
corporation, on behalf of the corporation. He/she is personally known to me OR produced a
_________ Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           MEDICAL CITY EYE CENTER, P.A.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of MEDICAL CITY EYE CENTER, P.A., a Florida
corporation, on behalf of the corporation. He/she is personally known to me OR produced a
_________ Driver’s License as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                   BORROWER:

                                           THMIH, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                   (Company Seal)



STATE OF _________________
COUNTY OF _________________

        The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of THMIH, INC., a Florida corporation, on behalf of the
corporation. He/she is personally known to me OR produced a _________ Driver’s License as
identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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      EXHIBIT “H”




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                                       PROMISSORY NOTE

$400,000.00                              Effective as of _______ ___, 201__ (the “Effective Date”)

        FOR VALUE RECEIVED, BREVARD EYE CENTER, INC., a Florida corporation;
BREVARD SURGERY CENTER, INC., a Florida corporation; MEDICAL CITY EYE CENTER,
P.A., a Florida corporation; and THMIH, INC., a Florida corporation (collectively, the “Borrowers,”
and each individually, a “Borrower”), promise to pay to the order of SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns (the
“Lender”), the principal sum of FOUR HUNDRED THOUSAND and No/100ths Dollars
($400,000.00), together with interest as hereinafter stated.

      1.      Definitions. As used in this Note, the following terms shall have the respective
meaning indicated:

          a.      “Exit Note A” shall mean that certain promissory note executed by the Borrowers in
                  favor of Lender on or about even date herewith in the amount of $600,000.00.

          b.      “Exit Financing Note” shall mean that certain promissory note executed by the
                  Borrowers in favor of Lender on or about even date herewith in the amount of
                  $250,000.00.

          c.      “Property” shall mean the property encumbered by and subject to the lien of the
                  Security Agreement.

          d.      “Security Agreement” shall mean that certain Amended and Restated Security
                  Agreement executed by the Borrowers in favor of Lender on or about even date
                  herewith, which encumbers certain property of the Borrowers described therein. The
                  Security Agreement shall secure this Note.

          e.      “Settlement Agreement” shall mean that certain Settlement Agreement executed by
                  the Borrowers and Lender on ___________ ___, 2018, pursuant to which the
                  Borrowers and Lender agreed to enter into the Security Agreement and this Note.

        2.       Payments. Principal and interest shall be due and payable in lawful money of the
United States of America at the principal office of Lender in ______________, or at such other place
or places as it or the holders hereof may from time to time hereafter designate in writing, as follows:

               a.    Interest Rate. Absent an Event of Default (as defined below), no interest shall
accrue on any amounts due under this Note.

                  b.      Monthly Payments. Commencing on February 1, 2024 and continuing on the
          1st day of each month thereafter through the Maturity Date, the Borrowers shall pay monthly
          payments of five thousand five hundred fifty six and no/100ths dollars ($5,556.00) but the

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          last payment shall be $5,540.00.

                 c.     Maturity Date. Notwithstanding anything to the contrary herein, upon receipt
of the thirty-sixth (36th) payment described in Section 2(a) hereof, the entire outstanding principal
balance shall be forgiven on February 1, 2027 (the “Maturity Date”). For the avoidance of doubt,
absent an Event of Default, Borrower shall pay a total of $200,000.00 to Lender under this Note and
the balance of the principal amount shall be forgiven.

                d.      Allocation. All payments made upon this Note shall be applied in any order
Lender determines, in its sole discretion, to the following: (1) to accrued but unpaid interest, (2) to
unpaid principal, (3) to reduce charges owed by the Borrowers that are neither principal nor interest,
and (4) any partial prepayments of principal will be applied to installments due in the inverse order
of their maturity and no such partial prepayment of principal will have the effect of postponing,
satisfying, reducing or otherwise affecting any scheduled installment before the Note is paid in full.

        3.      Late Charge. All installments of interest or payments of principal provided for in this
Note shall be paid promptly when due and, if not paid within seven (7) calendar days after the due
date thereof, shall be subject to a late charge in an amount equal to five percent (5%) of the payment
due and shall be paid to Lender in addition to and at the time of payment of the delinquent
installment or payment.

       4.      Prepayment. The Borrowers shall have the right to prepay the principal balance of
this Note, in whole or in part, without penalty at any time, upon payment of all interest accrued to
date and other sums then due and payable pursuant to the provisions of this Note.

        5.      Interest Limitation. Notwithstanding any other provision of this Note or of any
instrument securing this Note or any other instrument executed in connection with the loan
evidenced hereby, it is expressly agreed that the amounts payable under this Note or under the other
aforesaid instruments for the payment of interest or any other payment in the nature of or which
would be considered as interest or other charge for the use or loan of money shall not exceed the
highest rate allowed by law, from time to time, to be charged by Lender. In the event the provisions
of this Note or of any instruments referred to in this paragraph regarding the payment of interest or
other payments which would be considered as interest or other charge for the use or loan of money
operate to produce a rate that exceeds such limitation, then the excess over such limitation will not
be payable and the amount otherwise agreed to be paid shall be reduced by the excess, so that such
limitation will not be exceeded, and in the event any such payment is paid by Borrowers or received
by Lender, whereby such limitation is exceeded, the amount of the excess shall constitute and be
treated as a payment on the principal hereof and shall operate to reduce such principal by the amount
of such excess, unless Borrowers shall notify Lender in writing that Borrower desires to have such
excess sum refunded to it.

        6.     Consent and Waiver. Each Borrower does hereby: (a) consent to any forbearance or
extension of the time or manner of payment hereof and to the release of all or any part of any security
held by the Lender to secure payment of this Note, all without notice to or consent of that party; (b)
agree that no course of dealing or delay or omission or forbearance on the part of the Lender in

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exercising or enforcing any of its rights or remedies hereunder or under any instrument securing this
Note shall impair or be prejudicial to any of the Lender's rights and remedies hereunder or to the
enforcement hereof and that the Lender may extend, modify or postpone the time and manner of
payment and performance of this Note, may grant forbearances and may release, wholly or partially,
any security held by the Lender as security for this Note and release, partially and wholly, any person
or party primarily or secondarily liable with respect to this Note, all without notice to or consent by
any party primarily or secondarily liable hereunder and without thereby releasing, discharging or
diminishing its rights and remedies against any other party primarily or secondarily liable hereunder;
and (c) waive notice of acceptance of this Note, and presentment, demand, protest, notice of dishonor
and notice of protest and notices of any and all action at any time taken or omitted by the Lender in
connection with this Note or any instrument securing this Note and waive all requirements necessary
to hold that party to the liability of that party.

        7.      Cross Default. A default under this Note shall be and constitute a default under Exit
Note A, Exit Financing Note, the Security Agreement, and the Settlement Agreement. A default
under Exit Note A, Exit Financing Note, the Security Agreement, and the Settlement Agreement
shall also constitute a default under this Note.

        8.      Events of Default and Acceleration. The happening of any of the following events
shall constitute a default hereunder (“Event of Default”): (a) failure of Borrowers to pay any
principal or any other sums when due under this Note; or (b) a default shall occur in any provision of
this Note, in any instrument securing this Note, in Exit Note A, in Exit Financing Note, or in the
Settlement Agreement; or (c) a change in control in the medical practices of the Borrowers without
the consent of Lender, which consent shall not be unreasonably withheld, except that an Event of
Default shall not occur with respect to a non-payment default unless the Borrowers fail to cure such
non-payment default within seven (7) calendar days after notice of such non-payment default. Notice
under this paragraph shall be effective upon delivery by first class mail or hand delivery to the
Borrowers and Borrowers’ counsel at Brevard Eye Center, Inc., 665 S. Apollo Blvd., Melbourne, FL
32901, and via email transmission to Borrowers’ counsel at gaaronson@aspalaw.com and
scapuano@aspalaw.com.

        If an Event of Default shall occur hereunder, then at the option of the Lender, the entire
principal sum then remaining unpaid together with accrued interest shall immediately become due
and payable without notice or demand. While in default, the entire principal sum and accrued
interest shall both bear interest from such default date at a rate equal to eighteen percent (18%); it
being agreed that interest not paid when due shall, at the option of the Lender, draw interest at the
rate provided for in this paragraph.

       The Lender may, in addition, pursue each and every other right, remedy and power under this
Note, Exit Note A, Exit Financing Note, the Security Agreement, or the Settlement Agreement, and
pursue any other right or remedy available at law and in equity.

         The remedies of Lender, as provided herein or in any document securing the Loan evidenced
hereby, shall be cumulative and concurrent and may be pursued singularly, successively and together,
at the sole discretion of Lender. No act of omission or commission of the Lender, including, specifi-

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cally, any failure to exercise any right, remedy or recourse, shall be deemed to be a waiver or release
of the same, such waiver or release to be effected only through a written document executed by
Lender and then only to the extent specifically recited therein. A waiver or release with reference to
any one event shall not be construed as continuing, as a bar to or as a waiver or release of any
subsequent right, remedy or recourse as to a subsequent event.

       9.      Attorneys' Fees. All parties liable for the payment of this Note agree to pay the
Lender reasonable attorneys' fees and costs, whether or not an action is brought, for the services of
counsel employed after maturity or default to collect this Note or any principal or interest due
hereunder or to protect the security, if any, or enforce the performance of any other agreement
contained in this Note or in any instrument of security executed in connection with this loan,
including costs and attorneys' fees on any appeal or in any proceedings under the federal Bankruptcy
Code or in any postjudgment proceedings.

        10.     Set Off. The Lender is hereby granted a lien upon and a security interest in all
property of Borrowers now or at any time hereafter in the possession of the Lender as security for the
payment of this Note, including, but not limited to, any balance or share of any credits, money,
deposits, stocks, bonds, certificates of deposit, trust or agency account, and whenever any obligation
under this Note matures or otherwise becomes due, whether by acceleration or otherwise, the Lender
is hereby authorized to apply and set off against the balance hereunder owed, any such funds or prop-
erty in possession of the Lender belonging to Borrowers in such order of application as the Lender
may from time to time elect, without advance notice or consent of Borrowers. The Lender also shall
have the right, immediately and without further action by it, to set off against the Note all money
owed by the Lender in any capacity to Borrowers, whether or not due.

        11.     Florida Law; Venue; Time. This Note constitutes a contract under the laws of the
State of Florida and shall be enforceable in a court of competent jurisdiction in that state, regardless
of in which state this Note is being executed. Borrowers consent and agree that all actions or
proceedings arising directly, indirectly or otherwise in connection with, out of, or related to this
Note, Exit Note A, Exit Financing Note, the Security Agreement, or any other document executed by
Borrowers and delivered to Lender shall be litigated, in Lender’s sole discretion and at the Lender's
sole election, only in courts having a situs within or whose jurisdiction includes Brevard County,
Florida. For the purpose of the foregoing, Borrowers hereby consent and submit to the jurisdiction
of any local, state or federal court located within or whose jurisdiction includes Brevard County,
Florida. Time is of the essence in this Note.

        12.     Headings. The headings of the paragraphs contained in this Note are for convenience
of reference only and do not form a part hereof and no way modify, interpret or construe the meaning
of the parties hereto.

       13.      Security. This Note is secured by inter alia, the Security Agreement. It is expressly
agreed that all of the covenants, conditions and agreements of the Borrowers under the Security
Agreement are made a part of this Note and shall be included in the interpretation of this Note.




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        14.      Sale or transfer of Note and Security Agreement. Lender may at any time in its sole
discretion sell, transfer or assign the Note, the Security Agreement and/or Exit Note A and/or Exit
Financing Note, and any and all servicing rights with respect thereto, or grant participations therein.

        15.      Compliance Agreement. For and in consideration of the funding or renewal of this
loan by Lender, the Borrowers hereby agree to cooperate or re-execute any and all loan
documentation deemed necessary or desirable in Lender's discretion, in order to correct or to adjust
for any clerical errors or omissions contained in any document executed in connection with this loan.


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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD EYE CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD EYE CENTER, INC., a Florida corporation,
on behalf of the corporation. He/she is personally known to me  OR produced a _________
Driver’s License  as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           BREVARD SURGERY CENTER, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of BREVARD SURGERY CENTER, INC., a Florida
corporation, on behalf of the corporation. He/she is personally known to me  OR produced a
_________ Driver’s License  as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                  BORROWER:

                                           MEDICAL CITY EYE CENTER, P.A.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                  (Company Seal)



STATE OF _________________
COUNTY OF _________________

       The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of MEDICAL CITY EYE CENTER, P.A., a Florida
corporation, on behalf of the corporation. He/she is personally known to me  OR produced a
_________ Driver’s License  as identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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     THE UNDERSIGNED ACKNOWLEDGES THAT THE LOAN EVIDENCED HEREBY IS
FOR COMMERCIAL PURPOSES ONLY AND NOT FOR PERSONAL, FAMILY HOUSEHOLD
OR AGRICULTURAL PURPOSES.


                                                   BORROWER:

                                           THMIH, INC.,
                                           a Florida corporation


                                           By:___________________________________
                                           Name:
                                           Title:

                                                   (Company Seal)



STATE OF _________________
COUNTY OF _________________

        The foregoing instrument was acknowledged before me this ____ day of ________, 2018, by
_______________, as _____________ of THMIH, INC., a Florida corporation, on behalf of the
corporation. He/she is personally known to me  OR produced a _________ Driver’s License  as
identification.

                                           _____________________________________
                                           Notary Public

(NOTARY SEAL)                              _____________________________________
                                           (Type, Stamp or Print Name)

                                           My commission expires:




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        EXHIBIT “I”




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                                AMENDED AND RESTATED
                                 SECURITY AGREEMENT

        THIS AMENDED AND RESTATED SECURITY AGREEMENT ("Security
Agreement") made effective as of _____________ ____, 2018, from BREVARD EYE
CENTER, INC., a Florida corporation, having a mailing address of 665 South Apollo
Boulevard, Melbourne, Florida 32901; BREVARD SURGERY CENTER, INC., a Florida
corporation, having a mailing address of 665 South Apollo Boulevard, Melbourne, Florida
32901; MEDICAL CITY SURGERY CENTER, INC., a Florida corporation, having a mailing
address of 665 South Apollo Boulevard, Melbourne, Florida 32901; THMIH, INC., a Florida
corporation, having a mailing address of 665 South Apollo Boulevard, Melbourne, Florida 32901
(herein, whether one or more, called "Debtor"), to SUMMITBRIDGE NATIONAL
INVESTMENTS V LLC, a Delaware limited liability company, and its successors and assigns,
having an address of ___________________________________________ (herein, together with
its successors and assigns, called "Secured Party" or “SummitBridge,” and together with
Debtor, the “Parties”).

                                       W I T N E S S E T H:

WHEREAS, Debtor had previously entered into a loan (the "Loan") evidenced by that certain
promissory note dated as of July 18, 2016, in the maximum original principal amount of Five
Hundred Thousand and 00/100 Dollars ($500,000.00) (the "Original Note"), which Original
Note was secured by that certain Commercial Security Agreement in favor of the Secured Party
dated as of July 18, 2016 (the "Original Security Agreement"), pursuant to which Debtor
granted a security interest in all of Debtor’s Collateral (as such term is defined in the Original
Security Agreement); and
       WHEREAS, Debtor and the Secured Party have entered into that certain settlement
agreement executed on or about the date hereof (the "Settlement Agreement"), pursuant to
which, inter alia, the Debtor and Secured Party have agreed to amend and restate the Original
Security Agreement and restructure the Loan.

      NOW, THEREFORE, in consideration of loans, advances or other financial
accommodations made or to be made by Secured Party to Debtor, and for other value received
by Debtor, the parties hereto, intending to be legally bound, agree as follows:

        1.      Security Interest. Debtor grants to Secured Party a continuing security interest
(the "Security Interest") in all accounts receivable, equipment, inventory, personal property,
business assets and fixtures now owned or hereafter acquired by Debtor, and in all increases,
parts, fittings, accessories, attachments, additions, and accessions thereto, substitutions and
replacements therefore and in all proceeds thereof in any form, together with all records relating
thereto, as more particularly described in Exhibit "A" attached hereto (the "Collateral").

       2.       Indebtedness Secured. This Security Agreement secures (a) that certain Six
Hundred Thousand and 00/100 Dollars ($600,000.00) Note of even date herewith ("Exit Note
A") (b) that certain Four Hundred Thousand and 00/100 Dollars ($400,000.00) Note of even date
herewith ("Exit Note B") and (c) that certain Two Hundred Fifty Thousand and 00/100 Dollars
($250,000.00) Note of even date herewith (the "Exit Financing Note", and together with Exit


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Note A and Exit Note B, collectively, the "Notes" and each individually a "Note"). The
borrowing relationship between Debtor and Secured Party is to be a continuing one and may
cover numerous types of extensions of credit, loans, overdraft payments, or advances made
directly or indirectly to Debtor under the Notes. Accordingly, this Security Agreement and the
Security Interest created hereby secures payment of all obligations of any kind owing by Debtor
to Secured Party arising from the Notes, whether now existing or hereafter incurred, direct or
indirect, primary or secondary, sole or joint and several, contingent or non-contingent, liquidated
or non-liquidated, or otherwise, and whether the obligations are from time to time reduced and
thereafter increased or entirely extinguished and new obligations thereafter incurred, including,
without limitation, any sums advanced and any expenses or obligations incurred by Secured
Party pursuant to this Security Agreement (including attorneys' fees and costs as provided
herein) or any other agreement concerning, evidencing or securing obligations of Debtor to
Secured Party, and any liabilities of Debtor to Secured Party arising from any source whatsoever
and all extensions, renewals and modifications thereof (collectively, the "Indebtedness").

        3.     Representations and Warranties of Debtor. Debtor represents and warrants
and so long as this Security Agreement continues in force as provided in paragraph 7 hereof shall
be deemed continuously to represent and warrant that:

                (a)   Debtor is the sole and absolute owner of the Collateral free of all security
interest and other encumbrances or claims, except for the security interests on the Collateral that
existed prior to the Debtors’ bankruptcy filing.

                  (b)Debtor is authorized to enter into this Security Agreement and into the
transactions evidenced by the Collateral.

                  (c)   The Collateral is used or bought for use primarily for business purposes.

                (d)     By virtue of this Security Agreement and the perfection of the Security
Interest as provided in paragraph 1 hereof, Secured Party has a valid, enforceable, and perfected
security interest in the Collateral.

        4.      General Covenants of Debtor. So long as this Security Agreement continues in
force as provided in paragraph 7 hereof, Debtor: (a) will defend the Collateral against the claims
and demands of all other persons at any time claiming the same; keep the Collateral free from all
security interests or other encumbrances or claims whatsoever except the Security Interest and
any security interests that existed prior to the execution of the Settlement Agreement, and will
not sell, transfer, assign, deliver or otherwise dispose of any of the Collateral or any interest
therein without the prior written consent of Secured Party, except for bona fide sales,
assignments, transfers, or other dispositions in the ordinary course of business and dispositions
of property which is obsolete and not used or useful in its business; (b) will not without the prior
written consent of Secured Party create in favor of anyone other than Secured Party a security
interest in any of the Collateral; (c) will notify Secured Party promptly in writing of any change
in Debtor's address, name or identity from that specified above, and will permit Secured Party or
its agents to inspect the Collateral at any time, wherever located, with reasonable prior notice to
the Borrower exception in emergencies or default; (d) will keep the Collateral in good condition
and repair, ordinary wear and tear and ordinary course dispositions excepted and will not use the


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Collateral in violation of any provisions of this Security Agreement, of any applicable statute,
regulation or ordinance or of any policy of insurance insuring the Collateral; (e) will notify
Secured Party promptly in writing of any change in Debtor's address, name or identity specified
above, of any change in the location or of any additional locations at which the Collateral is kept
and of any change in the address at which records concerning the Collateral are kept; (f) in
connection herewith will execute and deliver to Secured Party such financing statements and
other documents, and take such other action as Secured Party may deem necessary or advisable
to perfect the Security Interest created by this Security Agreement; (g) will pay or cause to be
paid all taxes, assessments and other charges of every nature which may be levied or assessed
against the Collateral or against any note or other instrument evidencing the Indebtedness
provided that, unless any material item or property would be lost, forfeited or materially damages
as a result thereof, no such charge or claim need to be paid if it is being diligently contested in
good faith, if Lender is notified in advance of such contest and if Borrower establishes and
adequate reserve or other appropriate provisions required by generally accepted accounting
principles; (h) will keep the Collateral insured in amounts not less than the full insurable value
thereof for the benefit of Secured Party (to whom loss shall be payable by New York Standard or
Union Standard endorsements), in such companies and against such risks as may be satisfactory
to or required by Secured Party (and each policy shall specifically provide that it may not be
cancelled or modified adversely to the interests of Secured Party without 30 calendar days prior
written notice to Secured Party), pay the cost of all such insurance, and deliver certificates
evidencing such insurance to Secured Party, and Debtor assigns to Secured Party all right to
receive proceeds of such insurance; (i) will prevent the Collateral or any part thereof from being
or becoming an accession to other goods not covered by this Security Agreement; (j) unless the
Collateral is specified in paragraph 3(e) as a fixture, will prevent the Collateral or any part of the
Collateral from being or becoming a fixture; and (k) if any certificate of title may be issued with
respect to any of the Collateral, Debtor will cause the Security Interest granted hereunder to
Secured Party to be properly noted on the certificate and will deliver the original certificate to
Secured Party.

          5.      Default.

               (a) Any of the following events or conditions shall constitute an event of default
("Event of Default") hereunder: (i) non-payment when due whether by acceleration or otherwise
of the principal of, or interest on any Indebtedness, time being of the essence, or failure of any
Obligor (which term shall mean and include each Debtor and any endorser, surety, guarantor or
other party liable for payment of, or pledging collateral as security for, any Indebtedness) to pay
any sum due under any note or other instrument evidencing the Indebtedness or due by any
Obligor to Secured Party under any other promissory note or under any security instrument or
other written obligation of any kind now existing or hereafter created, subject to any applicable
grace or cure period set forth in the applicable Loan Documents; (ii) failure by any Obligor to
perform any obligations under this Security Agreement or any other agreement between any
Obligor and Secured Party; (iii) death of any Obligor (unless a substitute obligor acceptable to
Secured Party is provided to Secured Party within 30 calendar days of the date thereof); (iv) a
commencement by the Borrower of a voluntary case under any applicable bankruptcy,
insolvency or other similar law now or hereafter in effect; or the entry of a decree or order for
relief in respect of the Borrower in a case under any such law or appointing a receiver, liquidator,
assignee, custodian, trustee, sequestrate (or other similar official) of the Borrower, or for any


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substantial part of the property of Borrower, or ordering the wind-up or liquidation of the affairs
of Borrower; or the filing and pendency for 30 calendar days without dismissal of a petition
initiating an involuntary case under any such bankruptcy, insolvency or similar law, or the
insolvency of any Obligor; (v) making a general assignment by any Obligor for the benefit of
creditors, appointment of or taking possession by a receiver, trustee, custodian or similar official
for any Obligor or for any assets of any such Obligor, (vi) the rendition of a final judgment
against Borrower for the payment of damages or money in an amount in excess of $50,000.00, if
the same is not discharge or if a writ of execution or similar process is issued with respect thereto
and is not stayed within the time allowed by law for filing notice of appeal of the final judgment;
(vii) material falsity in any certificate, statement, representation, warranty or audit at any time
furnished to Secured Party by or on behalf of any Obligor, pursuant to or in connection with this
Security Agreement or otherwise (including warranties in this Security Agreement) and
including any omission to disclose any substantial contingent or liquidated liabilities or failure to
disclose any material adverse change in any facts disclosed by any certificate, statement,
representation, warranty, or audit furnished to Secured Party; (viii) issuing of any writ of
attachment or writ of garnishment, or filing of any lien against the Collateral or the property of
any Obligor; (ix) taking of possession of the Collateral or of any substantial part of the property
of any Obligor at the instance of any governmental authority; (x) dissolution, merger,
consolidation or reorganization of any Obligor; (xi) assignment or sale by Debtor of any equity
in any of the Collateral, other than assignments, sales, dispositions and transfers occurring in the
ordinary course, without the prior written consent of Secured Party; (xiii) cancellation of any
guaranty with respect to any Indebtedness without the prior written consent of Secured Party; or
(xiv) default by an Obligor under any other loan or indebtedness to Secured Party or to any other
lender, which default continues past any applicable cure or grace period.

              (b)    Secured Party may declare all or part of the Indebtedness to be
immediately due and payable without notice or demand upon the happening of any Event of
Default. This paragraph is not intended to affect any rights of Secured Party with respect to any
Indebtedness which may now or hereafter be payable on demand.

              (c)    Upon the happening of any Event of Default, Secured Party's rights and
remedies with respect to the Collateral shall be those of a secured party under the Uniform
Commercial Code and any other applicable law from time to time in effect. Secured Party shall
also have any additional rights granted herein and in any other agreement now or hereafter in
effect between Debtor and Secured Party. If requested by Secured Party, the Debtor, at its
expense, will assemble the Collateral and make it available to Secured Party at a place to be
designated by Secured Party.

               (d)     Debtor agrees that any notice by Secured Party of the sale or disposition of
the Collateral or any other intended action hereunder, whether required by the Uniform
Commercial Code or otherwise, shall constitute reasonable notice to Debtor if the notice is sent
via e-mail to ______________________, or mailed by regular or certified mail, postage prepaid,
at least ten (10) calendar days before the action to Debtor's address as specified in this Security
Agreement, to counsel for the Debtor via e-mail to gaaronson@aspalaw.com and
scapuano@aspalaw.com, and to any other address which Debtor has specified in writing to
Secured Party as the address to which notices shall be given to Debtor.



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                  (e)  Debtor shall pay all costs and expenses incurred by the Secured Party in
enforcing this Security Agreement, realizing upon any Collateral and collecting any
Indebtedness, including reasonable attorneys' fees whether suit is brought or not and whether
incurred in connection with collection, trial, appeal, bankruptcy or otherwise, all of which costs
and expenses shall be secured hereby, and shall be liable for any deficiencies in the event the
proceeds of disposition of the Collateral do not satisfy the Indebtedness in full. All such
proceeds shall be applied without marshaling of assets (i) first to the expenses of retaking and
preparing the Collateral for sale, including expenses of sale, (ii) next to other costs and attorneys'
fees incurred by Secured Party in exercising its rights and remedies under this Security
Agreement, and (iii) finally to the payment of interest and/or principal due on the Indebtedness,
in such order and to such Indebtedness as Secured Party may determine.

                  (f) All rights and remedies of Secured Party under this Security Agreement
and under the Uniform Commercial Code shall be deemed cumulative and not in substitution of
any other rights at law or equity with respect to the Collateral or the collection of the
Indebtedness. Debtor hereby waives notice of any and all actions, forbearances, and omissions of
any rights contemplated by this Section and consents to be bound thereby as effectively as if
Debtor had agreed to do so in advance.

          7.       Miscellaneous.

                (a)     Debtor authorizes Secured Party without notice to Debtor and without
affecting Debtor's obligations hereunder from time to time (i) to renew, extend, increase,
accelerate or otherwise change the time for payment of the principal of or the interest on the
Indebtedness or any part thereof; (ii) to take from any party and hold collateral (other than the
Collateral) for the payment of the Indebtedness or any part thereof, and to exchange, enforce or
release such collateral or the Collateral or any part thereof; (iii) to accept and hold any
endorsement or guaranty of payment of the Indebtedness or any part thereof and to release or
substitute any such endorser or guarantor, or any party who has given any security interest in any
collateral as security for the payment of the Indebtedness or any part thereof or any party in any
way obligated to pay the Indebtedness or any part thereof; and (iv) to waive or fail to enforce any
of Secured Party's rights against Debtor or any such collateral or the Collateral; and (v) upon the
occurrence of any Event of Default to direct the order or manner of the disposition of the
Collateral and any other collateral and the enforcement of any endorsements and guaranties
relating to the Indebtedness or any part thereof as Secured Party in its sole discretion may
determine.

               (c)    Debtor authorizes Secured Party to file any financing statement or
statements relating to the Collateral (without Debtor's signature thereon) which Secured Party
deems appropriate, and Debtor authorizes Secured Party as Debtor's attorney-in-fact to execute
any such financing statement or statements in Debtor's name and to perform all other acts which
Secured Party deems appropriate to perfect and to continue perfection of the Security Interest. At
the option of Secured Party, this Security Agreement, or a photocopy thereof, shall be deemed to
be a financing statement authorized to be filed in such jurisdictions where such filing will be
given effect.




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               (c)    Debtor hereby irrevocably consents to Secured Party or its agents entering
upon its premises for the purpose of either (1) inspecting the Collateral with reasonable prior
notice except for emergency or (2) taking possession of the Collateral after any Event of Default;
and Debtor hereby waives its right to assert against Secured Party or its agents any claim based
upon trespass or any similar cause of action for entering upon its premises where the Collateral
may be located.

               (d)    After an Event of Default Secured Party may notify any party obligated to
pay proceeds of the existence of the Security Interest and may also direct them to make payments
of all proceeds to Secured Party.

                  (e) Secured Party may demand, collect and sue for all proceeds (either in
Debtor's name or Secured Party's name at the latter's option) with the right to enforce,
compromise, settle or discharge any proceeds. Debtor irrevocably appoints Secured Party as
Debtor's attorney-in-fact to endorse Debtor's name on all checks, commercial paper and other
instruments pertaining to the proceeds.

               (f)     Debtor authorizes Secured Party to collect and apply against the
Indebtedness any refund of insurance premiums or any insurance proceeds payable on account of
the loss of or damage to any of the Collateral and irrevocably appoints Secured Party as Debtor's
attorney-in-fact to adjust and settle any insurance claim relating to the Collateral and to endorse
any check or draft representing insurance proceeds.

               (g)     As further security for the Indebtedness, Debtor grants to Secured Party a
security interest in all property of the Debtor now or at any time hereafter in the possession of
Secured Party in any capacity whatsoever, including, but not limited to, any balance or share of
any deposit, trust or agency account; and with respect to all of such property, Secured Party shall
have the same rights as it has with respect to the Collateral. (ii) Without limiting any other right
of Secured Party, whenever Secured Party has the right to declare any Indebtedness to be
immediately due and payable (whether or not it has so declared), Secured Party may set off
against the Indebtedness all monies then owed to Debtor by Secured Party in any capacity
whether due or not and Secured Party shall be deemed to have exercised its right of set off
immediately at the time its right to such election accrues.

                  (h)  Upon Debtor's failure to perform any of its duties hereunder Secured Party
may, but it shall not be obligated to, perform any of such duties and Debtor shall forthwith upon
demand reimburse Secured Party for any expense incurred by Secured Party in doing so, together
with interest thereon at the highest rate permitted by applicable law.

               (i)     No delay or omission by Secured Party in exercising any right hereunder
or with respect to any Indebtedness shall operate as a waiver of that or any other right, and no
single or partial exercise of any right shall preclude Secured Party from any other or future
exercise of the right or the exercise of any other right or remedy. Secured Party may cure any
Event of Default by Debtor in any reasonable manner without waiving the Event of Default so
cured and without waiving any other prior or subsequent Event of Default by Debtor.




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               (j)    Secured Party shall have no obligation to take and Debtor shall have the
sole responsibility for taking any steps to preserve rights against all prior parties to any
instrument or chattel paper in Secured Party's possession as proceeds of the Collateral. Debtor
waives notice of dishonor and protest of any instrument constituting Collateral at any time held
by Secured Party on which the Debtor is in any way liable and waives notice of any other action
by Secured Party.

                (k)     The rights and benefits of Secured Party under this Security Agreement
shall, if Secured Party agrees, inure to any party acquiring an interest in the Indebtedness or any
part thereof. Secured Party may from time to time honor drafts or otherwise advance funds to
permit Debtor to purchase additional assets. Any assets purchased with such funds shall become
part of the Collateral.

                (l)     The terms "Secured Party" and "Debtor" as used in this Security
Agreement include the heirs, personal representatives, and successors or assigns of those parties.
The terms "inventory", "accounts", "general intangibles" and "chattel paper" as used in this
Security Agreement shall have the meanings given to such terms in the Florida Uniform
Commercial Code. Whenever used herein, the singular number shall include the plural, the
plural the singular, and the use of any gender shall be applicable to all genders.

              (m)    If more than one Debtor executes this Security Agreement, the term
"Debtor" includes each of the Debtors as well as all of them, and their obligations under this
Security Agreement shall be joint and several.

                  (n)  This Security Agreement is a continuing agreement which shall remain in
force until it is marked "Cancelled" and returned to Debtor by Secured Party upon payment in
full of all Indebtedness (and no further right on the part of the Debtor to obtain any advances or
other disbursements from Secured Party) and, until such time, this Security Agreement shall
continue to secure all of the Indebtedness and any extensions, renewals or modifications of the
Indebtedness.

              (o)  This Security Agreement shall be construed under and governed by the
Florida Uniform Commercial Code and any other applicable Florida laws in effect from time to
time.

                  (p)   This Security Agreement constitutes the complete agreement of the parties
in regard to the matters set forth herein and this Security Agreement may not be modified or
amended and no provision hereof shall be waived except by a writing signed by the party to be
charged with such modification, amendment or waiver. This Security Agreement amends and
restates all previous security agreements between and among the parties hereto.

               (q)       Debtor agrees to provide Secured Party with Debtors’ tax returns and
quarterly financial statements in a form reasonably requested by Secured Party. Financial
statements for each quarter of the calendar year must be provided no later than the twentieth
calendar day after the end of each quarter of the calendar year, and tax returns must be provided
no later than the thirtieth calendar day after filing of said return.




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        8.      Waiver. The Debtor hereby waives any rights Debtor may have to notice and a
hearing before possession or sale of Collateral is effected by Secured Party by self-help, replevin,
attachment, or otherwise. Debtor further waives any right to a trial by jury in any civil action
arising out of, or based upon, this Security Agreement or the Collateral.

        9.       Waiver of Venue and Jurisdiction. Debtor, whether or not a Florida resident,
hereby waives any plea or claim of lack of personal jurisdiction or improper venue in any action,
suit or proceeding brought upon to enforce this Security Agreement or the Debtor's obligations
and liabilities hereunder. The Debtor specifically authorizes any such action to be instituted and
prosecuted in the Circuit Court in and for Brevard County, Florida, or any applicable United
States District Court of Florida, at the election of Secured Party, where venue would lie and be
proper against any Debtor.

     10.  Waiver of Jury Trial. SECURED PARTY AND DEBTOR HEREBY
KNOWINGLY VOLUNTARILY AND INTENTIONALLY WAIVE THE RIGHT
EITHER MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION
BASED HEREON, OR ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS
SECURITY AGREEMENT AND ANY AGREEMENT CONTEMPLATED TO BE
EXECUTED IN CONJUNCTION HEREWITH, OR ANY COURSE OF CONDUCT,
COURSE OF DEALING, STATEMENTS (WHETHER VERBAL OR WRITTEN) OF
ACTIONS OR EITHER PARTY. THIS PROVISION IS A MATERIAL INDUCEMENT
FOR THE SECURED PARTY ENTERING INTO THIS AGREEMENT.




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        IN WITNESS WHEREOF, Debtor has duly executed this Security Agreement as of the
date first above written.

Signed, sealed and delivered in the              BREVARD EYE CENTER, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:


Signed, sealed and delivered in the              BREVARD SURGERY CENTER, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:


Signed, sealed and delivered in the              MEDICAL CITY EYE CENTER, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:


                      [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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        IN WITNESS WHEREOF, Debtor has duly executed this Security Agreement as of the
date first above written.


Signed, sealed and delivered in the              THMIH, INC.,
                                                 a Florida corporation

Print Name:
                                                 By:
                                                 Print Name:
                                                 As its:

Print Name:




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                                           EXHIBIT "A"

       The Debtor hereby assigns and grants to the Secured Party a security interest in all of the
following assets of the Debtor (collectively, the "Collateral"):

         All inventory, equipment, accounts (including but not limited to all health-care-insurance
receivables), chattel paper, instruments (including but not limited to all promissory notes), letter-
of-credit rights, letters of credit, documents, deposit accounts, investment property, money, other
rights to payment and performance, and general intangibles (including but not limited to all
software and all payment intangibles); all oil, gas and other minerals before extraction; all oil,
gas other minerals and accounts constituting as-extracted collateral; all fixtures; all timber to be
cut; all attachments, accessions, accessories, fittings, increases, tools, parts, repairs, supplies, and
commingled goods relating to the foregoing property, and all additions, replacements of and
substitutions for all or any part of the foregoing property; all insurance refunds relating to the
foregoing property; all good will relating to the foregoing property; all records and data and
embedded software relating to the foregoing property, and all equipment, inventory and software
to utilize, create, maintain and process any such records and data on electronic media; and all
supporting obligations relating to the foregoing property; all whether now existing or hereafter
arising, whether now owned or hereafter acquired or whether now existing or hereafter arising,
whether now owned or hereafter acquired or whether now or hereafter subject to any rights in the
foregoing property; and all products and proceeds (including but not limited to all insurance
payments) of or relating to the foregoing property.

        In addition, the word "Collateral" also includes all the following, whether now owned or
hereafter acquired, whether now existing or hereafter arising, and wherever located:

       (a)     all accessions, attachments, accessories, tools, parts, supplies, replacements of and
additions to any of the collateral described herein, whether added now or later;

        (b)       all products and produce of any of the property described in this Collateral
section;

        (c)     all accounts, general intangibles, instruments, rents, monies, payments, and all
other rights, arising out of a sale, lease, consignment or other disposition of any of the property
described in this Collateral section;

        (d)     all proceeds (including insurance proceeds) from the sale, destruction, loss, or
other disposition of any of the property described in this Collateral section, and sums due from a
third party who has damaged or destroyed the Collateral or from that party’s insurer, whether due
to judgment, settlement, or other process;

        (e)     all records and data relating to any of the property described in this Collateral
section, whether in the form of a writing, photograph, microfilm, microfiche, or electronic
media, together with all of Debtor’s right, title, and interest in and to all computer software
required to utilize, create, maintain, and process any such records or data on electronic media.




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       EXHIBIT “J”




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   CONTINUING UNCONDITIONAL AND ABSOLUTE GUARANTY AGREEMENT

       This Continuing, Unconditional and Absolute Guaranty Agreement (hereinafter referred to as
the “Guaranty”), is dated ___________________, and is made by DR. RAFAEL TRESPALACIOS,
individually (“Guarantor”) to SummitBridge National Investments V LLC, and its successors and
assigns (hereinafter referred to as the “Lender”).

                                          WITNESSETH:

        FOR VALUE RECEIVED In consideration of the sum of Ten Dollars ($10.00) and other
good and valuable consideration, the receipt of which is hereby acknowledged, and for the purpose
of inducing Lender to accept (a) that certain Six Hundred Thousand and 00/100 Dollars
($600,000.00) Note of even date herewith ("Exit Note A"), (b) that certain Four Hundred Thousand
and 00/100 Dollars ($400,000.00) Note of even date herewith ("Exit Note B"), and (c) that certain
Two Hundred Fifty Thousand and 00/100 Dollars ($250,000.00) Note of even date herewith (the
"Exit Financing Note", and together with Exit Note A and Exit Note B, collectively, the "Notes" and
each individually a "Note"), executed by Brevard Eye Center, Inc., Brevard Surgery Center, Inc.,
Medical City Eye Center, P.A., and/or THMIH, Inc. (collectively, the “Borrowers”) in favor of
Lender and in connection with confirmation of the Borrowers’ chapter 11 plan (the “Plan”) in the
Borrowers’ jointly administered bankruptcy cases pending in the United Stated Bankruptcy Court for
the Middle District of Florida, Orlando Division, assigned lead case number 6:17-bk-01828-KSJ,
which Notes Lender would not have accepted in connection with the Plan without this Guaranty, the
Guarantor covenants and agrees with Lender as follows:

         1.      The Guarantor has examined the Notes (collectively, the “Loan Documents”)
executed by Borrowers (and/or any of them) in connection with the Plan and does hereby uncondi-
tionally and absolutely guarantee, jointly and severally, to the Lender and its successors and assigns
of either this Guaranty or of any of the obligations secured hereunder, due performance and full and
prompt payment, in accordance with their terms, of the Loan Documents including any amendments,
renewals, modifications or extensions thereof, and does further agree that if the Notes are not paid in
accordance with its terms, or if any of the sums or obligations that may hereafter become due to
Lender under the Loan Documents are not paid and performed in accordance with their terms, the
Guarantor will immediately do so. Guarantor further unconditionally and absolutely guarantees the
full and prompt payment when due, whether by acceleration or otherwise, and at all times hereafter,
of (a) all obligations, liabilities and indebtedness of the Borrowers to the Lender related to the Loan
Documents, however and whenever incurred or evidenced, whether direct or indirect, absolute or
contingent, or due or to become due; (b) any and all extensions, renewals, modifications, or
substitutions of the foregoing, and all expenses, including without limitation reasonable attorney's
fees incurred for consultation, trial and appellate representation, if the Lender endeavors to collect
from the Borrowers or any guarantor by law or through an attorney at law; (c) any indebtedness
resulting from advances made on the Borrowers’ behalf by Lender to protect or preserve the priority
of its lien, if any, on any collateral pledged to secure the Liabilities; (d) all other charges and
expenses, including without limitation late charges, and the payment of all costs, expenses, charges
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and other expenditures required to be made by Borrowers, or which Borrowers agree to make, under
the terms and provisions of the Loan documents. All such items (a), (b), (c) and (d) are herein
collectively referred to as the "Liabilities."

        2.      This is a continuing Guaranty and may not be assigned, revoked, modified, or
amended by the Guarantor without Lender's written consent, and Guarantor acknowledges and agrees
that full and adequate consideration for this Guaranty has been given by Lender and received by
Guarantor.

        3.     The obligations of this Guaranty include all of Borrowers' warranties, representations,
obligations, duties and responsibilities under the Loan Documents either now or hereafter existing,
and any renewals or extensions, in whole or in part, together with all damages, losses, costs, interest,
charges, expenses including attorneys' fees, and liabilities of every kind, nature and description
suffered or incurred by Lender arising in any manner of, or in any way connected with or growing
out of the Loan Documents.

        4.      The Guarantor hereby consents and agrees that Lender may at any time, either with or
without consideration, surrender any property or other security of any kind or nature whatsoever held
by it securing any indebtedness or liability covered by this Guaranty, or substitute for any collateral
so held by it, or modify the terms of the Loan Documents securing payment of the principal
indebtedness without notice to or further consent from the Guarantor, and such surrender, substi-
tution or modification shall not in any way affect the obligation of the Guarantor hereunder. The
Guarantor further consents and agrees that Lender may at any time, either with or without consid-
eration, grant extensions of time for performance under the Loan Documents without notice to the
Guarantor and such extension shall not in any way affect the obligation of the Guarantor hereunder.

        5.      The Guarantor hereby consents and agrees that Lender may, at any time, either with or
without consideration, release the Borrowers or any endorser or any other guarantor of the Notes and
Liabilities without notice to or further consent from the Guarantor, and such release shall not in any
way affect the obligation of the Guarantor hereunder not so released.

        6.      Lender shall have the right to proceed against the Guarantor without first proceeding
against the Borrowers, or any property securing payment of the Notes or Liabilities, or any other
Guarantor or endorser of the Notes or Liabilities, and may pursue all or any of its remedies at one or
at different times.

        7.     No delay, act or omission on the part of the Lender with respect to any right, power or
privilege under the Loan Documents securing the same shall operate as a waiver of such privilege,
power or right or as a waiver of any rights under the terms of this Guaranty or in any way affect or
impair this Guaranty.

      8.    This Guaranty shall be construed as an absolute and unconditional guarantee of
payment and performance, without regard to the validity, regularity or enforceability of any
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obligation or purported obligation of Borrowers. Lender shall have its remedy under this Guaranty
without being required to first resort to any security or to any other remedy or remedies to enforce
payment or collection of the obligations hereby guaranteed, and may pursue all or any of its remedies
at one or at different times. The liability of Guarantor shall be separate and independent of the
obligations of Borrowers, and separate or joint actions may be instituted by Lender against any one
or all of the Guarantor or Borrowers, as Lender may choose. Any action taken by Lender pursuant to
the provisions herein contained or contained in the Loan Documents shall not release the party or
parties to this Guaranty until all of the obligations of Borrowers to Lender are paid and performed in
full.

        9.       The Guarantor hereby waives and agrees not to assert or take advantage of: (a) any
right to require Lender to proceed against Borrowers or any other person or entity or to proceed
against or exhaust any security held by it at any time or to pursue any other remedy in its power
before proceeding against the Guarantor; (b) any defense that may arise by reason of the incapacity,
lack of authority, death or disability of, or revocation hereof by other persons; (c) presentment,
demand, protest and notice of any kind including, without limitation, notice of acceptance of this
Guaranty, dishonor, the existence, creation or incurring of any new or additional indebtedness or
obligation or of any action or non-action on the part of any other person or entity whomsoever, in
connection with any obligation hereby guaranteed; (d) any defense based upon any election of
remedies by Lender which destroys or otherwise impairs the subrogation rights of the undersigned or
the right of the undersigned to proceed against Borrower for reimbursement, or both; (e) any duty on
the part of Lender to disclose to the undersigned any facts it may now or hereafter know about
Borrowers; (f) any defense arising by reason of any disability or other defense of Borrowers or by
reason of the cessation from any cause whatsoever of the liability of Borrowers; or (g) any right or
claim of right to cause a marshaling of Borrowers' assets or to require Lender to proceed against the
Guarantor in any particular order.

        10.     Guarantor hereby waives any claim, right or remedy which Guarantor may now have
or hereafter acquire against Borrowers, which arises hereunder and/or from the performance by
Guarantor hereunder, including, without limitation, any claim, remedy or right of subrogation,
reimbursement, exoneration, indemnification, or participation in any claim, right or remedy of
Lender against the Borrower or any security which Lender now has or hereafter acquires, whether or
not such claim, right or remedy arises in equity, under contract, by statute, under common law or
otherwise, and waives any right to enforce any remedy which Lender now has or may hereafter have
against Borrowers, and waives any benefit of, and any right to participate in, any security now or
hereafter held by Lender, until payment in full of the Notes and Liabilities and satisfaction of all of
Borrowers' obligations under the Loan Documents.

        11.    Any indebtedness of Borrowers now or hereafter held by the Guarantor is hereby
subordinated to the indebtedness of Borrowers to Lender. Upon a default under the Loan
Documents, any such indebtedness shall be collected, enforced and received by the Guarantor as
trustee for Lender and be paid over to the Lender on account of the indebtedness of Borrowers to

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Lender, but without reducing or affecting in any manner the liability of the Guarantor under the other
provisions of this Guaranty.

         12.     The Guarantor hereby agrees that until all of the terms, covenants and conditions of
this Guaranty are fully performed, the Guarantors' obligations hereunder shall not be released, in
whole or in part, by any act or thing which might, but for this provision, be deemed a legal or
equitable discharge of a surety or guarantor, or by reason of any waiver, extension, modification,
forbearance or delay or other act or omission of Lender or its failure to proceed promptly or
otherwise, or by reason of any action taken or omitted or circumstances which may or might vary the
risk of or affect the rights or remedies of the Guarantor, or by reason of any further dealings between
Borrowers or Lender; and the Guarantor hereby expressly waives and surrenders any defense to
liability hereunder based upon any of the foregoing acts, omissions, things, agreements or waiver of
any of them, it being the purpose and intent of the parties hereto that the obligations of the Guarantor
hereunder are absolute and unconditional under all circumstances.

        13.    The Guarantor agrees to pay reasonable attorneys' fees, including but not limited to
the fees and costs of paralegals, whether or not suit is filed and including such fees at state, federal,
bankruptcy, trial and appellate courts, and all other costs and expenses which may be incurred by
Lender in the enforcement of Borrowers' obligation and/or of this Guaranty.

        14.     All notices which are required or permitted hereunder must be in writing and shall be
deemed to have been given, delivered or made, as the case may be, (notwithstanding lack of actual
receipt by the addressee): (i) when delivered by personal delivery; or (ii) three (3) business days after
having been deposited in the United States mail, certified or registered, return receipt requested,
sufficient postage affixed and prepaid; or (iii) one (1) business day after having been deposited with
an expedited, overnight courier service (such as by way of example but not limitation, U.S. Express
Mail, Federal Express or Purolator), addressed to the party to whom notice is intended to be given at
the address set forth below:

                If to Dr. Trespalacios:

                         Dr. Rafael Trespalacios
                         4448 Reseda Way
                         Rockledge, FL 32955

                         and

                         Roy S. Kobert, Esq.
                         301 East Pine Street, Suite 1400
                         Orlando, Florida 32801

                If to SummitBridge:

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                         SummitBridge National Investments V LLC
                         c/o Summit Investment Management LLC
                         Attn: Senior Asset Manager
                         1700 Lincoln St., Suite 2150
                         Denver, CO 80203

        Any party may change the address to which its notices are sent by giving the other party
written notice of any such change in the manner provided in this Section, but notice of change of
address is effective only upon receipt.

        15.     This Guaranty shall inure to the benefit of the Lender, its successors and assigns, and
shall bind the Guarantor, and the respective heirs, executors, administrators, legal representatives,
successors and assigns of the Guarantor.

      16.     Whenever the text of this instrument so requires, the use of any gender shall be
deemed to include all genders, and the use of the singular shall include the plural.

         17.    The Guarantor acknowledges that the making of the Loan by the Lender to the
Borrower confers a real and substantial benefit to the Guarantor and is fully supportive of and
valuable consideration for the execution of this Guaranty by the Guarantor. The Guarantor further
acknowledges that he is thoroughly familiar with the business and operations of the Borrowers. The
Lender shall have no duty to the Guarantor to observe the actions or financial conditions of the
Borrowers or to monitor the performance of the Borrowers. It is the intention of the parties that the
Lender may rely completely on this Guaranty for its repayment of the Borrowers' indebtedness and
obligations whether or not the Borrowers are creditworthy and whether or not it would be prudent to
make loans and advances to the Borrowers or to permit the same to remain outstanding. The Lender
and its representatives shall have no duty to exercise diligence or care in and about the enforcement
of the remedies or in respect to any other security for the Borrowers' obligations.

         18.     This Guaranty shall be governed and controlled by Florida law. The Guarantor, in
order to induce the Lender to accept this Guaranty, and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, agrees that all actions or proceedings
arising directly, indirectly or otherwise in connection with, out of, related to or from this Guaranty
shall be litigated, at Lender’s election, only in courts having a situs within or whose jurisdiction
includes Brevard County, Florida. For the purpose of the foregoing, the Guarantor hereby consents
and submits to the jurisdiction of any local, state or federal court located within or whose jurisdiction
includes Brevard County, Florida. The Guarantor, for themselves and any parties claiming under
them, hereby waives any right that the Guarantor may have to transfer or change the venue of any
litigation brought against the Guarantor in accordance with this paragraph. The Guarantor acknowl-
edges that the provisions of this paragraph have been fully discussed by the Guarantor and the
Lender, that they bargained at arm's length and in good faith and without duress of any kind for the
terms and conditions of this paragraph and that the provisions hereof shall be subject to no
exceptions. No party has in any way agreed with or represented to any other party that the provisions
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of this paragraph will not be fully enforced in all instances. Wherever possible each provision of this
guaranty shall be interpreted in such manner as to be effective and valid under applicable law, but if
any provision of this guaranty shall be prohibited by or invalid under such law, such provision shall
be ineffective to the extent of such prohibition or invalidity, without invalidating the remainder of
such provision or the remaining provisions of this guaranty.

      19. WAIVER OF JURY TRIAL. THE UNDERSIGNED HEREBY KNOWINGLY,
VOLUNTARILY AND INTENTIONALLY WAIVES THE RIGHT THAT THE UNDERSIGNED
MAY HAVE TO A TRIAL BY JURY IN RESPECT TO ANY LITIGATION BASED HEREON,
OR ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS GUARANTY AND ANY
AGREEMENT CONTEMPLATED TO BE EXECUTED IN CONJUNCTION HEREWITH, OR
ANY COURSE OF CONDUCT, COURSE OF DEALING, STATEMENTS (WHETHER ORAL
OR WRITTEN) OR ACTIONS OF THE UNDERSIGNED OR LENDER IN CONNECTION WITH
THIS GUARANTY. THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE LENDER
MAKING LOANS OR OTHER FINANCIAL ACCOMMODATIONS TO BORROWERS.

        IN WITNESS WHEREOF, the Guarantor has caused these presents to be signed, sealed and
delivered the day and year first above written.

                                                               GUARANTOR:

                                                               ______________________________
                                                               Dr. Rafael Trespalacios, individually




STATE OF FLORIDA
COUNTY OF ___________

       The foregoing instrument was acknowledged before me this ___ day of _______, 2018, by
Dr. Rafael Trespalacios, individually. He is personally known to me OR produced a Florida
Driver’s License as identification.

                                                       _____________________________________
                                                       Notary Public

(NOTARY SEAL)                                          _____________________________________
                                                       (Type, Stamp or Print Name)

                                                       My commission expires:

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                         RELEASE OF DR. RAFAEL TRESPALACIOS

         Effective as of the date of execution of this Release, SummitBridge National Investments
 V LLC ("SummitBridge"), hereby unconditionally, absolutely and irrevocably releases and
 discharges Dr. Rafael Trespalacios (“Trespalacios,” and together with SummitBridge, the
 “Parties”) of all claims, manners of action, causes of action, suits, debts, accounts, promises,
 warranties, damages and consequential damages, demands, agreements, costs, expenses, claims
 or demands whatsoever, of any kind or nature whether known or unknown, liquidated or
 unliquidated, disputed or undisputed, contingent, inchoate or matured, in law or in equity which
 SummitBridge now has or ever had against Trespalacios upon or by reason of any manner, cause
 or thing whatsoever on or at any time prior to the date of this Release, it being the intention of
 the Parties to reserve nothing whatsoever hereunder, and each of them, their peace and freedom
 from each and every of the released claims of whatever character and description; provided,
 however, (1) nothing in this Release shall be deemed or construed to be a release, waiver or
 discharge of the terms and conditions of the Guaranty Agreement by and between the Parties
 dated on or around ______________________ (the “Guaranty”), and any obligations guaranteed
 by Dr. Trespalacios in the Guaranty; (2) this Release shall only release Trespalacios and does not
 in any way release, waive, discharge, limit or impair any other rights or remedies any other person
 or entity.

       IN WITNESS WHEREOF, SummitBridge hereby executes and delivers this Release as of
the day and year written below.

                               Date of execution: ______________________________

                                   SummitBridge National Investments V LLC

                               By:_________________________________________
                               Its:_________________________________________




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